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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       PLANNED PARENTHOOD                                Case No. 16-cv-00236-WHO
                                           FEDERATION OF AMERICA, INC., et al.,
                                   8                    Plaintiffs,                          ORDER ON PENDING MOTIONS
                                   9              v.                                         Re: Dkt. Nos. 595, 598, 600, 601, 602, 603,
                                  10
                                           CENTER FOR MEDICAL PROGRESS, et                   605, 606, 609, 611, 641, 643
                                  11       al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13                                            INTRODUCTION

                                  14           At the core of this case are defendants’ undisputed actions in infiltrating conferences of

                                  15   plaintiff Planned Parenthood Federation of America (PPFA) and other organizations as well as

                                  16   two PPFA-affiliated facilities (who are also plaintiffs) and the intentional targeting of particular

                                  17   staff members employed by PPFA or the PPFA-affiliate plaintiffs in order to surreptitiously record

                                  18   conversations with the conference attendees and plaintiffs’ targeted staff. Defendants contend that

                                  19   all of their efforts were part of the Human Capital Project (HCP or Project) “to investigate,

                                  20   document, and report on the procurement, transfer, and sale of aborted fetal tissue.” Declaration

                                  21   of David Daleiden ISO MSJ (Daleiden MSJ Decl.) [Dkt. No. 609-1] ¶ 3; Declaration of David

                                  22   Daleiden ISO Oppo. (Daleiden Oppo. Decl.) [Dkt. No. 659-2] ¶ 3. In July 2015, the public phase

                                  23   of the Project began with defendants’ publication of a series of curated videos, including

                                  24   recordings of plaintiff’ staff from the conferences, from the facilities, and from lunch meetings.

                                  25   Daleiden MSJ Decl. ¶ 57.1

                                  26
                                       1
                                  27    The plaintiffs are Planned Parenthood Federation of America (PPFA); Planned Parenthood:
                                       Shasta-Diablo, Inc. dba Planned Parenthood Northern California (PPNorCal); Planned
                                  28   Parenthood Mar Monte, Inc. (PPMM); Planned Parenthood of the Pacific Southwest (PPPSW);
                                       Planned Parenthood Los Angeles (PPLA); Planned Parenthood/Orange and San Bernardino
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                                   1          On July 17, 2019, the parties argued seven motions for summary judgment, one special

                                   2   motion to strike the complaint, a Daubert motion, and a motion to strike an expert. After

                                   3   reviewing the record laid out in the motions, certain issues are beyond dispute. Defendants set out

                                   4   to damage Planned Parenthood with a scheme that involved creating a phony corporation and false

                                   5   identities, infiltrating conferences and facilities, ignoring confidentiality agreements, and trading

                                   6   on relationships established under false pretenses for the purpose of secretly videotaping

                                   7   individuals without their consent in the hopes of getting them to make damaging statements.

                                   8   There are distinctions between which defendants are responsible for what acts, but there is no

                                   9   doubt that several defendants committed fraud, breached contracts, and trespassed at the

                                  10   conferences and in the Planned Parenthood facilities. However, given scope of the claims and the

                                  11   manner in which the issues were framed on this motion, even partial summary judgment is not

                                  12   feasible on most of those claims.
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                                  13          A harder question is to what extent Planned Parenthood was damaged by defendants’

                                  14   conduct. While it is beyond dispute that Planned Parenthood expended hundreds of thousands of

                                  15   dollars in order to protect their staff and enhance security after the publication of some of the

                                  16   videos that defendants took, much of that expense was incurred in anticipation of and in response

                                  17   to a marked increase of third-party threats and security incidents. Planned Parenthood cannot

                                  18   recover for reputational damages or “publication” damages under the First Amendment, but there

                                  19   is no bright line in the precedent establishing when a category of damages should be analyzed by

                                  20   proximate cause or the First Amendment.

                                  21          This Order draws the line for compensable damages between those caused by defendants’

                                  22   direct conduct and those caused by third parties. The potentially recoverable damages are for

                                  23   personal security costs for individuals targeted by the defendants and for measures to investigate

                                  24   the intrusions and upgrade the security measures meant to vet and restrict future access to the

                                  25   conferences and facilities. Excluded are more general expenses to upgrade physical security at

                                  26
                                  27   Counties (PPOSBC); Planned Parenthood of Santa Barbara, Ventura, and San Luis Obispo
                                       Counties (PPSBVSLO); Planned Parenthood Pasadena and San Gabriel Valley, Inc. (PPPSGV);
                                  28   Planned Parenthood of the Rocky Mountains (PPRM); and Planned Parenthood Gulf Coast
                                       (PPCG) and Planned Parenthood Center for Choice (PPCFC).
                                                                                    2
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                                   1   Planned Parenthood facilities as well as the time and expense plaintiffs incurred in responding to

                                   2   the threats and acts of third parties following release of the videos. This Order also addresses the

                                   3   myriad of other issues generated in the ten motions before me.

                                   4

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                                  23
                                                                                                      BACKGROUND
                                  24

                                  25   I.            CREATION OF CMP AND BIOMAX, AND USE OF FALSE IDENTITIES TO
                                                     ALLOW DEFENDANTS TO INFILTRATE THE CONFERENCES AND
                                  26                 FACILITIES
                                                     Defendant David Daleiden established the Center for Medical Progress (CMP) in 2013 for
                                  27
                                       the “purpose of monitoring and reporting on medical ethics and advances, with a special focus on
                                  28
                                                                                                                   5
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                                   1   contemporary bioethical issues that impact human dignity, such as induced abortion and aborted

                                   2   fetal tissue and organ harvesting.” Daleiden MSJ Decl. ¶ 2.2 He invited defendants Troy Newman

                                   3   and Albin Rhomberg to be directors. Declaration of David Daleiden April 16, 2019 (Daleiden

                                   4   Depo. I, Declaration of Diana Sterk ISO MSJ (Sterk Decl.), Ex. 8) at 109-110. In March 2013,

                                   5   Newman, Daleiden, and Albin Rhomberg formed CMP as a California not-for-profit corporation.

                                   6   Daleiden Depo. I at 180:25-182:10. Daleiden was CMP’s CEO and Director. Id. Application of

                                   7   CMP to California Secretary of State & Articles of Incorporation (CMP AoI), Ex. 15 to Sterk

                                   8   Decl. [Dkt. No. 607]; Declaration of David ISO Anti-SLAPP Motion (Daleiden Anti-SLAPP

                                   9   Decl. [Dkt. No. 600-2]) ¶ 2. Newman was the Secretary of CMP. 3 CMP AoI, NAF0001805.

                                  10   Rhomberg was the CFO. CMP AoI NAF0001805; Deposition of Albin Rhomberg March 14,

                                  11   2019 (Rhomberg Depo. I, Sterk Decl., Ex. 14) at 115:9-20. Newman, Daleiden, and Rhomberg

                                  12   each served on CMP’s board. CMP AoI, NAF0001804, 1805; Rhomberg Depo. I at 115:9-20.4
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                                  13           Through CMP, Daleiden inaugurated HCP in 2013 in order to “investigate, document, and

                                  14   report on the procurement, transfer, and sale of aborted fetal tissue.” Daleiden MSJ Decl. ¶ 3;

                                  15   Daleiden Anti-SLAPP Decl. [Dkt. No. 600-1] ¶ 3. HCP intended to use “undercover journalism

                                  16   tools” such as hidden cameras and misrepresentations about identities to secure entrance to

                                  17   Planned Parenthood conferences and facilities. Daleiden MSJ Decl. ¶¶ 23, 39.

                                  18           HCP project proposals, shared with Newman and Rhomberg in early 2013, explained the

                                  19

                                  20
                                       2
                                        Plaintiffs object to paragraphs 2-5 of Daleiden’s MSJ Decl., and paragraphs 2-5 of Daleiden’s
                                       Oppo. Decl. based on hearsay; speculation as to feelings, thoughts, and intentions of others; and as
                                  21   improper lay opinion. Dkt. No. 697. These objections are OVERRULED as to the portions of the
                                       declaration I rely on. In general, I will address the parties’ evidentiary objections [Dkt. Nos. 659-
                                  22   1, 697, 698-1, and 706] only to the extent I discuss the objected-to evidence. All other objections
                                       are DENIED as moot.
                                  23   3
                                        Plaintiffs repeatedly cite pages from Newman’s deposition where Newman invoked the Fifth
                                  24   Amendment and refused to answer most questions about his role with CMP and knowledge of the
                                       Project as evidence in support of their motion or in opposition to defendants’ motions. Plaintiffs
                                  25   contend that each of Newman’s refusals to answer should be construed against him and
                                       defendants. As described below, plaintiffs have not laid out an adequate foundation to create
                                  26   specific inferences based on Newman’s invocation of the Fifth Amendment. Prior to trial,
                                       plaintiffs must lay that foundation and identify with specificity each inference they seek to put in
                                  27   place against Newman for trial.
                                       4
                                  28    Defendant Lopez helped Daleiden create a logo for CMP. Declaration of Gerardo Adrian Lopez
                                       [Dkt. No. 603-1] ¶ 5.
                                                                                     6
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                                   1   Project’s plan to infiltrate Planned Parenthood and National Abortion Federation (NAF)

                                   2   conferences and facilities to implement “creative scenario-based ‘gotcha’ stings” and “undercover

                                   3   stings” to catch “fetal traffickers, especially Planned Parenthood clinics” violating laws regulating

                                   4   the procurement and transfer of fetal tissue, create “outrage” at Planned Parenthood (and

                                   5   researchers), deliver a “major public relations blow to Planned Parenthood,” promote “defunding

                                   6   efforts for Planned Parenthood,” and initiate criminal prosecution and investigations of clinics,

                                   7   wholesalers, and doctors. 2013 Project Proposal (Proposal, Sterk Decl. [Dkt. No. 608-1], Ex. 12),

                                   8   CM05623, 05635; see also March 2013 Project Proposal (Sterk Decl., Ex. 80). The “foundational

                                   9   goal” of the Project was to target and “hurt” Planned Parenthood. Planned Parenthood affiliates

                                  10   were specific targets, as were “high-level PP national officials.” Id. CM05635, 2015 Project

                                  11   Roadmap, CM04988 (Sterk Decl. Ex, 16).

                                  12           Rhomberg was on the HCP “Team” as an “expert” at acquiring hidden and hard-to-access
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                                  13   documentation about the abortion industry; Newman was on the team given his experience in

                                  14   investigating, seeking disciplinary action against, and shutting down abortion clinics. Proposal,

                                  15   CM0536. Plaintiffs allege that Newman assisted Daleiden and CMP with fundraising and advised

                                  16   on Project goals, undercover activities, use of fake names and IDs, and other actions “throughout

                                  17   the three-year undercover investigation” for the Project.5 Rhomberg assisted Daleiden in

                                  18   fundraising and strategized with consultants to ensure that the secretly recorded videos had

                                  19   maximum impact. Rhomberg Depo. at 128-129. He also advised on CMP’s undercover activities.

                                  20   Id. at 89, 226:7-227:11.

                                  21           As part of the Project, Daleiden set up a phony front company called BioMax Procurement

                                  22

                                  23   5
                                         CMP and Newman produced a number of communications between Newman and Daleiden,
                                  24   showing that after the release of the initial Project videos, Newman took substantial credit for
                                       various aspects of the Project. See Newman Dep. Ex. 44 (Mayo MSJ Opp. Decl. Ex. 48)
                                  25   (commenting that the first video “has exceeded our expectations” and reminding the email
                                       recipients that “[t]his is about Planned Parenthood. Putting them in jail. Defunding them. Taking
                                  26   down their empire.”); Newman Dep. Ex. 28 at 1 (Mayo MSJ Opp. Decl. Ex. 25) (characterizing
                                       the videos as “the end result of a three year undercover investigation by” his organization
                                  27   [Operation Rescue]. He explained that “it was my project for the past three years.”);
                                       Newman000056, Newman Dep. Ex. 29 at 1 (Mayo MSJ Opp. Decl. Ex. 26) (press release drafted
                                  28   by Newman explaining that he “advised project leader David Daleiden throughout the three-year
                                       undercover investigation” and “was integral in directing the project.”).
                                                                                           7
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                                   1   Services, LLC (BioMax), as a “wholly-owned entity of CMP,” created by CMP to further the

                                   2   Project. April 2014 Report, CM04229 (Sterk Decl., Ex. 17) (“We have established a front

                                   3   organization (BioMax Procurement Services) that purportedly supplies medical researchers with

                                   4   human biological specimens.”); Summer 2014 Roadmap CM07126 at 7128 (Sterk Decl. Ex. 18);

                                   5   Deposition of David Daleiden April 17, 2019 (Daleiden Depo. II, Sterk Decl., Ex. 9) at 19-20, 31-

                                   6   21; Daleiden Anti-SLAPP Decl. ¶ 3. He filed Articles of Organization with the California

                                   7   Secretary of State, asserting that the purpose of the LLC was to engage in “any lawful activity for

                                   8   which a limited liability company may be organized.” Daleiden Oppo. Decl., Ex. RR;6 Daleiden

                                   9   Depo. II at 60:25-61:15. In his filings with the state, he listed “Susan Tennenbaum,” as the

                                  10   manager of the LLC, although there was no such person, and signed that name for the “organizer.”

                                  11   Id. at 60-63; see also Ex. RR.

                                  12           Daleiden created a website, business cards, and promotional materials for BioMax, and a
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                                  13   Facebook page for BioMax “founder” Susan Tennenbaum. Daleiden Depo. I at 232:1-6. CMP

                                  14   paid defendant Sandra Susan Merritt “thousands of dollars” to be “Susan Tennenbaum,” BioMax’s

                                  15   CEO. See Deposition of Sandra Merritt (Merritt Depo., Sterk Decl., Ex. 24) at 310:21-312:3.

                                  16   Brianna Baxter used the name “Brianna Allen” and posed as Tennenbaum’s assistant, niece, and a

                                  17   part-time procurement technician for BioMax. CM0346 (Sterk Decl. Ex. 61); Daleiden Depo. II at

                                  18   45:1-50:9. Lopez was paid to attend the conferences as a contractor by CMP, where his job was to

                                  19   facilitate introductions for Daleiden as “Sarkis.” Declaration of Gerardo Adrian Lopez [Dkt. No.

                                  20   603-1], ¶¶ 5, 6, 8, 9.

                                  21           Daleiden created and solicited the production of fake California drivers’ licenses (IDs)

                                  22   with the fake names for himself (Sarkis), Merritt (Tennenbaum), and Baxter (Allen). For his own,

                                  23   he used an expired driver’s license and typed “Robert Dauod Sarkis” over his name. Daleiden

                                  24   Depo. I at 227:14-229:19. Through Craigslist, Daleiden located a service in Southern California

                                  25   that he paid to produce phony driver’s licenses with the names Susan Tennenbaum and Brianna

                                  26
                                  27   6
                                        Plaintiffs object to Ex. RR and Daleiden’s description of it (Daleiden Oppo. Decl.¶ 4) as
                                  28   improper lay opinion, confusion, and hearsay to the extent it is offered for the truth. Those
                                       objections are OVERRULED given my limited reliance on RR.
                                                                                        8
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                                   1   Allen. Id. at 230-233. Daleiden, Merritt, and Baxter used these fake IDs to gain access to the

                                   2   NAF and PPFA conference and facilities as described below. Lopez used his own, authentic ID.

                                   3          As the Project progressed, defendants Rhomberg and Newman participated in Board

                                   4   meetings or calls with Daleiden every few months to discuss and receive updates on the progress

                                   5   of the Project. April 2014 Report, CM04229 (Sterk Decl., Ex. 17) (describing establishing

                                   6   BioMax as a “front” that “purportedly supplies” biological specimens and “infiltration” of NAF

                                   7   conference and recording 30 plus hours of conversations with Planned Parenthood affiliates and

                                   8   “Planned Parenthood/NAF officials”); May 2015 Roadmap, CM09373, CM05551 (Sterk Decl.,

                                   9   Exs. 25, 26); see also Declaration of Sharon D. Mayo ISO Opposition to MSJs [Dkt. No. 662-1],

                                  10   Ex 32 (Rhomberg Depo. Ex. 76, July 2013 emails from Daleiden and sent to Rhomberg and others

                                  11   regarding a donor who objected to deception involved in the Project); Mayo MSJ Oppo. Decl., Ex.

                                  12   33 CM17821 (April 2015 email between Daleiden, Rhomberg, Newman and others about
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                                  13   “incredibly successful site visits” to Planned Parenthood locations warning that they “will

                                  14   probably get suspicious within the next month or so”).

                                  15   II.    PLAINTIFFS’ CONFERENCES AND FACILITIES
                                  16          A.      PPFA Conferences and Security Measures
                                  17          PPFA hosts several national conferences. Declaration of Deborah Nucatola (Sterk Decl.,

                                  18   Ex. 2) ¶ 3. Planned Parenthood physicians and staff attend these conferences for educational

                                  19   purposes and to have frank conversations with colleagues. Id. ¶ 4. PPFA takes steps to provide a

                                  20   confidential environment and limit attendees to those who share its mission. Id. For example, it

                                  21   requires attendees to register in advance and does not permit on-site registrations. Declaration of

                                  22   Vikky Graziani (Sterk Decl., Ex. 7) ¶ 3. Names of attendees are checked in advance against staff

                                  23   lists and membership lists. Id. Attendees not affiliated with PPFA or other member groups must

                                  24   provide two references to be admitted. Id.

                                  25          On site at conferences attendees must show photo identification to receive their badge and

                                  26   registration materials. Security staff monitors doors and access points to “ensure only those with

                                  27   badges enter.” Graziani Decl. ¶ 5. The “front-line” reception and security staff also check

                                  28   attendees and exhibitors against a “lookbook” list of “known anti-abortion groups and
                                                                                        9
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                                   1   individuals.” Deposition of Brandon Minow (Minow Depo., Sterk Decl., Ex. 78) at 295-97; 300-

                                   2   301.7

                                   3           PPFA conferences are held in hotel conference rooms and spaces that it reserves pursuant

                                   4   to contracts. Declaration of Brandon Minow (Sterk Decl., Ex. 6) ¶ 5; see also Minow Depo. Exs.

                                   5   1911 (Sterk Decl., Ex. 3 “Miami Contract”), 1916 (Sterk Decl., Ex. 4 “Orlando Contract”), 1921

                                   6   (Sterk Decl., Ex. 5 “DC Contract”). The contracts “typically” require the conference hotels to

                                   7   disclose the names of groups with space reserved at the same time and to refrain from renting

                                   8   space to any group that, in PPFA’s judgment, would create a threat of harm. Minow Decl. ¶ 6;

                                   9   Miami Contract at 12; Orlando Contract at 7; DC Contract at 12. The hotel contracts also contain

                                  10   confidentiality clauses to which hotel staff are required to adhere. Miami Contract at 12; Orlando

                                  11   Contract at 7; DC Contract at 12.

                                  12           PPFA invites a limited number of businesses whose products or services are relevant to
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                                  13   reproductive health care to exhibit their products or services at the conferences. Exhibitors must

                                  14   register in advance and provide the names of any representatives who will attend the conference

                                  15   and who agree to PPFA’s terms and conditions. Graziani Decl. ¶ 4. Most exhibitors are “repeat

                                  16   exhibitors known to PPFA.” Id. Where an exhibitor is unknown to PPFA, staff checks whether

                                  17   partner organizations, such as NAF, have knowledge of them. Id.

                                  18           B.     Defendants’ Infiltration of Conferences, Facilities, and Meetings
                                  19           Defendants first gained entrance as “Brianna Allen and Susan Tennenbaum of BioMax” to

                                  20   attend at the Association of Reproductive Healthcare Providers (ARHP) meeting in Denver,

                                  21   Colorado in September 2013. Defendants used the contacts BioMax gained at that meeting to

                                  22   make contacts with NAF staff, who “encouraged” BioMax to attend NAF’s April 2014 conference

                                  23   in San Francisco, California. Daleiden MSJ Decl. ¶ 9; Sterk Decl. Ex. 30 (email correspondence

                                  24

                                  25
                                       7
                                  26     Defendants object to these portions of the Minow Deposition under FRE1002. That objection is
                                       OVERRULED. Defendants generally challenge the “strength” of these vetting and admission
                                  27   procedures and specifically object to Minow’s testimony and the lack of evidence regarding the
                                       “lookbook” because the existence of it was not addressed in the Graziani Declaration.
                                  28   Newberg/Rhomberg Oppo. at 2-4. The objection too is OVERRULED.

                                                                                       10
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                                   1   re NAF meeting)8; Daleiden Depo. II at 87-89. Daleiden, Merritt, and non-party Baxter (posing as

                                   2   Brianna Allen) secured access to that conference using their fake California driver’s licenses and

                                   3   recorded staff members of plaintiffs during that conference. Daleiden Depo. I at 249:9-19.

                                   4   Defendants used those contacts, including Dr. Deborah Nucatola of PPFA, whom they met at the

                                   5   NAF conference and later had lunch with in July 2014, to access PPFA conferences, specifically:

                                   6   (1) the PPFA North American Forum on Family Planning in Miami, Florida in October 2014,

                                   7   where defendants Daleiden and Lopez recorded conference participants and presentations; (2) the

                                   8   PPFA Medical Director conference in Orlando, Florida in February/March 2015, where Daleiden

                                   9   and Lopez attended and recorded; and (3) the PPFA national conference in Washington, DC in

                                  10   March 2015, where Daleiden and Lopez attended and recorded. Defendants also obtained access

                                  11   to NAF’s annual meeting in Baltimore, Maryland in April 2015 where Daleiden, Lopez, and

                                  12   Merritt recorded plaintiffs’ staff.
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                                  13           On July 25, 2014, taking advantage of the introduction Daleiden secured at NAF’s 2014

                                  14   conference in San Francisco, Daleiden (posing as Sarkis) and Merritt (posing as Tennenbaum) met

                                  15   with Nucatola at a Southern California restaurant. Daleiden and Merritt surreptitiously recorded

                                  16   that meeting. On February 6, 2015, Daleiden and Merritt recorded a lunch meeting with Dr. Mary

                                  17   Gatter, the medical director of PPPSGV, and her colleague Laurel Felczer of PPPSGV, at a

                                  18   Pasadena restaurant.

                                  19           On April 7, 2015, posing as Sarkis and Tennenbaum from BioMax, Daleiden and Merritt

                                  20   accessed the Denver Facility of PPRM and had a meeting with Dr. Savita Ginde, a medical

                                  21   director at PPRM. During this visit, Daleiden and Tennenbaum gained access to a conference

                                  22   room in a secure wing of PPRM’s administrative offices, the patient treatment and laboratory

                                  23   areas of PPRM’s co-located health center and its medical research program office. Daleiden and

                                  24   Merritt surreptitiously recorded during that visit. On April 9, 2015, Daleiden and Merritt, posing

                                  25   as Sarkis and Tennenbaum from BioMax, secured a meeting with Melissa Farrell and gained

                                  26   access to the Houston facilities of PPGC and PPCFC, including to private office and clinic space.

                                  27
                                       8
                                  28     Defendants object to Ex. 30, arguing the comments by Davis and Hart are hearsay and lack
                                       foundation. The objection is OVERRULED.
                                                                                      11
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                                   1   To gain that access, Daleiden provided his fake California driver’s license, identifying him as

                                   2   Sarkis, and Merritt used a fake California driver’s license, falsely identifying her as Tennenbaum.

                                   3   Daleiden and Merritt recorded during that visit.

                                   4   III.   PUBLICATION OF THE VIDEOS, THIS LAWSUIT AND CLAIMS
                                   5          The first video containing portions of defendants’ surreptitious recordings was released to

                                   6   the public on July 14, 2015. Daleiden MSJ Decl. ¶ 57. That release and the subsequent releases

                                   7   of additional HCP videos generated significant press coverage and resulted in Congressional and

                                   8   other government investigations into the sale of fetal tissue and whether laws had been broken. Id.

                                   9   ¶¶ 57-96.9

                                  10          Plaintiffs filed this lawsuit in January 2016. The claims asserted in the FAC are:

                                  11          Count 1: Violation of Racketeer Influenced and Corrupt Organizations (RICO) Act, 18

                                  12   U.S.C. §§ 1962(c) and 1962(d)) by all plaintiffs against all defendants;
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                                  13          Count 2: Violation of 18 U.S.C. § 2511 by all plaintiffs against Daleiden, Merritt, Lopez,

                                  14   CMP, BioMax, and Unknown Co-Conspirators;

                                  15          Count 3: Civil Conspiracy by all plaintiffs against all defendants;

                                  16          Count 4: Breach of Contract by PPFA Against Daleiden, Merritt, Lopez, CMP, BioMax,

                                  17   and Unknown Co-Conspirators;

                                  18          Count 5: Breach of Contract by PPFA, PPNC PPPSW, PPMM, PPOSB, PPGC, and

                                  19   PPCFC against Daleiden, Merritt, Lopez, CMP, BioMax, and Unknown Co-Conspirators;

                                  20

                                  21   9
                                         Defendants repeatedly point out that following the release of the HCP videos, Congressional
                                  22   investigations began and, as a result of referrals from those investigations, two fetal tissue
                                       procurement companies pleaded guilty to violating laws. Daleiden MSJ Decl., ¶ 75. But, other
                                  23   than for PPGC, defendants do not identify or argue on these motions that any other plaintiff in this
                                       case was found by any investigative or law enforcement body to have possibly violated any law or
                                  24   regulation. As to PPGC, defendants rely on the conclusions of the Fifth Circuit’s now-
                                       depublished decision in Planned Parenthood of Greater Texas Fam. Plan. and Preventative
                                  25   Health Services, Inc v. Smith, 913 F.3d 551, 554 (5th Cir. 2019). In that case, the Fifth Circuit
                                       affirmed an agency decision, based in part of the HCP videos of PPGC, to terminate Medicare
                                  26   provider status based on evidence that PPGC violated ethical standards imposed under Texas law.
                                       That opinion is under en banc review. Plaintiffs object to Daleiden’s declaration and exhibits
                                  27   regarding investigations following the release of the HCP videos “to the extent offered to prove
                                       the truth of any matter asserted.” I do not rely on Daleiden’s declaration or the exhibits he
                                  28   attaches for the truth of any governmental findings, but only as to the existence of the
                                       investigations. The objections are OVERRULED.
                                                                                          12
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                                   1          Count 6: Trespass by PPFA, PPGC, PPCFC, and PPRM against Daleiden, Merritt, Lopez,

                                   2   CMP, BioMax, and Unknown Co-Conspirators;

                                   3          Count 7: Violations of Calif. Bus. & Profs. Code § 17200, et seq. for Unlawful, Unfair, and

                                   4   Fraudulent Acts by all plaintiffs against all defendants;

                                   5          Count 8: Fraudulent Misrepresentation by PPFA, PPGC, PPCFC, and PPRM Against

                                   6   Daleiden, Merritt, Lopez, CMP, BioMax, and Unknown Co-Conspirators;

                                   7          Count 9: Violation of California Penal Code § 632 by PPFA, PPNC, PPPSW, PPMM,

                                   8   PPOSB, PPGC, PPCFC and PPRM against Daleiden, Merritt, Lopez, CMP, BioMax, and

                                   9   Unknown Coconspirators;

                                  10          Count 10: Violation of California Penal Code § 634 by PPFA, PPNC, PPPSW, PPMM,

                                  11   PPOSB, PPGC, PPCFC, and PPRM against Daleiden, Merritt, Lopez, CMP, BioMax, and

                                  12   Unknown Coconspirators;
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                                  13          Count 11: Violation of Section 934 Title XLVII of the Florida Criminal Procedure Law by

                                  14   all plaintiffs against Daleiden, Merritt, Lopez, CMP, BioMax, and Unknown Co-Conspirators;

                                  15          Count 12: Violation of § 10-402 of the Courts and Judicial Proceedings Article of the

                                  16   Maryland Annotated Code by PPFA, PPNC, PPPSW, PPMM, PPOSB, PPGC, PPCFC, and PPRM

                                  17   against Daleiden, Merritt, Lopez, CMP, BioMax, And Unknown Coconspirators;

                                  18          Count 13: Invasion of Privacy: Intrusion Upon A Private Place by All Plaintiffs Against

                                  19   Daleiden, Merritt, Lopez, CMP, BioMax and Unknown Co-Conspirators;

                                  20          Count 14: Invasion of Privacy: California Constitution Art. I § I by PPFA, PPNC, PPPSW,

                                  21   PPMM, and PPOSB against Daleiden, Merritt, Lopez, CMP, BioMax, and Unknown Co-

                                  22   Conspirators;

                                  23          Count 15: Breach of Non-Disclosure and Confidentiality Agreement by PPGC and PPCFC

                                  24   against BioMax, Daleiden, and Merritt.

                                  25          Plaintiffs clarify, in their combined Opposition to defendants’ six separate motions for

                                  26   summary judgment as well as in their Reply in support of their own motion for partial summary

                                  27   judgment, that claims by particular plaintiffs against specific defendants have been dropped.

                                  28   Those dropped claims are:
                                                                                         13
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                                   1      •   Count 4 - Breach of PPFA Contracts as to Merritt. Pls. Reply MSJ at 8 n.9.

                                   2      •   Count 6 – Trespass against Merritt with respect to the PPFA conferences, but not as to the

                                   3          intrusions into PPRM and PPGC/PPCFC. Pls. Oppo. MSJ at 40 n.27.

                                   4      •   Counts 9 & 10 - California recording claims as to PPPSW, PPGC, PPRM, PPOSBC, and

                                   5          PPMM. Pls. Oppo. MSJ at 52 n.35.

                                   6      •   Count 11 – Illegal Recording under Florida law as to Merritt only, but also as to the claims

                                   7          by PPNorCal, PPMM and PPLA staff. Pls. Oppo. MSJ at 66 n.50.

                                   8      •   Count 12 – Maryland wiretapping claim as to PPNorCal, PPPSW, PPMM, and PPOSBC.

                                   9          Pls. Oppo. MSJ at 79 n.59.

                                  10                                         LEGAL STANDARD

                                  11          Summary judgment on a claim or defense is appropriate “if the movant shows that there is

                                  12   no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
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                                  13   law.” FED. R. CIV. P. 56(a). In order to prevail, a party moving for summary judgment must show

                                  14   the absence of a genuine issue of material fact with respect to an essential element of the non-

                                  15   moving party’s claim, or to a defense on which the non-moving party will bear the burden of

                                  16   persuasion at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the movant has

                                  17   made this showing, the burden then shifts to the party opposing summary judgment to identify

                                  18   “specific facts showing there is a genuine issue for trial.” Id. The party opposing summary

                                  19   judgment must present affirmative evidence from which a jury could return a verdict in that

                                  20   party’s favor. Anderson v. Liberty Lobby, 477 U.S. 242, 257 (1986).

                                  21          On summary judgment, the court draws all reasonable factual inferences in favor of the

                                  22   non-movant. Id. at 255. In deciding the motion, “[c]redibility determinations, the weighing of the

                                  23   evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of a

                                  24   judge.” Id. However, conclusory and speculative testimony does not raise genuine issues of fact

                                  25   and is insufficient to defeat summary judgment. See Thornhill Publ’g Co., Inc. v. GTE Corp., 594

                                  26   F.2d 730, 738 (9th Cir. 1979).

                                  27

                                  28
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                                   1

                                   2                                              DISCUSSION

                                   3   I.     MOTIONS FOR SUMMARY JUDGMENT
                                   4          The defendants move for summary judgment on multiple grounds for each of the fifteen

                                   5   claims alleged. Plaintiffs move for summary judgment or partial summary judgment on a

                                   6   narrower set of claims: trespass, fraudulent misrepresentation, California’s unfair competition law,

                                   7   breach of contract as to PPGC’s nondisclosure agreement (NDA), the RICO predicate offenses,

                                   8   and also defendants’ California Penal Code § 633.5, unclean hands, and public policy affirmative

                                   9   defenses.

                                  10          A.      Damages
                                  11          CMP, on behalf of all defendants, moves generally for summary judgment on all counts on

                                  12   which plaintiffs seek “damages.”10 Defendants argue that all of the claims fail because causation
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                                  13   is lacking or is too distant, or that the causal chain was broken by acts of third parties. Defendants

                                  14   also argue that the First Amendment protection for publications on matters of public interest

                                  15   precludes any award of the damages that plaintiffs seek in this case because plaintiffs’ damages

                                  16   flow solely from the actual or feared response of third parties to the publication of the HCP

                                  17   videos. Defendants point out that none of the damages sought were incurred prior to the

                                  18   publication of the videos.11

                                  19          Defendants rely most heavily on Food Lion, Inc. v. Capital Cities/ABC, Inc., 194 F.3d 505

                                  20   (4th Cir. 1999) (Food Lion III). In that case involving ABC’s undercover journalism regarding

                                  21   Food Lion’s food handling practices, Food Lion wanted to use “non-reputational tort claims

                                  22   (breach of duty of loyalty, trespass, etc.) to recover compensatory damages,” which the court

                                  23

                                  24   10
                                         Defendants apportioned their motions and briefing so one party (or Rhomberg/Newman jointly)
                                  25   could address specific issues in-depth and the remaining defendants could simply “join” those
                                       arguments. In addressing these arguments, I will endeavor to identify the party that briefed it, but
                                  26   then refer to the argument being made on behalf of defendants generally.
                                       11
                                  27     That is true except for some discrete security enhancements that defendants claim plaintiffs
                                       incurred or planned for prior to the release of the first HCP video and prior to plaintiffs realizing
                                  28   that defendants had infiltrated conferences and facilities and recorded their staff. Those costs are
                                       not recoverable under any of theory in this case.
                                                                                          15
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                                   1   characterized as “publication damages” “for items relating to its reputation, such as loss of good

                                   2   will and lost sales.” Id. at 522. The district court excluded those damages based on the lack of

                                   3   proximate cause to the tort claims because the damages were caused by loss of customer

                                   4   confidence given the food handling practices disclosed by the undercover reporters, not from the

                                   5   tortious newsgathering acts of the reporters themselves. The Fourth Circuit affirmed under “the

                                   6   First Amendment principle” that precludes “publication damages” from non-reputational torts that

                                   7   are not pleaded to heightened standards (including actual malice) that the First Amendment

                                   8   imposes on defamation claims. Id.12

                                   9          Defendants argue that the damages plaintiffs seek here are the same; they stem from the

                                  10   public’s reaction (or feared or expected reaction) to the contents of the HCP videos and should

                                  11   have been sought through a defamation claim.13 See La Luna Enterprises, Inc. v. CBS Corp., 74

                                  12   F. Supp. 2d 384, 392 (S.D.N.Y. 1999 (“Plaintiff’s complaint alleges damages . . . for injury to
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                                  13   plaintiff’s reputation allegedly caused by defendants’ fraudulent conduct. . . . If allowed to proceed

                                  14   on this claim, plaintiff could succeed regardless of its defamation claim and the truth or falsity of

                                  15   the broadcast. Such a result threatens to circumvent the constitutional requirement that a media

                                  16   defendant may not be held liable to a private figure for reputational injury caused by publication of

                                  17   defamatory statements that are true and at least not negligently reported.”); see also Council on

                                  18   Am.-Islamic Rel. Action Network, Inc. v. Gaubatz, 793 F. Supp. 2d 311, 332 (D.D.C. 2011)

                                  19   (recognizing “the principle that the special protections that the First Amendment affords

                                  20   defendants charged with defamation may also extend to other kinds of legal claims where the

                                  21
                                       12
                                  22     The principle was recognized by the Supreme Court in Hustler Magazine v. Falwell, 485 U.S.
                                       46 (1988), where the Court rejected the attempt to seek emotional distress damages under a tort
                                  23   theory to avoid the higher “actual malice” standard for proving defamation as to a public figure
                                       under New York Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964).
                                  24   13
                                          Reputational damages have been disclaimed by all plaintiffs. Dkt. No. 420 (disclaiming
                                  25   “reputational damages such as loss of goodwill or loss of revenue,” as well as “expenses to protect
                                       [Planned Parenthood’s] brand and reputation.”). Defendants’ repeated attempts to characterize the
                                  26   damages that plaintiffs are continuing to seek as barred “reputational” damages based on the lay
                                       testimony of plaintiffs’ witnesses are not persuasive. Compare Rhomberg/Newman MSJ at 6-10;
                                  27   with Howard v. HMK Holdings, LLC, CV175701DMGJPRX, 2018 WL 3642131, at *5 (C.D. Cal.
                                       June 11, 2018) (asking deposition witnesses to make a “law-to-fact application that is beyond the
                                  28   competence of most lay persons,” “by memory and on the spot,” without the aid of counsel is
                                       improper (relying on Rifkind v. Superior Court, 22 Cal. App. 4th 1257 (1994)).
                                                                                        16
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                                   1   plaintiff seeks damages for reputational or emotional harm allegedly flowing from the publication

                                   2   of protected speech”).

                                   3          Plaintiffs reply with cases discussing the general and well-accepted rule that simply

                                   4   claiming the mantel of a journalist does not give someone a license to trespass, illegally record, or

                                   5   otherwise commit violations of generally applicable laws.14 The more difficult question is, in light

                                   6   of plaintiffs’ failure to file a defamation claim, where to draw the line between impermissible

                                   7   defamation-like publication damages that were caused by the actions and reactions of third parties

                                   8   to the HCP videos and permissible damages that were directly caused by the breaches of contract,

                                   9   tortious acts, and acts of targeted recording in which defendants indisputably engaged as part of

                                  10   the Project.

                                  11          Plaintiffs attempt to draw that line as one limited to “reputational” damages that seek to

                                  12   compensate for harm to reputation or state of mind and argue that the mere fact that injury is
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                                  13   caused in response to someone learning something from a publication does not turn that injury into

                                  14   impermissible “reputational damages.” They cite Cohen v. Cowles Media Co., 501 U.S. 663

                                  15   (1991), where reporters breached their promise that Cohen would not be identified as a source and

                                  16   identified him in their articles. After he was publicly identified in the resulting news articles, he

                                  17   was fired by his employer. The Court held that because he sought damages for the breach of the

                                  18   promise that caused him to lose his job and lowered his earning capacity, and did not attempt to

                                  19   use a promissory estoppel cause of action to avoid the strict requirements for establishing a libel or

                                  20   defamation claim, his claim for damages (loss of his job and loss of future employment

                                  21   opportunities) was not barred by the First Amendment. That is so even though Cohen’s

                                  22   immediate injury was most directly caused by a third party (his employer) in response to the

                                  23

                                  24

                                  25
                                       14
                                         “[G]enerally applicable laws do not offend the First Amendment simply because their
                                       enforcement against the press has incidental effects on its ability to gather and report the news.”
                                  26   Cohen v. Cowles Media Co., 501 U.S. 663, 669 (1991); see also Desnick v. American
                                       Broadcasting Companies, 44 F.3d 1345, 1355 (7th Cir. 1995) (“the media have no general
                                  27   immunity from tort or contract liability”); Council on Am.-Islamic Rel. Action Network, Inc. v.
                                       Gaubatz, 793 F. Supp. 2d 311, 330 (D.D.C. 2011) (“[T]he protections afforded by the First
                                  28   Amendment, far reaching as they may be, do not place the unlawful acquisition of information
                                       beyond the reach of judicial review.”).
                                                                                        17
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                                   1   publication of his name as a source.15

                                   2          Plaintiffs also rely on the First Circuit’s decision in Veilleux v. Natl. Broad. Co., 206 F.3d

                                   3   92, 129 (1st Cir. 2000). There, plaintiffs alleged that defendants portrayed them in a distorted,

                                   4   untrue manner in a “Dateline NBC” television program concerning the perils to highway users

                                   5   caused by tired long-distance truck drivers. Plaintiffs’ voluntary participation in the program was

                                   6   secured by defendants’ false promises that the show would not include a group critical of the

                                   7   trucking industry, Parents Against Tired Truckers (PATT). The First Circuit allowed recovery of

                                   8   damages, including lost trucking customers, under the common law misrepresentation claim but

                                   9   limited recovery to plaintiffs’ “pecuniary losses” caused by statements that PATT would not be

                                  10   included in the program “because that did not offend the First Amendment.”

                                  11          District court opinions have attempted to draw similar lines. For example, in Steele v.

                                  12   Isikoff, 130 F. Supp. 2d 23, 29 (D.D.C. 2000), the plaintiff brought a number of claims against a
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                                  13   reporter and publishers based on her allegations that she spoke with the reporter on a promise of

                                  14   “confidentiality” and that the conversation would be “off the record.” The court recognized that

                                  15   some of plaintiffs’ damages, including reputational damages, might be barred by the First

                                  16   Amendment, but because plaintiff alleged some “occupational injury” as in Cohen, the case would

                                  17   be allowed to proceed beyond the motion to dismiss stage except for the claim to “reputational

                                  18   damages.” Id. at 29. In doing so, the court explained: “Viewed in tandem, Hustler and Cohen

                                  19   divide claims against the news media by categorizing the damages sought. If a party seeks

                                  20   damages for harm to reputation or state of mind, the suit can only proceed if that party meets the

                                  21   constitutional requirements of a defamation claim. If a party seeks damages for non-reputational

                                  22   harms, which include lost jobs and diminished employment prospects, then the First Amendment

                                  23   does not bar suit as long as the claims are brought under generally applicable laws.” Id.

                                  24          In Smithfield Foods, Inc. v. United Food and Com. Workers Intern. Union, 585 F. Supp. 2d

                                  25

                                  26   15
                                         The Food Lion III opinion itself distinguished the damages allowed in Cowles from those
                                  27   sought by Food Lion because plaintiff “in seeking compensation for matters such as loss of good
                                       will and lost sales, is claiming reputational damages from publication, which the Cowles Court
                                  28   distinguished by placing them in the same category as the emotional distress damages sought by
                                       Falwell in Hustler.” 194 F.3d at 523.
                                                                                         18
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                                   1   815 (E.D. Va. 2008), a union undertook a campaign against a particular anti-union employer. The

                                   2   court distinguished damages that were more “economic” in nature from ones that were more

                                   3   “reputational” in nature, ignoring the labels the plaintiff used to characterize his damages. The

                                   4   court noted that, “Smithfield has placed its damages into five categories, which include: (1) the

                                   5   ‘direct’ expenses realized by Smithfield as a result of the corporate campaign; (2) customer

                                   6   specific lost profits; (3) a loss of free advertising on the Oprah Winfrey show; (4) nationwide lost

                                   7   profits; and (5) the cumulative abnormal returns on Smithfield’s stock price.” Id. at 817.

                                   8   Attempting to “determine whether each of Smithfield’s asserted damages are either ‘reputational’

                                   9   or ‘economic’ in substance,” the court concluded that of “the five categories of damage identified

                                  10   by Smithfield, only the alleged loss of free advertising on the Oprah Winfrey show asserts a claim

                                  11   for purely economic damages. That particular component of Smithfield’s damages is based solely

                                  12   on the loss of a business expectancy caused by the Defendants active interference and is not based
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                                  13   on any harm to Smithfield’s reputation.” Id. at 824. All other damages were disallowed as being

                                  14   impermissibly based on the public’s reaction to the union’s campaign. Id.

                                  15          Considering these cases – and their somewhat inconsistent analyses of the line between

                                  16   impermissible reputational or publication damages and allowable economic or pecuniary damages

                                  17   – I agree with defendants that some of the damages plaintiffs seek here are more akin to

                                  18   publication or reputational damages that would be barred by the First Amendment. Others,

                                  19   however, are economic damages that are not categorically barred. Those that fall in the latter

                                  20   category result not from the acts of third parties who were motivated by the contents of the videos,

                                  21   but from the direct acts of defendants – their intrusions, their misrepresentations, and their

                                  22   targeting and surreptitious recording of plaintiffs’ staff. Defendants are not immune from the

                                  23   damages that their intrusions into the conferences and facilities directly caused, nor from the

                                  24   damages caused by their direct targeting of plaintiffs’ staff, that caused plaintiffs to bear costs in

                                  25   the form of private security for those staff members after plaintiffs became aware of defendants’

                                  26   ruse and recordings. Defendants’ “lack of recoverable damages” theories do not entitle them to

                                  27   summary judgment.

                                  28          The allowable damages – subject to proof and defenses at trial (including whether the
                                                                                          19
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                                   1   damages were reasonably incurred or unnecessary as “voluntarily incurred”) – include costs to

                                   2   investigate the intrusions and to implement access-security measures (e.g., improved screening or

                                   3   background check procedures, implementation of new or improved protocols for access to

                                   4   conferences or facilities) to prevent future surreptitious intrusions. Also allowed are personal

                                   5   security costs for staff whom defendants targeted (e.g., costs of personal security guards, costs to

                                   6   temporarily or otherwise relocate residences, and costs to improve physical security at personal

                                   7   residences). In this context, “targeted” means staff who were intentionally recorded by defendants

                                   8   – most obviously Nucatola, Ginde, Gatter, and Farrell – but also any other staff who, upon

                                   9   realizing that they had likely been recorded by defendants when they had conversations with

                                  10   BioMax representatives, incurred personal security costs paid for by plaintiffs. Nominal and

                                  11   statutory damages are separately allowable.

                                  12           The excluded damages are: (1) costs of physical security assessments for plaintiffs’
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                                  13   buildings and additional building and IT-security measures to physically protect plaintiffs’

                                  14   patients, information, offices, and clinics; (2) grants for security enhancements to affiliates

                                  15   experiencing increased security threats as a result of CMP’s videos (PPFA only), other than

                                  16   personal security expenses for staff who were targeted by defendants; (3) costs of repairing and

                                  17   protecting PPFA website after hacking; (4) costs of repairing and protecting online appointment

                                  18   systems; (5) loss of revenue due to hack of the PPFA patient portal; (6) staff time spent monitoring

                                  19   threats and responding to protests and increased security incidents; (7) costs relating to vandalism

                                  20   to plaintiffs’ offices and clinics; and (8) costs of the grief/stress hotline for staff related to the

                                  21   increase in threats.16

                                  22
                                       16
                                  23      At the hearing, plaintiffs argued that the First Amendment does not bar them from seeking
                                       damages for the costs PPGC incurred to respond to government investigations because they flow
                                  24   from defendants’ violation of the PPCG NDA and, as a result, defendants knowingly, voluntarily,
                                       and intelligently waived any First Amendment rights they otherwise would have. Defendants
                                  25   raise a further defense to that narrow category of damages: that allowing those damages would
                                       impermissibly infringe on their First Amendment rights of petition to seek redress from the
                                  26   government. Regardless, I find that PPGC’s costs of responding to the government investigations
                                       (which presumably stemmed from the publication of the videos, but also defendants’ direct
                                  27   provision of information to government agencies) cannot be recovered as a breach of contract
                                       remedy for a different reason. The discretion inherent in governmental decisions whether to
                                  28   prosecute or investigate a potential violation of law generally breaks any existing causal chain.
                                       See, e.g., Hartman v. Moore, 547 U.S. 250, 263 (2006) (“Herein lies the distinct problem of
                                                                                           20
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                                   1          Defendants also move for summary judgment on the issue of “incitement or threat

                                   2   damages,” arguing there is no basis to impose those sorts of damages on them because there is no

                                   3   evidence that any defendant made threats or caused harm to plaintiffs’ facilities or staff, or that

                                   4   any defendants directly encouraged or incited others to do so. I agree that plaintiffs have not

                                   5   uncovered any evidence of that kind of conduct by defendants. However, given my analysis

                                   6   above regarding allowable damages, this argument is inapposite.17 The only allowable damages

                                   7   are those that are directly tethered to defendants’ own conduct.

                                   8          Defendants move for summary judgment on “causation,” seeking to exclude damages that

                                   9   “were most directly” caused by third parties, including damages that plaintiffs incurred because

                                  10   plaintiffs expected and, according to plaintiffs, saw, a spike in third parties reacting threateningly

                                  11   or violently towards plaintiffs and their staff following the release of the Project videos. Given the

                                  12   exclusion of the damages identified above, this argument has lessened force. That said, the causal
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                                  13   nexus for the damages categorically allowed will still need to be shown at trial. I will address this

                                  14   issue further when I discuss the particular claims at issue later in this Order.

                                  15          Finally, defendants move to preclude plaintiffs categorically from seeking damages

                                  16   covering “increased security.” Defendants argue that no costs for increased security are

                                  17   recoverable, relying on People v. Silva, No. C080378, 2016 WL 4761936 (Cal. Ct. App. Sept. 13,

                                  18
                                  19   causation in cases like this one. Evidence of an inspector’s animus does not necessarily show that
                                       the inspector induced the action of a prosecutor who would not have pressed charges otherwise.
                                  20   Moreover, to the factual difficulty of divining the influence of an investigator or other law
                                       enforcement officer upon the prosecutor’s mind, there is an added legal obstacle in the
                                  21   longstanding presumption of regularity accorded to prosecutorial decisionmaking.”); see also
                                       Smiddy v. Varney, 665 F.2d 261, 267 (9th Cir .1981) (noting police officers “are not liable for
                                  22   damages suffered by the arrested person after a district attorney files charges unless the
                                       presumption of independent judgment by the district attorney is rebutted”). I recognize that this is
                                  23   not a 42 U.S.C. section 1983 claim were damages are sought against government actors, but the
                                       concept of the break in the causal chain in light of the inherent discretion of investigators and
                                  24   prosecutors is similar.

                                  25
                                       17
                                          As discussed below with respect to defendants’ motion to strike the testimony of plaintiffs’
                                       expert David S. Cohen, the history of anti-abortion activists targeting abortion providers and the
                                  26   historical consequences of that targeting are permissible areas of testimony from Cohen. That
                                       testimony is relevant to whether the steps plaintiffs took after they learned of defendants’
                                  27   intrusions and the steps plaintiffs took to provide personal security for members of their staff that
                                       were targeted by defendants were reasonable. Cohen will not be permitted to testify whether these
                                  28   defendants intended, by their actions, to incite threats or violence against plaintiffs or their staff or
                                       whether defendants’ actions proximately caused the allowable damages.
                                                                                          21
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                                   1   2016). There, the California Court of Appeal concluded that a criminal defendant, who was

                                   2   convicted of assault and burglary from his forced entry into a youth hostel, was not liable to pay

                                   3   for an improved secure entry system for the youth hostel as “restitution.” The court recognized

                                   4   that “[t]he installation of a new security system may well have been a prudent step by the hostel

                                   5   management, but to award that by way of restitution would leave the hostel better off, and thus

                                   6   constitutes an improper windfall.” Id. at *3.

                                   7           People v. Silva’s discussion of the permissible scope of criminal restitution under

                                   8   California law is of limited to no utility here in considering the damages issues under various

                                   9   states’ laws for the trespass, tort, and recording claims or in considering whether the access

                                  10   security and personal security measures plaintiffs implemented following their discovery of the

                                  11   intrusions and recording were reasonable and allowable. That the systems implemented by PPFA

                                  12   or PPGC following the intrusions were new or improved does not make them unrecoverable as a
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                                  13   matter of law. Plaintiffs may seek the narrow categories of access-security improvements and

                                  14   personal security expenses I have identified, and defendants may argue to the jury that they were

                                  15   unreasonable, unnecessary, or speculative.18

                                  16           B.     RICO (Count 1)
                                  17           All plaintiffs allege that all defendants violated the Racketeer Influenced and Corrupt

                                  18   Organizations (RICO) Act, 18 U.S.C. §§ 1962(c) and 1962(d). The elements of a RICO claim are:

                                  19   (i) the conduct of (ii) an enterprise that affects interstate commerce (iii) through a pattern (iv) of

                                  20   racketeering activity or collection of unlawful debt. 18 U.S.C. § 1962(c); Eclectic Props. E., LLC

                                  21   v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014). The conduct must be the

                                  22   proximate cause of harm to the victim. Under Section 1964(c), plaintiffs must also allege that

                                  23   they have been injured in their “property or business” by reason of the alleged racketeering

                                  24   activities.

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                                         I have already rejected defendants’ argument that plaintiffs’ damages are so complex or so
                                       difficult to apportion that expert testimony is required. Dkt. No. 613. Defendants raised this same
                                  27   argument on these motions and at the hearing. There is no need to revisit this issue. Plaintiffs will
                                       be required to appropriately limit and prove up the damages they seek (as permitted under this
                                  28   Order). The jury will decide whether the damages sought have been adequately supported and
                                       their decision may be reviewed, if appropriate, through post-trial motions.
                                                                                          22
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                                   1          CMP argues, on behalf of defendants, that plaintiffs have failed to meet the predicate act

                                   2   requirement or make a sufficient showing of causation between the predicate acts and the claimed

                                   3   RICO damages. In addition, defendants Rhomberg, Newman, and Lopez assert that they are not

                                   4   individually liable under the direct RICO claim or the RICO conspiracy claim. Plaintiffs cross-

                                   5   move for partial summary judgment on the RICO predicate acts only.

                                   6                          RICO Predicate Acts
                                   7          Defendants argue that the RICO claim fails because the predicate acts alleged under the

                                   8   federal Identity Theft Statute lack any connection to interstate commerce or were not the result of

                                   9   the requisite pattern of continuous prohibited acts. Plaintiffs contend that they have sufficiently

                                  10   met the minimum showing required for an interstate nexus and the undisputed evidence shows an

                                  11   open-ended conspiracy.

                                  12                          a.      Interstate Commerce
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                                  13          Defendants first argue that summary judgment is appropriate because there is no evidence

                                  14   that any defendants committed cognizable predicate acts, meaning acts that affected interstate

                                  15   commerce as required by federal Identity Theft Statute, 18 U.S.C. § 1028.19 That showing can be

                                  16   made with evidence that fake IDs were produced or transferred through means of interstate

                                  17   commerce or use of the U.S. mails, and the interstate nexus is satisfied by a “minimal showing.”

                                  18   See, e.g., U.S. v. Klopf, 423 F.3d 1228, 1238 (11th Cir. 2005) (noting Fourth, Sixth, Eighth, and

                                  19   Eleventh Circuits require only a minimal nexus to interstate commerce).20

                                  20          Defendants contend that undisputed facts show that both the production of the fake IDs

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                                       19
                                          Following my Order on plaintiffs’ motion to dismiss, the only remaining predicate acts allowed
                                       under 18 U.S.C. §§ 1028 are subsections (a)(1) and (a)(2), which prohibit knowing production or
                                  23   transfer of fake identification. See 18 U.S.C. § 1028 (“(a) Whoever, in a circumstance described
                                       in subsection (c) of this section – (1) knowingly and without lawful authority produces an
                                  24   identification document, authentication feature, or a false identification document; (2) knowingly
                                       transfers an identification document, authentication feature, or a false identification document
                                  25   knowing that such document or feature was stolen or produced without lawful authority.”).

                                  26
                                       20
                                          Subsection (c)(3) of the statute provides: “(c) The circumstance referred to in subsection (a) of
                                       this section is that – . . . (3) either – (A) the production, transfer, possession, or use prohibited by
                                  27   this section is in or affects interstate or foreign commerce, including the transfer of a document by
                                       electronic means; or (B) the means of identification, identification document, false identification
                                  28   document, or document-making implement is transported in the mail in the course of the
                                       production, transfer, possession, or use prohibited by this section.”
                                                                                             23
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                                   1   and their transfer were done entirely in California and that the U.S. mails were not used. There is

                                   2   undisputed testimony from Daleiden that he produced the Robert Sarkis identification himself at

                                   3   his home in California. Daleiden Depo. I 227:14–229:19; Daleiden MSJ Decl. ¶ 116. He

                                   4   approached a person in California to produce the documents for Merritt and Baxter under the

                                   5   names “Susan Tennenbaum” and “Brianna Allen.” Daleiden Depo. I 230:4–231:24, 232:19–

                                   6   233:15; Daleiden MSJ Decl. ¶ 116. Those documents were hand delivered to Daleiden, and he

                                   7   hand delivered them to Merritt and Baxter in California. Daleiden MSJ Decl. ¶¶ 116–17. He paid

                                   8   for these documents in cash. Id. ¶ 116.

                                   9          Plaintiffs point out that Daleiden used Craigslist – an internet site – to arrange for the

                                  10   purchase of the fake IDs for Merritt and Baxter, and argue that is a sufficient connection to

                                  11   establish the “minimal nexus” to interstate commerce. Daleiden Depo. I at 230-231. They rely on

                                  12   U.S. v. Agarwal, 314 Fed. App’x 473 (3d Cir. 2008) (unpublished), which found that evidence
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                                  13   reflecting a defendant’s “use of the Internet, an instrumentality of interstate commerce, to make

                                  14   arrangements to purchase the fraudulent identification card,” was proof of a nexus to interstate

                                  15   commerce. Id. at 475; but see id. (noting there was also evidence the components of the IDs

                                  16   travelled in interstate commerce).

                                  17          Defendants challenge plaintiffs’ reliance on the unpublished and out-of-circuit Agarwal

                                  18   decision that also relied on additional jurisdictional connections. Defendants, instead, analogize to

                                  19   U.S. v. Sutcliffe, 505 F.3d 944 (9th Cir. 2007), where the court held that evidence that defendant’s

                                  20   website was uploaded to servers in different states “supports the conclusion that Defendant

                                  21   electronically sent threats and social security numbers to internet servers located across state

                                  22   lines,” and concluded that the “interstate transfer of information by means of the internet” satisfied

                                  23   the jurisdictional elements for the statute. Id. at 953 (citing § 1028(c)(3)). Defendants argue that

                                  24   the Sutcliffe court, like Agarwal, found additional jurisdictional connections (use of servers

                                  25   located in different states, sending threats across state lines) to meet the showing there, and that

                                  26   those connections are wholly absent here.

                                  27          In addition to Daleiden’s use of the internet to secure the IDs for Merritt and Baxter,

                                  28   plaintiffs contend that because use of the fake IDs was “integral” to the scheme to “defraud”
                                                                                         24
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                                   1   plaintiffs – as the fake IDs were necessary to gain access to the conferences and clinics – that use

                                   2   also provides the nexus to interstate commerce. Plaintiffs cite U.S. v. Klopf, 423 F.3d 1228 (11th

                                   3   Cir. 2005), where the Eleventh Circuit explained and adopted the Eighth Circuit’s expansive

                                   4   interpretation of acts that establish jurisdiction. Id. at 1238. The Klopf court noted,
                                                       The Eighth Circuit also has given § 1028(c)(3)(A) an expansive
                                   5                   interpretation by noting that “the statute presents two options:
                                                       possession may be ‘in’ interstate commerce or it may ‘affect’
                                   6                   interstate commerce.” United States v. Jackson, 155 F.3d 942, 947
                                                       (8th Cir.1998). The Jackson court concluded that the government
                                   7                   demonstrates that possession of unlawful identity documents, such as
                                                       stolen driver’s licenses, affected interstate commerce by proof that
                                   8                   possession ‘was integral to [defendant’s] scheme to defraud
                                                       businesses and banks operating in interstate commerce.’ Id.
                                   9                   Therefore, fraudulently inducing a bank to issue a credit card through
                                                       fraudulent identification documentation would be sufficient evidence
                                  10                   of a § 1028(a) violation to satisfy § 1028(c)(3)(A).
                                  11   Id. Plaintiffs contend, and there can be no dispute, that the creation and transfer of the fake IDs by

                                  12   Daleiden’s efforts was integral to defendants’ scheme to defraud PPFA and others who were
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                                  13   operating in interstate commerce.

                                  14          Relatedly, plaintiffs suggest that while the “possession and intended use” prong of

                                  15   §1028(a)(3) is no longer in play, see September 2016 Order at 11, undisputed facts show that

                                  16   Daleiden, Merritt, and Baxter used their IDs to gain access to restricted spaces in various states.

                                  17   Evidence supports plaintiffs’ position that the intent of the defendants in creating and transferring

                                  18   the IDs and the alleged criminal enterprise was to affect interstate commerce. Plaintiffs rely on

                                  19   U.S. v. Villarreal, 253 F.3d 831 (5th Cir. 2001), where the defendant transferred a false birth

                                  20   registration card to an undercover agent whom he knew would possibly use that card to travel

                                  21   outside of the state. Although the transfer took place wholly in one town, “[p]resumably, the

                                  22   Mexican National would have used the Registration Card to remain in the United States and

                                  23   possibly travel between the United States and Mexico or beyond Texas,” so a “rational trier of fact

                                  24   could have found beyond a reasonable doubt that the transfer would have been in or affected

                                  25   interstate or foreign commerce had” the purchaser not been an undercover agent, and jurisdiction

                                  26   was satisfied. Id. at 834-35; see also U.S. v. Agarwal, 314 Fed. Appx. 473, 475 (3d Cir. 2008)

                                  27   (unpublished) (noting the “record establishes that the identification card at issue [procured in

                                  28   Pennsylvania] could have been used to gain access to facilities at a branch campus in California”).
                                                                                        25
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                                   1          Defendants assert that both Jackson and Klopf are distinguishable, as those cases addressed

                                   2   substantive provisions where “possession” with “intent to use” were elements and, therefore, the

                                   3   intent of the defendant was relevant even if the interstate use was never consummated. They point

                                   4   out that unlike the sections addressed in those two cases, the provisions here (sections 1028(a)(1)

                                   5   and (a)(2)) govern only production or transfer that is “in or affects” interstate commerce, and the

                                   6   eventual or intended use is irrelevant. Defendants also contend that the Villareal court got it

                                   7   wrong when it imported the concept of use from other inapposite cases into the “transfer” prong of

                                   8   section 1028(a)(2).

                                   9          Instead of Villareal, defendants contend that I should follow U.S. v. Della Rose, 278 F.

                                  10   Supp. 2d 928 (N.D. Ill. 2003). There, the district court considered whether the “government

                                  11   provide[d] sufficient evidence that the production of the false identification document was in or

                                  12   affects interstate commerce” under a section 1028(a)(3) charge. Id. at 930. Because there was no
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                                  13   evidence of any out-of-state activity – the defendant drafted a legitimate check against funds

                                  14   belonging to his intrastate client and had a third-party use the false ID to cash the check at an

                                  15   intrastate, local bank – the jurisdictional nexus was not met. But here, distinguishing this case

                                  16   from Della Rosa, the ultimate target of the alleged fraud was not intrastate, although some

                                  17   California entities and persons were targeted. Instead, PPFA and entities across state lines were

                                  18   not only targeted, but successfully infiltrated.21

                                  19          Recognizing the absence of Ninth Circuit authority but also that only a “minimum nexus”

                                  20   with interstate commerce is required under this statute, I find that plaintiffs have established the

                                  21   requisite interstate connection. Daleiden admitted that he used the internet to secure two of the

                                  22   IDs, the defendants intended to affect interstate commerce in creating the false IDs, and the

                                  23   defendants used those IDs across state lines. Plaintiffs have adequately established this element of

                                  24   the RICO predicate act as a matter of law, and their motion for partial summary judgment is

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                                         The Della Rose court itself distinguished Villareal concluding, “In the case before the Court, we
                                       need not engage in supposition: the Defendant did accomplish his intended goals. Yet there is no
                                  27   evidence that the accomplishment was in or affected interstate commerce beyond the cashing of a
                                       check at a bank. Villarreal, too, is readily distinguished.” Della Rose, 278 F. Supp. 2d at 932.
                                  28   Here, of course, the undisputed evidence is that the use of the fake IDs was central to
                                       accomplishing defendants’ goals to infiltrate conferences and clinics in different states.
                                                                                          26
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                                   1   GRANTED in this limited respect.22

                                   2                          b.      False under 18 U.S.C. § 1028(d)(4)
                                   3          Defendants also argue that summary judgment cannot be granted on this predicate act

                                   4   because given the poor quality of the fake IDs, they could not be considered “commonly accepted”

                                   5   as a matter of law. Daleiden describes the fake IDs for “Sarkis,” “Tennenbaum,” and “Allen” as

                                   6   produced on copy paper with rigid thick PVC of “laughable quality” such that they could not be

                                   7   considered of sufficient quality under 18 U.S.C. § 1028(d)(4).23 Daleiden Decl. ¶ 118; see also

                                   8   CMP MSJ at 11 n.7.

                                   9          Defendants rely on U.S. v. Spears, 697 F.3d 592 (7th Cir. 2012), reh'g en banc granted,

                                  10   opinion vacated, 11-1683, 2013 WL 515786 (7th Cir. Jan. 14, 2013), and opinion reinstated in

                                  11   part on reh'g, 729 F.3d 753 (7th Cir. 2013). There, the Seventh Circuit discussed the “commonly

                                  12   accepted for the purposes of identification” that “appears to be” but was not issued by a state,
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                                  13   elements of section 1028(d)(4). The court held that the fake driver’s license there was

                                  14   “sufficiently realistic that a reasonable jury could conclude that it appears to be issued by the State

                                  15   of Indiana.” Id. at 594-95.

                                  16          I am not convinced that “sufficient quality” is an element or defense of this claim. The

                                  17   statute itself ties “commonly accepted” not to the quality of the fake document but to the type of

                                  18   document. A driver’s license is one commonly accepted for the purposes of identification of

                                  19   individuals. Absent more persuasive authority than the dicta in U.S. v. Spears, defendants’

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                                  21   22
                                         As such, I do not need to address plaintiffs’ alternate predicate acts, mail fraud and wire fraud
                                  22   under 18 U.S.C. §§ 1341, 1343 committed for the purpose of trespassing at the conferences. See
                                       Plaintiffs’ MSJ at 27-29. Defendants object to plaintiffs’ newly raised theory, arguing that it is
                                  23   barred as it was not expressly pleaded in the SAC. Nor do I need to reach plaintiffs’ argument,
                                       made in passing and without any case law support, that showing the IDs to gain access to the
                                  24   PPFA and NAF conferences or to gain access to clinics is a “transfer” covered by the statute.
                                       Finally, I likewise need not reach the assertion – disputed by defendants – that Daleiden used the
                                  25   fake IDs to secure debit cards (impacting interstate commerce) in aid of the enterprise.

                                  26
                                       23
                                          Under 18 U.S.C. 1028(d)(4): “the term ‘false identification document’ means a document of a
                                       type intended or commonly accepted for the purposes of identification of individuals that-- (A) is
                                  27   not issued by or under the authority of a governmental entity or was issued under the authority of a
                                       governmental entity but was subsequently altered for purposes of deceit; and (B) appears to be
                                  28   issued by or under the authority of the United States Government, a State, a political subdivision
                                       of a State, [].”
                                                                                        27
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                                   1   arguments about the shoddy quality of their particular fake IDs does not preclude summary

                                   2   judgment to plaintiffs on the existence of predicate acts under section 1028 or require summary

                                   3   judgment in defendants’ favor.

                                   4                          c.      Pattern
                                   5          Defendants also contend that plaintiffs have not identified evidence of a pattern of

                                   6   continuous prohibited predicate acts. They argue that the evidence shows at most “sporadic

                                   7   production or transfer of fake IDs” and that there is neither evidence that the acts of using or

                                   8   transferring the fake IDs occurred over a substantial period of time (“closed-ended continuity”)

                                   9   nor evidence that defendants will continue to engage in the act of producing or transferring fake

                                  10   IDs in the future (“open-ended continuity”). See H.J. Inc. v. N.W. Bell Tel. Co., 492 U.S. 229, 241

                                  11   (1989) (discussing requirements to show either closed- or open-ended continuity with respect to

                                  12   predicate acts).
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                                  13          Plaintiffs respond that they are relying on “open-ended” continuity, which only requires

                                  14   showing that the predicate acts “threaten repetition.” Allwaste, Inc. v. Hecht, 65 F.3d 1523, 1526

                                  15   (9th Cir. 1995) (discussing open-ended continuity). They argue that the pattern here is open-ended

                                  16   because defendants have not disavowed future attempts to infiltrate plaintiffs’ conferences and

                                  17   facilities, defendants’ goals are to “finish off PP” and “end abortion” using “moles and spies,” and

                                  18   that they intend to “release more damning evidence.”24 Given the former and continued

                                  19   requirement of IDs for access to plaintiffs’ conferences and facilities, plaintiffs argue that the use

                                  20   of false IDs by these defendants to seek further infiltration is almost guaranteed.

                                  21          Defendants respond that open-ended continuity cannot be established because there was

                                  22   one use of the fake IDs to secure the recordings and information for the now-concluded Human

                                  23   Capital Project. They claim that their limited conduct is similar to that in Jarvis v. Regan, 833

                                  24   F.2d 149, 153 (9th Cir. 1987), where defendants made misrepresentations, through mail and wire

                                  25   fraud, in order to fraudulently secure a federal grant to be used to oppose one specific ballot

                                  26   measure.

                                  27
                                       24
                                  28    Newman Dep. Ex. 39 (Mayo MSJ Opp. Decl. Ex. 17, July 2015 emails from Newman);
                                       Newman Dep. Ex. 50 (Mayo MSJ Opp. Decl. Ex. 24, emails from Newman).
                                                                                28
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                                   1           The facts in Jarvis, however, are obviously different than the ones here. While the Project

                                   2   may, if defendants are to be believed, be over, defendants’ zealous activism against plaintiffs is

                                   3   not. There is evidence from which a reasonable juror could conclude that defendants will attempt

                                   4   similar tactics to those at play in this case (use of fake ID and false identification in order to

                                   5   personally or help others gain access to plaintiffs’ conference and facilities) again in the future.

                                   6   Defendants dispute that characterization of their future intents, repeatedly asserting that the work

                                   7   of the Project is “complete” and “finished.” This only demonstrates that there is a dispute of

                                   8   material fact. Plaintiffs have presented sufficient evidence to satisfy the open-ended continuity

                                   9   prong because a reasonable juror could rely on it to determine that defendants present a continuing

                                  10   threat of infiltration either by personal use of fake IDS or by assisting others’ use of fake IDs to

                                  11   target plaintiffs in the future. A jury must decide whether to believe plaintiffs’ characterization of

                                  12   the facts or defendants’ characterization that their plan “came to fruition” with the Project and
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                                  13   their acts are not likely to repeat.25 Neither party is entitled to summary judgment concerning the

                                  14   pattern element of predicate acts under Section 1028.

                                  15                           RICO Proximate Causation of Injury/Damage
                                  16           Defendants then argue that plaintiffs have failed to show that the predicate acts

                                  17   proximately caused their RICO injuries. As noted in my September 2016 Order, the “proper

                                  18   referent of the proximate-cause analysis” is the predicate acts alleged. Anza v. Ideal Steel Supply

                                  19   Corp., 547 U.S. 451, 458 (2006). “When a court evaluates a RICO claim for proximate causation,

                                  20   the central question it must ask is whether the alleged violation led directly to the plaintiff’s

                                  21   injuries.” Id. at 461. As to that directness requirement, after reviewing the relevant case law I

                                  22   concluded:

                                  23                   I agree that plaintiffs may not be able to recover for damages that were
                                  24

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                                       25
                                          Defendants’ reliance on Food Lion, Inc. v. Capital Cities/ABC, Inc., 887 F. Supp. 811, 820
                                       (M.D.N.C. 1995) is not persuasive given the context of this case. There, the court held that a
                                  26   “series of predicate acts occurring over a six month span and directed at one victim cannot be said
                                       to possess closed continuity.” Id. at 820. Not only are plaintiffs here alleging open-ended
                                  27   continuity, unlike in Food Lion where there was no dispute that the “acts of mail and wire fraud
                                       were part of a limited purpose, to obtain information from Food Lion to be aired on PTL,” but
                                  28   there is a dispute as to defendants’ future intents to again infiltrate plaintiffs’ conferences and
                                       facilities. Id.
                                                                                          29
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                                                      not directly caused by the actions of defendants, but caused instead
                                   1                  by intervening actions of third parties who were motivated by the
                                                      videos and press released by the Human Capital Project. For example,
                                   2                  the damages plaintiffs incurred because their website was hacked by
                                                      a third-party would appear to be too distant, too far down the causal
                                   3                  chain, for plaintiffs to seek them under RICO. But other damages
                                                      alleged – including the increase in security costs at conferences,
                                   4                  meetings, and clinics that plaintiff incurred when they learned about
                                                      defendants’ infiltration of their conferences, meetings, and clinics –
                                   5                  are much more directly tied to defendants’ conduct and do not raise
                                                      the problem of intervening actions of third-parties.
                                   6
                                       September 2016 Order at 16. I indicated that “[h]ow far the actual causal link stretches for each
                                   7
                                       category of damages plaintiffs’ allege is something that will need to be developed in discovery and
                                   8
                                       tested on summary judgment.” Id. at 16-17. I also noted, in passing, “whether foreseeability can
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                                       still be considered is questionable in light of Hemi Group LLC v. City of New York, New York, 559
                                  10
                                       U.S. 1 (2010), which rejected the idea that proximate cause under RICO could ‘turn on
                                  11
                                       foreseeability.’” Id. at 16.
                                  12
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                                              In these motions, defendants argue that foreseeability and intent are irrelevant under the
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                                  13
                                       RICO proximate cause analysis (Dkt. No. 596-6 at 14-19). Plaintiffs dispute that, arguing that
                                  14
                                       post-Hemi cases, most significantly Fields v. Twitter, Inc., 881 F.3d 739 (9th Cir. 2018), recognize
                                  15
                                       that foreseeability and intent remain relevant. Dkt. No. 661. In Fields, the Ninth Circuit
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                                       considered the proximate cause required under the civil remedies provision of the Anti–Terrorism
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                                       Act (ATA, 18 U.S.C. § 2333(a)), which the panel determined was identical to proximate cause
                                  18
                                       required under RICO. Id. at 745. The court recognized “that foreseeability is another of the
                                  19
                                       ‘judicial tools’ in the proximate cause toolshed,” but for “purposes of the ATA, it is a direct
                                  20
                                       relationship, rather than foreseeability, that is required.” Id. at 747 (relying on Hemi and Anza).
                                  21
                                       Therefore, while foreseeability is not irrelevant, the “touchstone” for both the ATA and RICO is
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                                       the directness of the connection between defendants’ act and plaintiffs’ injuries. Id. at 748.
                                  23
                                              Plaintiffs also argue that the “one-step” litmus test for proximate cause used in Hemi
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                                       (which, according to defendants, precludes any damages that are caused by more than one-step
                                  25
                                       away in the causal chain) was clarified by the Fields court to apply only where the harm at issue is
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                                       most immediately suffered by third parties. Dkt. No. 661 at 2. That is certainly a distinguishing
                                  27
                                       characteristic between this case and the facts in Hemi and Fields; the harms at issue here were
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                                                                                        30
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                                   1   suffered not by third parties but by plaintiffs.26 However, I did not conclude at the motion to

                                   2   dismiss stage and I do not conclude now that a strict one-step requirement is all that is allowed for

                                   3   proximate causation under RICO. Instead, my focus remains on the “touchstone” of directness.

                                   4          That said, as explained in the analysis of damages in Section A above, I agree with

                                   5   defendants that certain categories of damages sought by plaintiffs are not recoverable under the

                                   6   First Amendment. For the damages that are allowable, sufficient evidence exists for a reasonable

                                   7   juror to conclude that those damages were directly caused by defendants’ actions in infiltrating

                                   8   conferences and facilities and their targeting plaintiffs’ staff members. Given the allegedly

                                   9   necessary role the false IDs played in allowing defendants their initial introductions to key

                                  10   members of plaintiffs’ staff – at the NAF 2014 conference among others – and then for access to

                                  11   PPFA’s conferences (and at least PPGC’s facilities) in order to target plaintiffs’ staff in aid of the

                                  12   Project, a reasonable juror could determine that defendants’ conduct directly caused these
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                                  13   categories of expenses. Any failure of evidence concerning the allowed categories of damages

                                  14   will be determined by the jury or on post-trial motions.

                                  15                          Rhomberg, Newman, and Lopez
                                  16          Separately, defendants Rhomberg, Newman, and Lopez move for summary judgment

                                  17   arguing that because none of them committed a predicate act, they cannot be liable for RICO

                                  18   conspiracy under 18 U.S.C. §1962(d). In order to prove a RICO conspiracy claim, a “conspirator

                                  19   must intend to further an endeavor which, if completed, would satisfy all of the elements of a

                                  20   substantive criminal offense, but it suffices that he adopt the goal of furthering or facilitating the

                                  21   criminal endeavor.” Salinas v. United States, 522 U.S. 52, 65 (1997). A defendant must also have

                                  22   been “aware of the essential nature and scope of the enterprise and intended to participate in it.”

                                  23   Baumer v. Pachl, 8 F.3d 1341, 1346 (9th Cir.1993) (internal quotation marks omitted). Therefore,

                                  24   plaintiffs must prove either an agreement that is a substantive violation of RICO or that the

                                  25

                                  26   26
                                         See also Pillsbury, Madison & Sutro v. Lerner, 31 F.3d 924, 929 (9th Cir. 1994) (finding that
                                  27   “the necessary direct relationship between the plaintiff and the defendant is missing in this case”
                                       where the harm was suffered most directly by a third party, and recognizing that allegations of
                                  28   “specific intent” to harm plaintiff not enough “to override the necessity to evaluate the directness
                                       of injury”).
                                                                                         31
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                                   1   defendants agreed to commit, or participated in, a violation of two predicate offenses. Howard v.

                                   2   Am. Online Inc., 208 F.3d 741, 751 (9th Cir. 2000). “The illegal agreement need not be express as

                                   3   long as its existence can be inferred from the words, actions, or interdependence of activities and

                                   4   persons involved.” Oki Semiconductor Co. v. Wells Fargo Bank, Nat. Ass'n, 298 F.3d 768, 775

                                   5   (9th Cir. 2002).

                                   6          None of the three defendants played a direct role in securing or using the three fake IDs at

                                   7   issue, but each is potentially liable for RICO conspiracy. While Lopez used his own ID to gain

                                   8   access to the conferences, certain aspects of his role that he admitted to create a dispute of material

                                   9   fact concerning his knowledge of or expectation that those with him at those conferences had

                                  10   procured and used fake IDs. Lopez introduced Daleiden under the false name Sarkis and made

                                  11   connections for Daleiden under that name. Given that Lopez himself had to use an ID matching

                                  12   his registered name to gain entrance to the conferences, a reasonable jury could conclude that he
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                                  13   expected that those using false names were also using fake IDs. This evidence is sufficient to

                                  14   support a conspiracy under 18 U.S.C. § 1962(d). Although Lopez professed no direct knowledge

                                  15   of the others’ use of fake IDs (Lopez MSJ Decl. ¶ 9) and testified that he thought Daleiden might

                                  16   just be using another of his “casual” names as Sarkis (Lopez Depo. at 114-117), his statements at

                                  17   best go to a credibility determination. Jurors will decide whether to believe his current testimony

                                  18   or whether the circumstantial evidence discredits him.27

                                  19          The issue regarding Rhomberg and Newman is closer. They contend that there is no

                                  20   evidence that they took any steps (or were in agreement) with Daleiden’s efforts to procure and

                                  21   transfer fake IDs to use in the alleged criminal enterprise. Rhomberg initially refused to answer

                                  22

                                  23   27
                                          Merritt also argues that the fact she played no direct role in producing or transferring the fake
                                  24   IDs shields her from liability under RICO. Merritt Oppo. at 15-17. But her connection to the fake
                                       IDs (securing one from Daleiden and using it multiple times for purposes of furthering the alleged
                                  25   RICO enterprise) is even more direct than for Lopez. The RICO conspiracy claim survives as to
                                       Merritt as well. In light of that conclusion, whether or not Merritt can be directly liable under
                                  26   RICO (as opposed to liable under only the conspiracy provision) will be determined at trial.
                                       Given the overlap in relevant evidence and my doubts that the dicta in United States v. Christian,
                                  27   356 F.3d 1103, 1107 (9th Cir. 2004) relied on by Merritt but regarding a different statute and the
                                       issue of probable cause, establishes the correct framework for determining what is a “transfer” is
                                  28   under section 1028, both the direct and conspiracy RICO claims may proceed to trial with respect
                                       to Merritt.
                                                                                         32
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                                   1   questions about the fake IDs, but was eventually compelled to do so. Even though Rhomberg

                                   2   denied knowledge about efforts to procure, transfer, and use the fake IDs, Daleiden admitted that

                                   3   he sought out Rhomberg for his experience with the type of “undercover operation” he was

                                   4   considering. At the inception of the project, Daleiden sent Rhomberg (and Newman) proposals

                                   5   describing the use of undercover operatives to create “stings” and “gotcha” videos where “trained

                                   6   actors” pretend to be “fetal traffickers” to gain access to plaintiffs’ conferences, meetings, and

                                   7   staff. 2013 Project Proposal; Mayo MSJ Oppo. Decl. Ex. 31. Rhomberg was also kept informed

                                   8   of “deceptions” being used against plaintiffs and Daleiden’s meetings with “targets” who might

                                   9   become suspicious. Rhomberg contends that being given high-level overviews of the Project a

                                  10   few times a year is insufficient to show knowledge or consent, but there is enough disputed

                                  11   evidence to let the jury decide whether Rhomberg must have known about the use of the fake IDs.

                                  12   Any disclaiming of knowledge about the use of fake IDs by Rhomberg, as well as Daleiden’s
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                                  13   minimizing Rhomberg’s role in the Project (Daleiden MSJ Decl. ¶¶ 121-126), at most raise

                                  14   questions of material fact for resolution by the jury.

                                  15          Similarly, the minimal but significant undisputed evidence regarding Newman’s

                                  16   knowledge of the scope and methods to be used in the Project could lead a reasonable juror to

                                  17   conclude that he knew that fake identification was going to be used in order to orchestrate and

                                  18   make the “gotcha videos” and allow the “trained actors” to “pose” as “fetal traffickers” and access

                                  19   the otherwise restricted conferences and meetings at issue. Specifically, Newman received project

                                  20   proposals from Daleiden that outlined the plan to infiltrate and surreptitiously record conferences

                                  21   and meetings, and he claimed he was “integral” to and “planned” the Project with Daleiden. See,

                                  22   e.g., 2013 Project Proposal (circulated to both Newman and Rhomberg). That is sufficient to

                                  23   allow plaintiffs to ask the jury to resolve the depth of Newman’s knowledge of and the scope of

                                  24   his agreement to the RICO conspiracy, and specifically the use of the fake IDs.28

                                  25
                                       28
                                  26      For purposes of this civil litigation, plaintiffs contend that inferences may be drawn against
                                       Newman because he asserted the Fifth Amendment right against self-incrimination and refused to
                                  27   answer questions regarding his knowledge of the procurement and use of the fake IDs. Newman
                                       counters that no Fifth Amendment inference may be drawn against him because plaintiffs have
                                  28   failed to meet all the requirements to impose such an inference, including that no “independent
                                       evidence exists of the fact to which the party refuses to answer.” Doe ex rel. Rudy-Glanzer v.
                                                                                            33
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                                   1             In sum, plaintiffs have established a minimal but sufficient nexus to interstate commerce

                                   2   with respect to the predicate acts under 18 U.S.C. §§ 1028(a)(1) and (a)(2). The remainder of the

                                   3   parties’ cross-motions on the elements of the RICO claim are DENIED.

                                   4             C.     Breach of Contracts
                                   5             BioMax moves, on behalf of the defendants, for summary judgment on each of plaintiffs’

                                   6   breach claims: the breach of PPFA’s Exhibit Agreements (EAs) (Count 4), the breach of NAF’s

                                   7   contracts, brought by the plaintiffs whose staff were recorded as third-party beneficiaries under the

                                   8   NAF contracts (Count 5), and the breach of the PPGC/PPCFC NDA signed by Daleiden on behalf

                                   9   of BioMax to secure entry for himself and Merritt (Count 15). Plaintiffs move for partial

                                  10   summary judgment for liability for the breach of the PPFA EAs and the PPGC NDA only; they do

                                  11   not move for summary judgment as to the breach of the NAF agreements. Plaintiffs acknowledge

                                  12   that the amount of their recoverable damages under the two claims on which they move must be
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                                  13   determined by the jury, but contend that undisputed facts show that liability should be entered in

                                  14   their favor as to the PPFA EAs and the PPGC NDA.

                                  15                            1. Breach of PPFA Exhibitor Agreements (Count 4)
                                  16             There is no dispute that Daleiden, on behalf of BioMax, agreed to Exhibitor Agreements

                                  17   for each of the three PPFA conferences at issue. Miami EA, Sterk Decl., Ex. 66; Orlando EA,

                                  18   Sterk Decl., Ex. 67; and DC EA, Sterk Decl., Ex. 68. He signed the Miami EA using the Brianna

                                  19   Allen pseudonym. Given the representations about the existence and purpose of BioMax plus the

                                  20   referral from Dr. Nucatola, PPFA allowed BioMax to register as an exhibitor for the Miami

                                  21   conference. Graziani Decl. ¶ 7; Nucatola Decl. ¶ 7.29 Daleiden used the name “Robert Sarkis”

                                  22

                                  23   Glanzer, 232 F.3d 1258, 1264 (9th Cir. 2000); see also id. at 1265 (“no negative inference can be
                                       drawn against a civil litigant’s assertion of his privilege against self-incrimination unless there is a
                                  24   substantial need for the information and there is not another less burdensome way of obtaining that
                                       information.”). It seems apparent that for some of the questions asked of Newman in his
                                  25   deposition, including requests to authenticate or discuss correspondence that Newman apparently
                                       drafted, Newman’s testimony is required and no other source is available. However, plaintiffs
                                  26   have not fully engaged with the requirements necessary to support their request for various and
                                       unspecified adverse inferences. What inferences are or are not appropriate at trial, with
                                  27   respect to any defendant’s assertion of the Fifth Amendment privilege and refusal to answer
                                       in this case, should be addressed in limine.
                                  28   29
                                            Defendants dispute the “strength” or efficacy of the screening and vetting measures undertaken
                                                                                          34
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                                   1   and provided the fake California drivers’ license at the registration table. Daleiden Depo. II at

                                   2   114:7-19. Lopez used his own ID. Both recorded participants at the conference. Daleiden also

                                   3   registered BioMax as an exhibitor at the Orlando conference, listing Sarkis and Lopez as the

                                   4   attendees. Sterk Decl. Ex. 42 (MeDC Registration). In February 2015, he registered BioMax as

                                   5   an exhibitor for the DC conference using the false Brianna Allen email at BioMax. CM00915

                                   6   (Sterk Decl. Ex. 46). He identified Sarkis and Lopez as the attendees.

                                   7          The PPFA EAs for the Miami and Orlando conferences both provide in their first

                                   8   paragraphs that all exhibits and sponsored meetings were to be “educational and informative,

                                   9   emphasizing information about products and services useful to the registrants’ practice and

                                  10   beneficial to the interests of their clients and patients.” Sterk Decl., Ex. 66 (Miami EA)30; Ex. 67

                                  11   (Orlando EA). Paragraph 12 of the Miami EA and Paragraph 11 of the Orlando EA both require,

                                  12   under “Exhibit Space,” that the exhibits be “of an educational nature.” Id.
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                                  13          All three EAs at issue, including the EA for the DC conference, required that exhibitors

                                  14   “comply with all applicable federal, state and local laws and regulations in performance of its

                                  15   respective obligations pursuant to this Agreement, including, without limitation, laws related to

                                  16   fraud, abuse, privacy, discrimination, disabilities, samples, confidentiality, false claims and

                                  17   prohibition of kickbacks.” DC EA ¶ 16; Orlando EA ¶ 3; Miami EA at 3.

                                  18          The Miami EA’s choice of law provision requires application of Colorado law, the

                                  19   Orlando EA requires application of Florida law, and the DC EA requires application of the laws of

                                  20   Washington, DC. Both sides agree that the elements of a breach of contract claim are identical

                                  21

                                  22
                                       by PPFA prior to the intrusions, noting that it only took one recommendation from Nucatola
                                  23   (based on defendants’ attendance at the NAF conference) to get BioMax into the Miami
                                       conference in 2014 and no further recommendations to get into the other conferences. See
                                  24   Rhomberg/Newman Oppo. [Dkt. No. 652] at 2-4. Defendants also object to paragraph 7 of the
                                       Nucatola Declaration as “contradicting prior deposition testimony.” Dkt. No. 659-1. That
                                  25   objection is OVERRULED.

                                  26
                                       30
                                         For example, the Miami EA on page 1 provided “The exhibits and sponsored meetings must be
                                       educational and informative, emphasizing information about products and services useful to the
                                  27   registrants’ practice and beneficial to the interest of their clients and patients.” On page 2, the
                                       Miami EA obligated exhibitors to “show only products manufactured or represented by their
                                  28   company in the regular course of business,” only show exhibits “of an educational character . . .
                                       for use in the attendee’s medical practice, teaching, or research”.
                                                                                          35
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                                   1   under all three jurisdictions’ laws: (1) a valid contract between the parties; (2) an obligation or

                                   2   duty arising out of the contract; (3) a breach of that duty; and (4) damages caused by breach.

                                   3                          a.      Duty/Breach
                                   4          BioMax, on behalf of all defendants, argues that EAs did not impose any obligation that

                                   5   BioMax (or presumably Daleiden or Lopez) breached as an “exhibitor,” and notes that none of the

                                   6   EAs expressly prohibited defendants from recording or publishing recordings of the conferences

                                   7   or otherwise required defendants to keep any information they learned confidential. Plaintiffs

                                   8   respond that defendants breached the EA requirements regarding (1) the “educational nature” of

                                   9   the exhibits, as required by the Miami EA and the Orlando EAs, as well as the requirement to

                                  10   show “products” under the DC EA and, relatedly, (2) the “rights and duties” sections – requiring

                                  11   both PPFA and the Exhibitors to comply with “laws related to fraud, abuse, privacy.”

                                  12          Defendants reply, first, that there is a “disconnect” between the Exhibit Space “duties”
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                                  13   sections for Exhibitors and the more general “rights and duties” section because plaintiffs do not

                                  14   have evidence that BioMax or any defendant violated any federal, state, or local law in performing

                                  15   its “actual obligations” as set forth in the Exhibit Space sections of the EAs. Accepting

                                  16   defendants’ hinging of the “rights and duties” section to violations of Exhibit Space “duties,”

                                  17   plaintiffs have evidence of such violations because BioMax’s “products” and exhibits were wholly

                                  18   fictional and neither educational nor useful to participants. In addition, although the DC EA does

                                  19   not clearly define “exhibitor duties” as the other two EAs do, it still requires exhibitors to have

                                  20   “products” that BioMax did not have. The company was a front and never had any of the products

                                  21   or services that were described in the BioMax brochures and described orally by Daleiden and

                                  22   Lopez to conference attendees. Sterk Decl. Ex. 22 (Screenshot from FNNI0773_

                                  23   20150227061943 at 6:42:35 showing BioMax brochures and business card on Exhibitor table);

                                  24   Daleiden Depo. II at 24-25.

                                  25          Defendants’ only response to the undisputed evidence that BioMax was a front company

                                  26   offering no real products or services is that a PPFA witness (Minow) “admitted” that conference

                                  27   participants would be interested in learning about fetal tissue procurement, the topic of Daleiden’s

                                  28   and Lopez’s conversations with participants. Minow Depo. 46:22-47:3 (Declaration of Gregory
                                                                                         36
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                                   1   R. Michael, Ex. 53). Interest in a topic is materially different than hearing about that topic from

                                   2   representatives of a fake company who never provided that product or service.31

                                   3           Defendants also contend that they could not have breached the EAs because their

                                   4   requirements terminated at the end of each conference, and therefore any post-conference conduct

                                   5   (such as the release of the videos) could not have breached those contracts. BioMax MSJ at 10.

                                   6   But numerous breaches of the contractual provisions occurred during the conferences, specifically

                                   7   when defendants pretended to represent a real company, provided no real educational content, and

                                   8   exhibited no “useful” products. This argument does not work.

                                   9           Defendants next assert that the general “legal rights and duties” provisions in the EAs

                                  10   (requiring both PPFA and the Exhibitors to comply with “laws related to fraud, abuse, privacy”)

                                  11   are ineffectual and void, relying on a line of cases recognizing that contractual provisions

                                  12   requiring parties to “obey the law” have no legal effect. However, as I held on the motion to
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                                  13   dismiss, a contract is void for lack of consideration only where the promise not to break the law is

                                  14   the only contractual promise, which is not the case with the PPFA EAs. September 2016 Order at

                                  15   21.32

                                  16           Finally, even if the “legal rights and duties” section is not void, defendants argue that there

                                  17   is no breach of that section here because the “fraud” (if any) committed by defendants was not

                                  18   done with respect to the defendants’ Exhibitor obligations under the EA. BioMax Reply at 3.33 I

                                  19

                                  20
                                       31
                                         Defendants also argue that the “educational nature” language only applies to “sponsors” and not
                                       “exhibitors” like BioMax. BioMax MSJ at 8-9. But the relevant language, under the “unlabeled
                                  21   sponsorship section” states: “The exhibits and sponsored meetings must be educational and
                                       informative” – and defendants admit that they were there to exhibit. This language applies to
                                  22   exhibitors like defendants.

                                  23
                                       32
                                          The case defendants rely on in CMP’s MSJ are no different. Landucci v. State Farm Ins. Co.,
                                       65 F. Supp. 3d 694, 715 (N.D. Cal. 2014) (“Defendants are correct. In California, a promise to
                                  24   refrain from unlawful conduct is unlawful consideration. . . . Thus, a contract that includes such a
                                       promise as consideration is illegal, and thus void.”); see also Schaefer v. Williams, 15 Cal.App.4th
                                  25   1243, 1246–47 (1993) (holding that a contract cannot be premised on a promise to not break the
                                       law); Floor Seal Technology, Inc. v. Sinak Corp., 156 Fed. Appx. 903, at *1 (9th Cir.2005)
                                  26   (same).

                                  27
                                       33
                                         This section required PPFA and exhibitors to “comply with all applicable federal, state and local
                                       laws and regulations in performance of its respective obligations pursuant to this Agreement,
                                  28   including, without limitation, laws related to fraud, abuse, privacy, discrimination, disabilities,
                                       samples, confidentiality, false claims and prohibition of kickbacks.” DC EA ¶ 16; Orlando EA ¶
                                                                                         37
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                                   1   rejected that argument above because there is no dispute that defendants’ exhibits and products

                                   2   were not educational, useful, or actual as the EAs required they be.

                                   3          The undisputed, material facts establish that BioMax and Daleiden breached the PPFA

                                   4   EAs.

                                   5                          b.      Damages: First Amendment/Publication Damages
                                   6          Daleiden separately argues, on behalf of all defendants, that damages from any breach of

                                   7   the EAs are barred by the First Amendment because plaintiffs’ damages flow from the subsequent

                                   8   publication of the videos and not from the breach of the EAs themselves. Defendants argue that in

                                   9   discovery responses PPFA identified the following categories of damages stemming from the

                                  10   breach of its contracts: (1) physical and IT-related security costs, including costs related to

                                  11   safeguarding taped individuals; (2) cost of repairing, cleaning up, or replacing damages to

                                  12   buildings and personal property arising from vandalism, arson, and other security incidents; (3)
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                                  13   lost revenue stemming from lost opportunities to treat patients due to the unavailability of the

                                  14   Planned Parenthood online appointment scheduling system because of a hack; (4) and other costs

                                  15   related to defendants’ alleged wrongful conduct, staff time responding to the videos, security

                                  16   training for health center staff, and legal and other vendor fees. See Declaration of Michael Millen

                                  17   ISO Rhomberg and Newman’s Motion for Summary Judgment (hereinafter “Millen Decl.”), Ex.

                                  18   101 (Damages Chart), at 9-10.

                                  19          Defendants assert it is “undisputed” that these damages were allegedly and “substantially”

                                  20   caused by the publication of the videos alone and not by the narrower breach of the EAs at issue.

                                  21   As previously discussed, to the extent plaintiffs seek damages that stemmed from publication of

                                  22   the videos, those damages are not recoverable given the First Amendment protections for

                                  23   publications, even under a breach of contract claim based on the PPFA EAs.34 On the other hand,

                                  24

                                  25   3; Miami EA at 3.

                                  26
                                       34
                                          I reject plaintiffs’ argument made in passing that “state action” is necessary for First
                                       Amendment protections to apply in the context of breach of contract claims based on the PPFA
                                  27   EAs. See Pls. Oppo. MSJ at 22. The cases identified by plaintiffs deal with enforcement of
                                       settlement agreements and are inapposite to the claims here. See United Egg Producers v.
                                  28   Standard Brands, Inc., 44 F.3d 940, 942–43 (6th Cir.1995) (no state action triggered by plaintiff’s
                                       suit to enforce a settlement agreement barring disparagement of the parties’ products); Merrell v.
                                                                                         38
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                                   1   damages that resulted from defendants’ own actions are not barred by the First Amendment.35

                                   2                          c.     Damages: Causation Related to Breach
                                   3          Relatedly, defendants contend that none of plaintiffs’ non-publication damages is

                                   4   recoverable because they were not caused by the breaches of the EAs. Plaintiffs argue that even if

                                   5   some of their damages are precluded, significant damages remain that are directly tied to the cost

                                   6   of investigating how defendants breached their contracts and remedying any future possible

                                   7   breaches at their conferences. See Minow Depo. at 95:17–24. They contend that the amount of

                                   8   those damages, and defendants’ defenses thereto (e.g., damages were unnecessary or not related to

                                   9   the breaches of the EAs), should be resolved at trial. I agree.

                                  10          Finally, plaintiffs assert that even if all actual damages claims are barred (which as noted

                                  11   above they are not), PPFA is nonetheless entitled to nominal damages for the breach under each

                                  12   relevant jurisdictions’ laws. Patel v. Howard Univ., 896 F. Supp. 199, 205 (D.D.C. 1995)
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                                  13   (plaintiff may recover nominal damages even if it “suffered no loss as a result of the breach,”

                                  14   applying District of Columbia law) (citations omitted); City of Westminster v. Centric-Jones

                                  15   Constructors, 100 P.3d 472, 481 (Colo. App. 2003) (“Nominal damages are recoverable for a

                                  16   breach of contract even if no actual damages resulted or if the amount of actual damages has not

                                  17   been proved.”); Muroff v. Dill, 386 So. 2d 1281, 1283 (Fla. Dist. Ct. App. 1980) (noting plaintiffs

                                  18   were “entitled to nominal damages once the breach of contract had been established,

                                  19   notwithstanding the absence of evidence regarding the correct measure of damages”).

                                  20          Defendants do not dispute PPFA’s theoretical entitlement to nominal damages, but say

                                  21   they should not be able to seek them “in light of their repeated failure to demonstrate how

                                  22   Defendant breached any contractual obligations.” As discussed above, that assertion is not true.

                                  23   See supra. Even if plaintiffs’ damages might be found by the jury or on post-trial motions to be

                                  24   too vague or speculative, nominal damages are still available and have been adequately supported

                                  25

                                  26   Renier, No. C 06 404 JLR, 2006 WL 3337368, at *7 (W.D. Wash. Nov. 16, 2008) (no state action
                                       from attempt to enforce settlement agreement limiting picketing).
                                  27   35
                                          As noted above, defendants’ reliance on the testimony of plaintiffs’ lay witnesses who, when
                                  28   asked about whether various plaintiffs’ damages “resulted from the publication of the videos,”
                                       linked some of plaintiffs’ damages to “the videos” is not persuasive.
                                                                                        39
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                                   1   on this record. See, e.g., Klayman v. Judicial Watch, Inc., 255 F. Supp. 3d 161, 167 (D.D.C. 2017)

                                   2   (“If the plaintiff establishes breach of contract, but . . . proof of damages is vague or speculative,

                                   3   then the party is entitled to no more than nominal damages.”) (internal quotations omitted).36

                                   4                          d.      Lopez, Rhomberg, and Newman
                                   5          As noted, Daleiden and BioMax are liable for breach of contract. CMP did not move for

                                   6   summary judgment on the ground that none of the contracts were signed on its behalf, and

                                   7   plaintiffs simply assert that CMP is directly liable for each of the breach claims. It is not clear

                                   8   under what theory plaintiffs contend that CMP is liable, but I assume it is on an alter ego theory as

                                   9   the “parent” of non-existent BioMax and as the entity through which costs for the project were

                                  10   paid. However, because plaintiffs did not fully engage on this issue with respect to CMP on this

                                  11   or the other breach claims, plaintiffs are not entitled to summary judgment against CMP.

                                  12          Lopez specifically moves for summary judgment, arguing that he cannot be bound to any
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                                  13   PPFA contracts because he never signed one and that he cannot be considered the alter ego of

                                  14   BioMax. Lopez Oppo. at 8-9. Plaintiffs respond that the PPFA EAs covered and bound

                                  15   “employees” and “agents” of the Exhibitors, and therefore Lopez is bound as the agent of BioMax.

                                  16   However, plaintiffs do not cite any cases that could hold Lopez individually liable (as opposed to

                                  17   the person or entity actually signing the contract, here Daleiden as BioMax) even if he was

                                  18   considered an employee, agent, or contractor of signatory BioMax.37 In that light on this record

                                  19
                                       36
                                  20     Merritt separately argues that she cannot be liable for any breach as to PPFA because she did
                                       not sign any of the EAs on behalf of BioMax, and civil conspiracy cannot be used as a hook for
                                  21   breach of contact claims. Plaintiffs admit that Merritt cannot be liable for breach of the PPFA
                                       exhibitor agreements. Pls. Reply MSJ at 8 n.9.
                                  22   37
                                          At the hearing, plaintiffs identified Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1120 (E.D.
                                  23   Cal. 2012) as supportive authority. There, the court recognized a line of California authority
                                       “holding non-signatories may be bound by the terms of an agreement if they are agents of a
                                  24   signatory.” Id. at 1120. In Sanchez, the individual defendants were agents of the city of Fresno
                                       and were liable for their individual actions in violating a Settlement Agreement agreed to by
                                  25   Fresno. That context (government agents taking actions on behalf of the government) is obviously
                                       different than here. The Sanchez court, itself, relied solely on Rowe v. Exline, 153 Cal.App.4th
                                  26   1276, 1284 (2007), where the California Court of Appeal held, in a “matter of first impression,”
                                       that individual corporate directors “who were not signatories to arbitration agreement but were
                                  27   sued as alter egos of corporation, were entitled to compel arbitration of breach of contract claim.”
                                       Id. at 1284-85; see also id. (discussing other cases allowing agents of corporations to enforce
                                  28   arbitration agreements). And at the hearing plaintiffs cited an arbitration case from Texas, binding
                                       an adult child who brought a personal injury action to an arbitration agreement signed by the
                                                                                          40
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                                   1   and given plaintiffs’ failure to provide apposite case law, Lopez’s motion for summary judgment

                                   2   regarding his liability for this claim is GRANTED.

                                   3           Finally, plaintiffs expressly assert that Rhomberg and Newman are liable for breach of

                                   4   contract as “alter egos” of BioMax, given their roles with CMP. Pls. MSJ at25 n.24; see also id. at

                                   5   16 n.15 (citing alter ego cases). There are two problems. First, plaintiffs never identified

                                   6   Rhomberg and Newman as defendants on this claim. As a result, they did not affirmatively move

                                   7   for summary judgment on it; they argue that allowing plaintiffs to pursue this claim against them

                                   8   individually would be prejudicial. Second, plaintiffs almost wholly fail to engage with any case

                                   9   law addressing alter ego liability and fail to offer the facts they have uncovered with respect to

                                  10   these defendants to support their alter ego theory. See Pls. Oppo. MSJ at 43-44 (asserting CMP is

                                  11   alter ego of BioMax); Pls MSJ at 16 n.15 & 25 n.24.

                                  12           The sum of plaintiffs’ alter ego showing as to Rhomberg and Newman is their assertion
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                                  13   that CMP, as the parent of a company formed solely for a fraudulent purpose, is liable as the alter

                                  14   ego of BioMax. They contend that Rhomberg and Newman, as directors of CMP, are directly

                                  15   liable for the breaches (and, as discussed below, trespasses) committed by BioMax and the other

                                  16   individual defendants. Because CMP was established to “perpetuate a fraud, circumvent a statute,

                                  17   or accomplish some other wrongful or inequitable purpose,” the corporation’s acts are deemed “to

                                  18   be those of the persons or organizations actually controlling the corporation.” Troyk v. Farmers

                                  19   Group, Inc., 171 Cal. App. 4th 1305, 1341 (Cal. App. 4th Dist. 2009) (citing Sonora Diamond

                                  20   Corp. v. Superior Court, 83 Cal.App.4th 523, 538 (2000)).

                                  21           Plaintiffs fail to address the multi-factor test required to establish alter ego liability. They

                                  22   also fail to acknowledge my determination in the related NAF v. CMP case, Case No. 15-cv-3522,

                                  23   that NAF’s allegations of “alter ego” liability against Newman were insufficient. NAF argued for

                                  24   alter ego liability, as plaintiffs assert here, that where a corporation is used to “evade the law” the

                                  25

                                  26
                                       parent/homeowners. In re Weekley Homes, L.P., 180 S.W.3d 127 (Tex. 2005). These arbitration
                                  27   agreement cases offer little persuasive analysis for this situation, where plaintiffs seek to bind
                                       employee/contractors to agreements signed by their purported employers. The result would be
                                  28   different if plaintiffs asserted a sufficient alter ego theory of liability but, as noted, they no longer
                                       pursue that theory as to Merritt or Lopez.
                                                                                            41
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                                   1   fiction of corporate separateness can be pierced to hold the individual liable. See, e.g., Say & Say,

                                   2   Inc. v. Ebershoff, 20 Cal. App. 4th 1759, 1768 (Cal. App. 2d Dist. 1993) (recognizing under

                                   3   California law two general requirements necessary to pierce the corporate veil: (1) there is unity of

                                   4   interest and ownership such that the separate personalities of the corporation and the individual no

                                   5   longer exist and (2) that, if the acts are treated as those of the corporation alone, an inequitable

                                   6   result will follow).38 In my November 2018 Order, when I addressed whether NAF had

                                   7   adequately pleaded its breach of contract claim against Newman as the “alter ego” of CMP as the

                                   8   “alter ego” of BioMax, I noted the complexity that neither Newman nor CMP signed any of the

                                   9   contracts at issue while BioMax and Daleiden and the other co-conspirators did, using

                                  10   pseudonyms. November 2018 Order at 24. I also noted that there were no allegations that

                                  11   Newman was an officer of BioMax (the entity that did enter into the contracts), although there

                                  12   were allegations that Newman was responsible with Daleiden for creating, setting up, and
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                                  13   directing the activities of BioMax. Id. Given the lack of allegations regarding Newman’s role

                                  14   with BioMax and the absence of any apposite cases (permitting what would be in essence a

                                  15   finding of two-level alter ego), I dismissed the breach of contract-alter ego theory as to Newman,

                                  16   but allowed the breach of contract direct liability claim to proceed under an agency theory of

                                  17   direct liability. Id. at 25.

                                  18           Plaintiffs ignore the case law, my prior analysis in the related NAF case, and any facts

                                  19   regarding how liability flows up from BioMax through CMP and then to CMP officers Rhomberg

                                  20   and Newman. Plaintiffs have not done enough to secure summary judgment against Rhomberg

                                  21   and Newman on this (or the other) breach claims. That, and because neither of these defendants

                                  22   was named in any of the breach claims, not only precludes plaintiffs’ motion for summary

                                  23

                                  24

                                  25
                                       38
                                          On “unity of interest,” courts consider whether there is evidence of commingling of funds or
                                       other assets, the holding out by one entity that it is liable for the debts of the other, identical
                                  26   equitable ownership of the entities, use of the same offices and employees, use of one as a mere
                                       shell or conduit for the affairs of the other, inadequate capitalization, disregard of corporate
                                  27   formalities, and identical directors and officers. See Stewart v. Screen Gems-EMI Music, Inc., 81
                                       F. Supp. 3d 938, 954 (N.D. Cal. 2015) (internal quotation omitted). As to “inequity,” courts look
                                  28   to whether defendant’s use of the corporate form would be inequitable, fraudulent, unjust or
                                       otherwise used in bad faith. Id. at 956.
                                                                                           42
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                                   1   judgment but requires me to hold that this claim cannot be asserted against either of them.39

                                   2          Defendants’ motion for summary judgment as to Count 4 and PPFA’s contracts is

                                   3   DENIED, except as to Merritt, Lopez, Rhomberg, and Newman. Plaintiffs’ motion for partial

                                   4   summary judgment on liability as to BioMax and Daleiden for breach and nominal damages under

                                   5   this claim is GRANTED. Whether CMP can be held liable for these breaches under the alter ego

                                   6   theory will be determined at trial. The amount, if any, of actual damages available will also be

                                   7   determined at trial.

                                   8                          Breach of NAF Contracts (Count 5)
                                   9          This breach claim is brought by PPFA, PPNC, PPPSW, PPMM, PPOSBC, and

                                  10   PPGC/PPCFC as alleged third-party beneficiaries under NAF’s Exhibitor Agreements (NAF EAs)

                                  11   and the required NAF non-disclosure agreements (NAF NDAs) for NAF’s February 2014 and

                                  12   March 2015 conferences. Defendants move for summary judgment, challenging these plaintiffs’
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                                  13   standing as third-party beneficiaries, and arguing that there was lack of consideration for the

                                  14   separate NAF NDAs, the NAF agreements are void for vagueness, there is a lack of evidence that

                                  15   defendants breached the NAF EAs or NAF NDAs, and there is a lack of recoverable damages

                                  16   flowing from any breach. Plaintiffs do not move for partial summary judgment on this breach

                                  17   claim, presumably because they concede that disputes of material fact exist.

                                  18          Daleiden signed the NAF EAs in February 2014 and March 2015, a few weeks before the

                                  19   California and then the Maryland NAF conferences. Sterk Decl. Ex. 31; Daleiden Depo. II at

                                  20   87:7-24, 88:20-89:16. This claim is also based on the NAF NDAs that Daleiden, Merritt, and

                                  21   Baxter allegedly signed as “Sarkis,” “Tennenbaum,” and “Allen” prior to attending the 2014

                                  22   Meeting and that Daleiden, Merritt, and Lopez allegedly signed prior to attending the 2015

                                  23   meeting. The NDAs contain a provision prohibiting videotaping or recording of “meetings or

                                  24   discussions” at the conferences. NAF NDA (2015), Sterk Decl. Ex. 40. The NAF contracts do

                                  25   not contain choice of law provisions, and therefore the parties agree that the law of the jurisdiction

                                  26
                                  27   39
                                         Nor can Rhomberg or Newman be held indirectly liable for the breaches of contract under the
                                  28   Conspiracy cause of action (Count III) discussed below. Plaintiffs admit their conspiracy claim is
                                       grounded in defendants’ fraudulent conduct underlying their tort claims.
                                                                                       43
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                                   1   where each contract was performed (California and Maryland) applies.

                                   2                          a.      Third Party Beneficiary Status
                                   3           Under California law, a “contract, made expressly for the benefit of a third person, may be

                                   4   enforced by him at any time before the parties thereto rescind it.” Cal. Civ. Code § 1559.

                                   5   Whether a third party is an intended beneficiary or merely an incidental beneficiary to the contract

                                   6   involves construction of the parties’ intent, gleaned from reading the contract as a whole in light of

                                   7   the circumstances under which it was entered. Jones v. Aetna Cas. & Sur. Co., 26 Cal. App. 4th

                                   8   1717, 1725 (1994); see also Spinks v. Equity Residential Briarwood Apartments, 171 Cal. App.

                                   9   4th 1004, 1023 (2009) (“Ultimately, the determination turns on the manifestation of intent to

                                  10   confer a benefit on the third party.”); Northstar Fin. Advisors, Inc. v. Schwab Investments, 781 F.

                                  11   Supp. 2d 926, 942 (N.D. Cal. 2011) (“Under California law, a contract must be clear in its

                                  12   intention to benefit a third party in order for that party to establish beneficiary status.” (emphasis
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                                  13   in original)).

                                  14           Defendants argue, first, that plaintiffs, as attendees at the conferences, could not have been

                                  15   intended beneficiaries to those contacts because the specific conference participants (the actual

                                  16   people who would, in fact, be attending) were “unknown” to both defendants and each other.

                                  17   Therefore, “omitting” those very people as express beneficiaries from the express language of the

                                  18   contract would be “unnatural.” Defendants also contend that there is no evidence in the language

                                  19   of the NAF EA that PPFA or anyone else was an intended beneficiary because the NAF EA

                                  20   discusses only NAF and does not imply “benefits” to anyone else. Finally, defendants argue that

                                  21   the NAF NDA has no language conveying an intent to benefit attendees (as opposed to NAF

                                  22   itself) much less the employers or associations of those attendees.

                                  23           Reviewing these same contracts on defendants’ motion to dismiss, I concluded that the

                                  24   “intent of NAF to benefit plaintiffs is plausibly pleaded and supported facially by the agreements

                                  25   at issue,” and that plaintiffs could plausibly be “third party beneficiaries [because] they are

                                  26   included within the class of ‘people’ who were required to sign and abide by, and as a result

                                  27   receive protection from, the NAF confidentiality agreements.” Sept. 2016 Order at 24.

                                  28           Defendants have not pointed to any unconsidered legal arguments or undisputed evidence
                                                                                         44
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                                   1   that would cause me to reconsider my plausibility conclusion based on the contractual language

                                   2   itself. Indeed, that conclusion is only strengthened if I look to more recently uncovered extrinsic

                                   3   evidence. Software Design & Application, Ltd. v. Price Waterhouse, 49 Cal. App. 4th 464, 470

                                   4   (Cal. App. 1st Dist. 1996) (noting even if a contract is integrated “extrinsic evidence is admissible

                                   5   [] where relevant to prove a meaning to which the language of the instrument is reasonably

                                   6   susceptible”); see also Deposition of Nichelle Davis at 233:23–234:3 (Mayo MSJ Opp. Decl. Ex.

                                   7   39) (“Davis Depo.”) (noting the purpose of the NAF confidentiality agreements was to “protect all

                                   8   members and attendees at the conference”); 240:25–241:5 (purpose was to ensure confidentiality).

                                   9   However, because intent is generally a question of fact and plaintiffs did not move on this claim, it

                                  10   goes to the jury for final resolution.

                                  11           Finally, while defendants may not have known each Planned Parenthood-affiliated entity

                                  12   and staff member who would be in attendance, defendants cite no case law showing that level of
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                                  13   specific knowledge is a requirement for intent and third-party beneficiary status. In addition, there

                                  14   is ample evidence that defendants knew some of them would be; indeed defendants’ own

                                  15   documents show their intent to target plaintiffs and plaintiffs’ staff at the NAF conferences. See,

                                  16   e.g., Sterk MSJ Decl. Ex. 16 (Roadmap for Project Release, “We will exhibit at the NAF Annual

                                  17   Meeting in Baltimore from April 17 to 21 . . . This will be our last opportunity to network with

                                  18   new targets of interest, and to communicate in person with high-level PP national officials.”).

                                  19           Defendants dispute the meaning and implication of this testimony. Their position confirms

                                  20   the material facts in dispute concerning their intent and knowledge. Summary judgment is not

                                  21   warranted on the third-party beneficiary issue.

                                  22                           b.      Consideration
                                  23           Defendants argue that the NAF NDA lacks separate consideration because, in their view,

                                  24   consideration to access the conference as Exhibitors was secured by signing by the EA only. Once

                                  25   the EA was signed for each conference, defendants reason that they were required to be given

                                  26   access to each conference and, therefore, that no separate “consideration” was given for the later-

                                  27   signed NDA. Defendants point to language in the EA that when the EA was “countersigned by

                                  28   NAF, this serves as a contract for exhibit space and the following [Exhibitor Agreement] are
                                                                                         45
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                                   1   expressly incorporated here.” They also note that the exhibit fee was required to be paid at the

                                   2   time the EA was submitted and was “non-refundable” so that could not act as consideration for the

                                   3   subsequently required NDA. Once the EA was signed and the exhibit fee paid, according to

                                   4   defendants, NAF had promised defendants entrance as an Exhibitor. Nothing else was

                                   5   communicated to them until they arrived on-site to register and enter and were forced to sign the

                                   6   NDAs.

                                   7           Defendants made the same argument in opposing NAF’s motion for a preliminary

                                   8   injunction in the related NAF case, 15-3522. When considering it, albeit on a more limited

                                   9   evidentiary record, I concluded, “Nothing in the language of the EAs or [NDAs], or the other facts

                                  10   in the record, support defendants’ argument that upon signing the EAs, NAF had the legal

                                  11   obligation to permit Daleiden’s group access to the meetings without further requirement.”

                                  12   February 2016 Order in Case No. 15-3522, Dkt. No. 354.40
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                                  13           Defendants do not identify any other new, materially different facts to support their lack of

                                  14   consideration argument except their own testimony that once the registration fee was paid and EA

                                  15   signed, they expected they would be admitted. Daleiden MSJ Decl. ¶¶104-107.41 However, to the

                                  16   extent that defendants’ subjective intent is relevant to consideration, that points only to disputes of

                                  17   fact for resolution by the jury.42

                                  18           In Reply, defendants raise one new argument: that the NAF agreements fail “due to fraud

                                  19   in the inception/execution” because NAF hid the need to sign the NDA from defendants until they

                                  20   arrived at the conferences. As an initial matter, this would apply (if at all) only to the 2014 NDA.

                                  21   But defendants cite no evidence that NAF intended a fraud or intended to hide the requirement of

                                  22   the NDA to coerce exhibitors into paying their fees and then turn them away if they did not sign

                                  23

                                  24   40
                                          Evidence submitted by plaintiffs on these motions establish that NAF required an NDA for all
                                  25   attendees. Davis Depo. at 186:6 - 187:12.
                                       41
                                  26     Plaintiffs object to paragraph 107 about the scope and coverage of the NAF NDAs as improper
                                       lay opinion/conclusion of law. That objection is OVERRULED as to consideration.
                                  27   42
                                         If defendants’ subjective expectations about admission are relevant, they apply at most to the
                                  28   2014 NAF conference. They could not have had a reasonable expectation that they would be
                                       admitted in 2015 without a BioMax representative signing another NDA.
                                                                                       46
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                                   1   the NDAs. Instead, considering the language of the EAs and other registration forms, as well as

                                   2   the context of the conferences themselves and the expectations of participants (the discussion of

                                   3   sensitive aspects of their abortion practices),43 defendants’ contention that they were fraudulently

                                   4   tricked into signing an NDA so they could enter to perpetrate their breach (and fraud) is meritless.

                                   5            Defendants’ lack of consideration arguments fail to support summary judgment on this

                                   6   claim.

                                   7                           c.     Void for Vagueness
                                   8            Defendants separately argue that the EA is void for vagueness because the EAs do not

                                   9   define the term “confidential information.” They admit that the EAs obligate exhibitors to hold in

                                  10   trust and confidence “any confidential information received in the course of exhibiting at the NAF

                                  11   Annual Meeting and [to] agree not to reproduce or disclose confidential information.” Minow

                                  12   Depo. Exs. 1922, 1923. But they assert that because there is no definition of the boundaries of
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                                  13   that confidential information, the EAs could be construed to cover even mundane and publicly

                                  14   known information making them impermissibly vague and overbroad.

                                  15            I rejected similar arguments at the preliminary injunction stage in the related NAF case.

                                  16   February 2016 Order at 23-25. On this round of motions, defendants have not shown that the EAs

                                  17   (or NDAs) are so vague that a court cannot appropriately enforce them (or the parties cannot

                                  18   understand them) or that they have been enforced in a way that makes their application to

                                  19   defendants here unreasonable. There is no need to revisit those arguments.44

                                  20            Defendants also raise a few evidentiary-based arguments to argue that NAF’s own actions

                                  21   indicate that the information sought and secured by defendants at the NAF conference was not

                                  22
                                       43
                                  23        See also Davis Depo. at 233:23–234:3; 240:25–241:5.
                                       44
                                  24     On these motions, plaintiffs identify the NAF provisions in the EA and NDA that they argue
                                       adequately define what conduct is prohibited and what information is confidential. They note that
                                  25   cases require that “[t]o be enforceable, a promise must be definite enough that a court can
                                       determine the scope of the duty and the limits of performance must be sufficiently defined to
                                  26   provide a rational basis for the assessment of damages.” Ladas v. California State Auto. Assn., 19
                                       Cal. App. 4th 761, 770 (Cal. App. 1st Dist. 1993). On this second consideration of the same
                                  27   overbreadth arguments, defendants point to no cases invalidating broad, but defined, non-
                                       disclosure agreements like the ones at issue here. And even if the agreement could be considered
                                  28   overbroad in some respects, as noted in my previous Order, California law allows courts to
                                       reasonably interpret the terms.
                                                                                        47
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                                   1   confidential and that the EAs and NDAs should not be enforced against them. They claim that

                                   2   NAF allowed some individuals to access the conferences without personally signing an NDA

                                   3   because others in the group had signed it. Michael Decl., Ex. 57 (noting production of only a

                                   4   limited number of NDAs). In addition, they contend that because NAF only cursorily investigated

                                   5   new exhibitors by reviewing a company’s website and failed to conduct any further investigation

                                   6   into companies who wanted to exhibit at their conferences, vetting has been inconsistent and these

                                   7   NAF agreements should, therefore, not be enforced against defendants. Plaintiffs dispute the

                                   8   extent of non-enforcement and the efficacy of vetting new vendors or exhibitors; the record does

                                   9   not support summary judgment in defendants’ favor.

                                  10                         d.      Breach
                                  11          BioMax also argues on behalf of defendants that it (presumably Daleiden) reasonably

                                  12   understood that the “confidential information” covered by the EAs and NDAs was limited to trade
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                                  13   secret and/or proprietary information shared at the conference, and did not include the type of

                                  14   information secured by defendants for the purpose of the Project’s “collection of opinions,

                                  15   statistical data, and criminal investigation.” Daleiden Decl., ¶ 108. Defendants contend that at

                                  16   most the NAF NDA prohibited the dissemination of trade secret information and plaintiffs cannot

                                  17   prove (and do not contend) that any trade secret information was published in the HCP videos.

                                  18          There are a number of weaknesses with this argument. First, defendants’ pinched

                                  19   interpretation of the NAF EAs and NDAs is not accurate. The NDAs prevented attendees from,

                                  20   for example, making video, audio, or other recordings of meetings or discussions. Sterk Decl. Ex.

                                  21   40 ¶ 1. Defendants do not dispute that their conduct violated that provision.

                                  22          Second, the broader provisions in the EAs and NDAs protect against release of essentially

                                  23   all information learned at the conference, absent agreement of NAF. As discussed, these

                                  24   provisions are not problematic when reasonably construed by a court to cover confidential or

                                  25   sensitive information but not publicly known mundane information. What is a reasonable

                                  26   construction here depends on the context of the industry and claims at issue. See, e.g., Retail

                                  27   Ventures, Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 691 F.3d 821, 834 (6th Cir. 2012)

                                  28   (noting that “confidential information of any kind” is “most certainly general and should be
                                                                                        48
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                                   1   interpreted as part of the sequence to refer to “other secret information of Plaintiffs which involves

                                   2   the manner in which the business is operated”).45

                                   3          Finally, Paragraph 15 of the EAs obligates exhibitors to “identify, display, and/or represent

                                   4   their businesses, products, and/or services truthfully, accurately, and consistently with the

                                   5   information provided in the Application.” Sterk Decl. Ex. 31 ¶ 15. Defendants argue that the

                                   6   terms “truthfully” and “accurately” are modified by the clause “with the information provided in

                                   7   the Application,” suggesting that any representations regarding defendants’ identity or BioMax at

                                   8   the conferences need only mirror the misrepresentations listed on the exhibitor application forms.

                                   9   According to Daleiden, this is exactly what BioMax and he understood those terms to mean.

                                  10   Daleiden MSJ Decl. ¶108. That subjective interpretation is simply not reasonable as a matter of

                                  11   law, given the industry context and the reason for these contracts. Interpreting “with the

                                  12   information provided in the Application” as modifying only “consistently” is the reasonable,
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                                  13   objective interpretation. NAF presumably relied on the information provided in the Application to

                                  14   allow Exhibitors to exhibit their products and services. More fundamentally, Daleiden’s

                                  15   subjective intent is legally irrelevant. Winet v. Price, 4 Cal. App. 4th 1159, 1166-67 & n. 3 (Cal.

                                  16   App. 4th Dist. 1992) (“[E]vidence of the undisclosed subjective intent of the parties is irrelevant to

                                  17   determining the meaning of contractual language.”).46

                                  18          Defendants are not entitled to summary judgment on breach.

                                  19                          e.      Damages
                                  20          Defendants repeat their argument that the damages being sought by plaintiffs are barred by

                                  21   the First Amendment as publication damages. I addressed those arguments above. Defendants

                                  22   also argue that no damages could arise after the expiration of the NAF contracts (which according

                                  23   to defendants occurred at the end of the conference), and any other damages are barred by the lack

                                  24

                                  25   45
                                         Dowell v. Biosense Webster, Inc., 179 Cal. App. 4th 564, 575–76 (Cal. App. 2d Dist. 2009),
                                  26   where the court limited the non-compete agreement to cover only trade secret information is not
                                       helpful because it addressed California’s strong policy in favor of employee mobility and strict
                                  27   construction of non-compete agreements codified in Cal. Bus. & Prof. Code §16600.

                                  28
                                       46
                                         Plaintiffs object to paragraph 108 and Daleiden’s subjective intent as improper lay opinion and
                                       conclusion of law. That objection, based on contract interpretation, is SUSTAINED.
                                                                                       49
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                                   1   of proximate causation flowing from breach of the NAF contracts.

                                   2          As an initial matter, defendants do not dispute that nominal damages are available under

                                   3   both California and Maryland law. Plaintiffs also assert that their damages from being recorded at

                                   4   NAF’s conferences – in violation of various provisions of the EAs and NDAs – led to other

                                   5   damages, including statutory damages for the illegal recordings under Maryland and California

                                   6   law. See, e.g., Sweet v. Johnson, 169 Cal. App. 2d 630, 632 (Cal. App. 3d Dist. 1959) (“A

                                   7   plaintiff is entitled to recover nominal damages for the breach of a contract, despite inability to

                                   8   show that actual damage was inflicted upon him.”).

                                   9          Further, defendants’ contention that any obligations under the NAF agreements terminated

                                  10   at the end of each conference relies only on the contracts’ lack of an express duration statement

                                  11   and on NAF’s requirement that exhibitors and attendees sign the same EA and same NDA year

                                  12   after year, conference after conference. Neither case law nor language from the contracts at issue
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                                  13   supports these arguments. As to the lack of an express termination date, that reasonably suggests

                                  14   only that the agreements exist beyond the duration of the conferences. In addition, because there

                                  15   were breaches both within the duration of the conferences and, for the NDA, following the

                                  16   conference, defendants’ unsupported argument fails. Finally, the reasonable implication from the

                                  17   fact that new EA and NDAs were required each year is that new information would be disclosed at

                                  18   each subsequent conference, hence the need for newly signed EAs and NDAs. The proximate

                                  19   cause arguments fail.

                                  20          Defendants are not entitled to summary judgment for this claim on damages. I note that

                                  21   plaintiffs argue with respect to the breach of contract claims based on NAF’s NDAs that the

                                  22   damages analysis described in Section A above should not apply because defendants expressly

                                  23   waived their First Amendment rights by knowingly, voluntarily, and intelligently agreeing to the

                                  24   NDAs. As this issue was not adequately addressed or briefed on these motions, I do not determine

                                  25   it in this Order. It should be raised in a motion in limine prior to trial.

                                  26                           f.     Merritt
                                  27          Finally, Merritt argues that she cannot be liable for any breach as to the NAF contracts

                                  28   because, as with the PPFA EAs, she did not personally sign them; Daleiden signed the
                                                                                         50
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                                   1   “Tennenbaum” name onto the NAF EAs. While Merritt is correct as to the EAs, there is evidence

                                   2   – from Merritt’s own recordings – that she personally signed at least the NDA that allowed her

                                   3   entrance into the 2014 NAF conference. Mayo MSJ Oppo. Decl. Ex. 41 (Merritt Depo. Ex. 417),

                                   4   Ex. 42 (audio file).47 The breach claim with respect to that NAF NDA can proceed against

                                   5   Merritt.

                                   6          More broadly, plaintiffs contend that because the NAF agreements by their own terms

                                   7   apply to the “officers, employees, and agents” of Exhibitors, Merritt remains on the hook for all

                                   8   NAF breaches. But, as with Lopez and Count 4, plaintiffs cite no case law that would hold anyone

                                   9   other than the signatories (BioMax or Daleiden) liable for breach of the EAs or NDAs absent an

                                  10   exception to the general rule that only signatories are responsible for breaches of contract. Merritt

                                  11   is a defendant only for purposes of the NDA that she signed.48

                                  12          Defendants’ motion for summary judgment on the breach of the NAF agreements is
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                                  13   DENIED.

                                  14                          Breach PPCG/PPCFC Contract (Count 15)
                                  15          PPCG/PPCFC brings this claim alleging a breach of the Non-Disclosure Agreement

                                  16   (PPCG NDA) Daleiden signed (using Tennenbaum’s signature) to gain access to the

                                  17   PPFC/PPCFC facilities in Houston. Both sides move for summary judgment on this claim, with

                                  18   plaintiffs reserving for trial the issue of the amount of damages exceeding nominal damages.

                                  19   Plaintiffs argue that defendants Daleiden, Merritt, CMP, and BioMax breached the PPGC NDA by

                                  20   recording for the purpose of disclosing PPGC/PPCFC’s confidential information and then

                                  21   disclosing information by posting those recordings as part of the HCP.

                                  22          The PPGC NDA provides, “[A]ll information disclosed by [PPCG] to the Recipient

                                  23   [BioMax] shall be deemed to be ‘Confidential Information.’ In particular, ‘Confidential

                                  24

                                  25   47
                                         The facts that Merritt testified she had “no recollection” of signing it during her deposition, and
                                  26   that this recording is audio only and (according to Merritt) “muffled,” raise, at most, a dispute of
                                       material fact.
                                  27   48
                                         Somewhat similarly, Lopez claims that he did not violate the 2015 NAF NDA because he did
                                  28   not “publish” anything and simply turned over all of his recordings to Daleiden. However, the
                                       NDAs prohibited recording, which Lopez indisputably did.
                                                                                      51
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                                   1   Information’ shall be deemed to include (i) all written information of [PPCG], and (ii) all oral

                                   2   information of [PPCG], which in either case is identified at the time of disclosure as being of a

                                   3   confidential or proprietary nature or is reasonably understood by the Recipient to be confidential

                                   4   under the circumstances of the disclosure.” Sterk Decl., Ex. 54 (PPCG NDA, Dkt. No. 607-6]) ¶

                                   5   1. The PPGC NDA clarified that “[t]he term ‘confidential Information’ shall not be deemed to

                                   6   include information that (a) is or becomes a part of the public domain through no act or omission

                                   7   of the Recipient; (b) is lawfully disclosed to the Recipient by a third party without restriction on

                                   8   disclosure; or (c) is independently developed by the Recipient without breach of this Agreement.”

                                   9   Id. ¶ 2. The NDA restricted BioMax’s use of the Confidential Information to “evaluate, negotiate

                                  10   and consummate” scientific research programs and provided BioMax “shall not disclose to any

                                  11   third party or use any Confidential Information for any other purpose.” Id. ¶ 3.

                                  12          The PPCG NDA required that BioMax “not disclose or permit its Representatives [defined
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                                  13   as employees, agents, consultants and others] to disclose any Confidential Information,” other than

                                  14   to help consummate the research programs. Id. ¶ 5. Finally, the PPCG NDA provided that any

                                  15   breach could cause an “irreparable injury” and entitle PPCG to equitable remedies. Id. ¶ 10.

                                  16                          a.      Breach
                                  17          Defendants argue that there is no evidence of a breach of the PPCG NDA because

                                  18   plaintiffs never identified to defendants “at the time of disclosure or otherwise” what specific oral

                                  19   information plaintiffs considered to be confidential, and the NDA covers only release of

                                  20   designated “confidential information.” In addition to the failure of PPCG to contemporaneously

                                  21   identify what information it considered confidential, defendants contend that PPCG has failed to

                                  22   show a breach because plaintiffs have not identified any confidential information that was

                                  23   contained in the recordings from the PPCG published by defendants.

                                  24          Plaintiffs rely on the first sentence from Paragraph 1 of the PPGC NDA to argue that all

                                  25   information disclosed is “Confidential Information,” despite the “in particular language” in

                                  26   Paragraph 1 further defining what is covered. Under that broader interpretation, plaintiffs argue

                                  27   that breach cannot be disputed because the HCP videos heavily featured Farrell and Tram Nguyen

                                  28   from PPCG/PPCFC.
                                                                                         52
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                                   1           Under Texas law, which governs the PPCG NDA, the written contract is construed “to

                                   2   determine the parties’ intent as expressed in the writing, not the parties’ present interpretation,”

                                   3   and terms are given “their plain, ordinary, and generally accepted meaning unless the contract

                                   4   shows that the parties used them in a technical or different sense.” In re Mktg. Inv’rs Corp., 80

                                   5   S.W.3d 44, 48 (Tex. App. 1998) (internal citations omitted). Unambiguous contracts are

                                   6   construed as a matter of law, and courts should not “rewrite contracts to insert provisions parties

                                   7   could have included or imply restraints for which they did not bargain.” Id.

                                   8           Here, I find that the first “all information” sentence of the NDA is expressly modified and

                                   9   further defined by the second “in particular” sentence. Therefore, in order to be “Confidential

                                  10   Information” protected by the PPCG NDA, the information must have been identified as

                                  11   confidential by a PPGC representative at the time of disclosure or be information reasonably

                                  12   understood – under an objective standard – as “confidential under the circumstances of the
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                                  13   disclosure.” There is no dispute that no one at PPCG identified any particular information

                                  14   disclosed as “confidential.” However, given the context of the disclosures here (made only after

                                  15   the NDA was executed, “mostly behind” closed doors, in a secure environment), and given the

                                  16   context of the discussion, defendants are not entitled to summary judgment of non-breach even if

                                  17   they subjectively believed the information disclosed did not qualify as confidential.49 That issue is

                                  18   for the jury.

                                  19           Finally, while defendants argue that the information disclosed on-site and at the restaurant

                                  20   in Texas “mixed personal topics with professional topics,” precluding a finding that any

                                  21   “Confidential Information” was misused by defendants contrary to the terms of the NDA (e.g.,

                                  22   was recorded and subsequently disclosed for purposes irrelevant to a scientific research program),

                                  23

                                  24

                                  25
                                       49
                                          Plaintiffs also argue that if I reject their position that all information disclosed is “Confidential
                                       Information” under the first sentence, the import of the second sentence goes to the jury because
                                  26   ambiguous contractual provisions are interpreted by the jury. See Coker v. Coker, 650 S.W.2d
                                       391, 394 (Tex. 1983) (“When a contract contains an ambiguity, the granting of a motion for
                                  27   summary judgment is improper because the interpretation of the instrument becomes a fact
                                       issue.”). I do not find that the PPGC NDA is ambiguous. I find that the second sentence clearly
                                  28   modifies and defines the first.

                                                                                          53
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                                   1   that just proves that material questions of fact remain.50 Whether information received by

                                   2   defendants during the site visit should have been “reasonably understood” by defendants to be

                                   3   “Confidential Information” covered by the NDA and whether it was used by defendants (disclosed

                                   4   through the HCP videos or otherwise) contrary to the purposes of the NDA are questions to be

                                   5   resolved by the jury.51

                                   6                             b.   PPCFC Standing
                                   7          Defendants also challenge the standing of PPCFC to assert a breach of the PPCG NDA,

                                   8   because the NDA itself does not mention PPCFC; “Disclosing Party” is defined solely as PPCG.

                                   9   See MCI Telecomm. Corp. v. Texas Utilities Elec. Co., 995 S.W.2d 647, 651 (Tex. 1999) (“A

                                  10   court will not create a third-party beneficiary contract by implication. [ ] The intention to contract

                                  11   or confer a direct benefit to a third party must be clearly and fully spelled out or enforcement by

                                  12   the third party must be denied.”).
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                                  13          Plaintiffs respond that because PPCFC’s offices are “included within” PPGC, and both

                                  14   entities’ spaces were recorded, the fact that PPCFC was separately incorporated from PPGC

                                  15   (pursuant to requirements under Texas law) should not undermine PPCFC’s standing. I disagree.

                                  16   Plaintiffs cite no supporting Texas law or point to any language in the NDA that shows PPCFC

                                  17   was a third party “clearly intended” to benefit from the NDA as required under Texas authority.

                                  18   PPCFC does not have standing to bring this breach claim.

                                  19                             c.   Merritt
                                  20          Separately, Merritt argues that she cannot be liable for any breach of the PPCG NDA

                                  21   because she did not sign it; instead it is undisputed that Daleiden signed it using the signature of

                                  22   Merritt’s fake persona Susan Tennenbaum. Plaintiffs respond that the clear terms of the NDA

                                  23   bound BioMax’s agents and employees, therefore Merritt should be bound because she purported

                                  24

                                  25   50
                                         Contrary to defendants mischaracterization, plaintiffs have identified arguably “Confidential
                                  26   Information” that defendants recorded and otherwise “used” in alleged violation of the PPGC
                                       NDA. See Pls. MSJ Reply [Dkt. No. 694] at 15 n.16. Again, whether that information qualifies as
                                  27   “Confidential Information” that was misused will be decided by the jury.
                                       51
                                  28     Plaintiffs have clarified that the PPCG NDA breach claim is not based on any information
                                       disclosed at the restaurant.
                                                                                      54
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                                   1   herself to be BioMax’s CEO during the PPGC visit. Plaintiffs, however, cite no authority, much

                                   2   less apposite authority that would hold an individual – even one purporting to be the CEO of a

                                   3   company – liable under an NDA which she did not sign. Summary judgment is GRANTED to

                                   4   Merritt on this narrow claim.52

                                   5                            d.    Damage
                                   6          Finally, defendants argue that there is no evidence of actionable damage stemming from

                                   7   the breach of the PPCG NDA because the only harms plaintiffs have identified (responses to

                                   8   threats) stem from the actions of third parties that are either barred as publication damages or for

                                   9   lack of proximate cause. However, as above, plaintiffs are entitled to nominal damages. MBM

                                  10   Fin. Corp. v. Woodlands Operating Co., L.P., 292 S.W.3d 660, 664–65 (Tex. 2009) (“we agree

                                  11   that nominal damages may be recovered for breach of contract.”). In addition, as I have noted,

                                  12   damages for security measures implemented for targeted staff (e.g., Farrell and Nguyen) are
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                                  13   actionable as linked directly to defendants’ actions targeting and recording those staff members.

                                  14   What damages are appropriate – within the boundaries I have outlined – is for the jury to decide.53

                                  15          Defendants’ motion for summary judgment on the PPCG breach claim and plaintiffs’

                                  16   motion for summary judgment are DENIED, except for the limited respect that Merritt is not

                                  17   liable for any breach.

                                  18                            Defendants’ Public Policy Defense
                                  19          Finally, plaintiffs contend that summary judgment in their favor is warranted on

                                  20   defendants’ public policy defense to each of plaintiffs’ breach of contract claims. The laws of the

                                  21   jurisdictions at issue – Florida, Colorado, Washington, DC, California, and Texas – provide that

                                  22   whether a contract is against public policy “is a question of law to be determined from the

                                  23   circumstances of the particular case.” Bovard v. Am. Horse Enterprises, Inc., 201 Cal. App. 3d

                                  24

                                  25   52
                                         As noted above, with respect to Lopez, plaintiffs’ only cases purporting to bind non-signatories
                                  26   are an inapposite line of cases arising in the context of who may compel or be bound by arbitration
                                       agreements.
                                  27   53
                                         Plaintiffs’ argument that because the NDA characterizes a violation as “irreparable injury,” they
                                  28   need not demonstrate any actual damages is not particularly persuasive, as that provision
                                       contemplates injunctive or other equitable relief like “specific performance.” PPCG NDA ¶ 10.
                                                                                         55
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                                   1   832, 838 (Cal. App. 3d Dist. 1988); Jankowiak v. Allstate Prop. & Cas. Ins. Co., 201 S.W.3d 200,

                                   2   209–10 (Tex. App. 2006) (“Whether a contract violates public policy is a question of law we

                                   3   review de novo.”); Calvert v. Mayberry, 440 P.3d 424, 429 (Colo. 2019), reh'g denied (May 20,

                                   4   2019) (“We review de novo whether a contract violates public policy.”).

                                   5          In opposition, defendants argue that summary judgment is not appropriate on this defense

                                   6   because there are material disputes of fact that I cannot resolve on the record before me. The first

                                   7   is whether defendants’ waivers of their free speech rights by signing the contracts were “knowing,

                                   8   voluntary, and intelligent.” See, e.g., Leonard v. Clark, 12 F.3d 885, 889 (9th Cir. 1993), as

                                   9   amended (Mar. 8, 1994) (“First Amendment rights may be waived upon clear and convincing

                                  10   evidence that the waiver is knowing, voluntary and intelligent.”). Defendants bear the burden of

                                  11   proof on this affirmative defense. They do not dispute that the agreements each personally signed

                                  12   were done so knowingly and voluntarily, and plaintiffs submit evidence that they were.54
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                                  13          Defendants also contend that because the NAF NDA was presented “immediately” before

                                  14   entering the conference, the “record does not establish that Defendants had enough time to

                                  15   formulate an intention to breach the NDA.” BioMax Oppo. at 13. They offer no evidence

                                  16   (through declaration or citation to deposition testimony) in support and ignore that at least the

                                  17   2015 NAF NDA was signed after defendants had a year’s warning that one was required. The

                                  18   undisputed evidence is that the defendants who signed the agreements did so knowingly and not as

                                  19   the result of coercion or ignorance, even if they subjectively believed that they would not be

                                  20   bound by them as a matter of public policy. See February 2016 Preliminary Injunction Order at 29

                                  21   (rejecting subjective intent as part of public policy defense).

                                  22          As to the “free speech” issue raised by defendants, as I noted in the Preliminary Injunction

                                  23   Order in the related NAF case, whether a contract, or more specifically a non-disclosure

                                  24   agreement, should be enforced despite a claim that enforcement would impinge on First

                                  25   Amendment rights depends on weighing “the competing public interests in determining whether to

                                  26   enforce confidentiality agreements that restrict First Amendment rights.” February 2016 Order at

                                  27
                                       54
                                  28    Sterk MSJ Decl. Ex. 40 (Lopez NAF NDA); Lopez Depo. at 224:4-10 (Mayo Decl. ISO Opp. to
                                       Anti-SLAPP Ex. 4); Sterk MSJ Decl. Ex. 31 (2014 NAF EA); Daleiden Depo. II at 86-89.
                                                                                    56
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                                   1   29 (also relying on Leonard v. Clark, 112 F.3d 885, 890 (9th Cir. 1993), as amended (Mar. 8,

                                   2   1994) (“even if a party is found to have validly waived a constitutional right, we will not enforce

                                   3   the waiver ‘if the interest in its enforcement is outweighed in the circumstances by a public policy

                                   4   harmed by enforcement of the agreement.’”) (internal quotation omitted); see also Perricone v.

                                   5   Perricone, 292 Conn. 187, 221-22 (Conn. 2009) (in weighing the public interests as to whether to

                                   6   enforce the agreement, the court observed: “The agreement does not prohibit the disclosure of

                                   7   information concerning the enforcement of laws protecting important rights, criminal behavior, the

                                   8   public health and safety or matters of great public importance, and the plaintiff is not a public

                                   9   official.”).

                                  10           Weighing the evidence at the preliminary injunction stage in the NAF case, I concluded

                                  11   that “balancing the significant interests at stake on both sides supports enforcement of the

                                  12   confidentiality agreements at this juncture.” February 2016 Order at 29. Reviewing the public
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                                  13   policy justifications asserted by both sides, I concluded:

                                  14                  The record before me demonstrates that defendants infiltrated the
                                                      NAF meetings with the intent to disregard the confidentiality
                                  15                  provisions and secretly record participants and presentations at those
                                                      meetings. Defendants also admit that only a small subset of the total
                                  16                  material gathered implicate any potential criminal wrongdoing.
                                                      Oppo. Br. at 10-14. I have reviewed those transcripts and recordings
                                  17                  and find no evidence of actual criminal wrongdoing. That defendants
                                                      did not promptly turn over those recordings to law enforcement
                                  18                  likewise belies their claim that they uncovered criminal wrongdoing,
                                                      and instead supports NAF’s contention that defendants’ goal instead
                                  19                  is to falsely portray the operations of NAF’s members through
                                                      continued release of its “curated” videos as part of its strategy to alter
                                  20                  the political landscape with respect to abortion and the public
                                                      perception of NAF’s members. I conclude that NAF has shown a
                                  21                  strong likelihood of success on its breach of contract claims against
                                                      CMP and Daleiden.           Enforcement of NAF’s confidentiality
                                  22                  provisions for purposes of continuing the injunction prohibiting
                                                      defendants from releasing the NAF materials is not against public
                                  23                  policy.
                                  24   Id. at 34-35.55 Plaintiffs contend the same result should be found here. Defendants merely

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                                       55
                                         I also noted “[a]t most, defendants might have a defense to a breach of contract claim based on
                                       production of NAF materials to law enforcement. However, the question of whether defendants
                                  27   should be excused from complying with NAF’s confidentiality agreements in order to provide
                                       NAF materials to law enforcement has not been placed directly at issue.” Id. at 34. Here,
                                  28   defendants do not make that sort of as applied challenge. But even if they did, it would not
                                       succeed because the severity of the breaches – the use of a fake company to surreptitiously record
                                                                                        57
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                                   1   characterize these findings as from a “separate case” whose findings I am free to disregard.

                                   2   BioMax Oppo. at 12.

                                   3           Instead, defendants assert that because of their subjective interpretation of the contracts

                                   4   and their individual beliefs that they would not be bound by them, there are disputes of material

                                   5   fact whether any defendant “intended” to breach them. Those arguments are based on the same

                                   6   “void” for vagueness or lack of breach arguments addressed and rejected above. More

                                   7   significantly, they have no relevance to whether public policy would excuse a breach found by the

                                   8   trier of fact.

                                   9           Defendants also argue that the agreements are “void” because their “purpose is the

                                  10   concealment of criminal activity.” BioMax Oppo. at 11. But they cite no evidence from either the

                                  11   face of the contracts or from any witness to support that purpose. Indeed, the undisputed evidence

                                  12   is that the purpose of the contracts was to protect the security of participants and the
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                                  13   confidentiality of information discussed or shared. Davis Depo. at 240:25–242:22, 249:22–

                                  14   250:14;56 Deposition of Melissa Farrell (Sterk MSJ Decl. Ex. 52) at 192:2-193:4; Declaration of

                                  15   Melissa Farrell [Dkt. No. 607-6] ¶¶ 3–4.

                                  16           Defendants next rely on cases that voided contracts as against public policy where the

                                  17   contracts on their face “directly contravened” public policy. Those cases are inapposite, as each of

                                  18   involved a contract that “directly contravened” statutory or regulatory public policy. See, e.g.,

                                  19   Jankowiak v. Allstate Prop. & Cas. Ins. Co., 201 S.W.3d 200, 209–10 (Tex. App. 2006); Bovard

                                  20   v. Am. Horse Enterprises, Inc., 201 Cal. App. 3d 832, 838 (Cal. App. 3d Dist. 1988). Here, there

                                  21   is no evidence that the contracts at issue “directly contravene” the public policy behind “the

                                  22   federal and state statutes illegalizing the sale of fetal tissue.” BioMax Oppo. at 12.

                                  23

                                  24
                                       and disclose significant amounts of footage that showed no misconduct – makes this case more
                                  25   akin to Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1062 (9th Cir. 2011),
                                       where the Ninth Circuit declined to adopt a public policy defense to invalidate an NDA based on
                                  26   plaintiff’s subsequent use of some of the materials to file a qui tam action, because any such
                                       exception “would not cover [the] conduct given her vast and indiscriminate appropriation of”
                                  27   information covered by the NDA.
                                       56
                                  28     Defendants object to lines 249:22-250:14 of the Davis deposition as irrelevant, a legal
                                       conclusion, lacking foundation, and speculation. The objections are OVERRULED.
                                                                                       58
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                                   1          Defendants then shift to a more “as applied” challenge, arguing that the public policy

                                   2   defense is relevant where the application of an agreement “results in the concealment of criminal

                                   3   activity.” BioMax Oppo. at 14–16. Defendants argue that HCP footage reveals evidence of illegal

                                   4   activity, citing the Fifth Circuit’s now depublished decision in Planned Parenthood of Greater

                                   5   Texas Fam. Plan. and Preventative Health Services, Inc v. Smith, 913 F.3d 551, 554 (5th Cir.

                                   6   2019), reh'g en banc granted sub nom. Planned Parenthood of Greater Texas Fam. Plan. and

                                   7   Preventative Health Services, Inc. v. Smith, 914 F.3d 994 (5th Cir. 2019). There, the panel upheld

                                   8   an agency decision terminating Medicare provider agreements with PPFA affiliates including

                                   9   PPCG based “largely on undercover video footage of graphic discussions with Planned

                                  10   Parenthood personnel concerning the prospective sale of liver, thymus, and neural tissue from

                                  11   fetuses aborted during the second trimester of pregnancy. The videos justified terminating the

                                  12   affiliates’ provider agreements, the agency contended, because they indicated noncompliance with
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                                  13   accepted medical and ethical standards.” Id. at 554. While that decision relied heavily on the

                                  14   preceding italicized phrase, the opinion did not indicate that the HCP videos included evidence of

                                  15   any criminal wrongdoing. Defendants also point me to the recordings of Nguyen and Farrell from

                                  16   PPCG as showing evidence of illegal activity. These excerpts were reviewed by the Hon. Donna

                                  17   M. Ryu, who concluded they did not, in fact, contain evidence of actual criminal wrongdoing

                                  18   regarding the sale or transfer of fetal tissue. Dkt. No. 441 at 7.57

                                  19          Reviewing the issue as a matter of law and based on the full record before me, I GRANT

                                  20   plaintiffs’ motion as to defendants’ public policy defense to plaintiffs’ claims of breach of

                                  21   contract. The public policy defense is not applicable as a matter of law.

                                  22          D.      Trespass (Count 6)
                                  23          Plaintiffs assert trespass claims based on three sets of intrusions: trespass claims by PPFA

                                  24   for intrusions into the hotels at two conferences in Florida and the conference in Washington, DC;

                                  25   a trespass claim by PPRM for the intrusion into their facilities in Denver, Colorado; and a trespass

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                                  27
                                       57
                                          Two of the statutes cited by defendants as evidence that Farrell admitted to “possible” illegality
                                       focus on “researcher certifications,” not requirements imposed on abortion providers. The third
                                  28   imposes obligations on attending physicians, which Farrell indisputably is not. BioMax Oppo. at
                                       16.
                                                                                        59
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                                   1   claim by PPGC/PPCFC for the intrusion into their facilities in Houston, Texas.58

                                   2           Both sides move for summary judgment on the trespass claims.59 Plaintiffs contend that

                                   3   the only question for trial is the amount of damages (in addition to nominal damages), for each

                                   4   intrusion. They argue that because damages is not an element of a trespass claim in any of the

                                   5   jurisdictions, summary judgment on liability should be entered in their favor. Defendants raise

                                   6   various legal defenses to the elements and contend that summary judgment should be entered in

                                   7   their favor.

                                   8                          PPFA
                                   9           On behalf of the defendants, Lopez argues that no defendant can be liable for trespass at

                                  10   the PPFC conferences in Washington, DC and Florida under those jurisdictions’ laws. Defendants

                                  11   contend that the trespass must “interfere” with “the owner’s possessory interest” in the property

                                  12   and that because these conferences were held at hotels, plaintiffs had no possessory interest of
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                                  13   their own to exercise and did not in fact exercise sufficient possessory interest because they could

                                  14   not exclude the hotel owners and staff. Minow Depo. 112:21-113:6–10 (“We had exclusive use of

                                  15   the spaces that we contracted and are able to arrange for our own access control in those spaces”

                                  16   but PPFA did not “have the right to exclude, you know, caterers and housekeeping staff, et

                                  17   cetera.”). In addition, because the right to possess and control must be exclusive and the hotels

                                  18   maintained various rights and placed contractual limitations on PPFA’s rights to the space (to

                                  19

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                                       58
                                          The undisputed evidence shows that: (1) Daleiden and Lopez “attended” the PPFA conference
                                       in Miami in October 2014, Daleiden MSJ Decl. ¶ 53; (2) Daleiden and Lopez “attended” the
                                  21   PPFA conference in Orlando in February 2015, Daleiden MSJ Decl. ¶ 54; (3) Daleiden and Lopez
                                       attended the PPFA conference in Washington, DC in March 2015, Declaration of Jeffrey M.
                                  22   Trissell [Dkt. No. 603-2] ¶3vii; (4) Merritt did not attend or record at any PPFA conferences in
                                       Florida or Washington, DC, Daleiden MSJ Decl. ¶ 132; (5) Daleiden and Merritt accessed the
                                  23   PPRM facilities in Denver, Colorado on April 7, 2015, Trissell Decl. ¶ 3viii; and (6) Daleiden and
                                       Merritt accessed the PPCG/PPCFC facilities in Houston, Texas on April 9, 2015, Trissell Decl.
                                  24   ¶3ix. Plaintiffs object to paragraph 3 of the Trissell Decl. as hearsay, lacking foundation, lack of
                                       personal knowledge, and improper lay opinion. However, I only rely on that paragraph to the
                                  25   extent is explains the timeline for the intrusions and which defendants were individually involved;
                                       facts not in dispute. Plaintiffs did not provide (or did not draw my attention to) a similarly helpful
                                  26   chart. The objections are OVERRULED to the limited extent of my reliance on paragraph 3. As a
                                       pretrial matter, the parties should consider preparing a joint chart based on undisputed
                                  27   facts containing this basic information.
                                       59
                                  28     The basic elements of the trespass claim are not in dispute: an intrusion upon the property of
                                       another without permission.
                                                                                       60
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                                   1   switch rooms, to approve PPFA’s uses, etc.), Lopez argues that plaintiffs did not have sufficient

                                   2   control or sufficient rights to exclude as a matter of law.60

                                   3          These is no dispute that “a recognized possessory interest is the ‘key requirement’ for a

                                   4   successful claim of trespass.” Greenpeace, Inc. v. Dow Chem. Co., 97 A.3d 1053, 1060 (D.C.

                                   5   App. 2014) (internal citation omitted). “A ‘possessory interest’ is defined as ‘[t]he present right to

                                   6   control property, including the right to exclude others, by a person who is not necessarily the

                                   7   owner.’” Id. (quoting Black’s Law Dictionary 1203 (8th ed.2004)); see also Annex Indus. Park,

                                   8   LLC v. Corner Land, LLC, 206 So. 3d 739, 741 (Fla. Dist. Ct. App. 2016) (“exclude unauthorized

                                   9   persons from interfering with that right”).

                                  10          Defendants cite no cases defining the scope of the “exclusive” right to possess and exclude

                                  11   in the context of rented space in hotels or conference facilities. Instead they rely on cases that

                                  12   recognize a distinction between the rights conferred by a lease and the rights conferred by a
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                                  13   license, identifying that a key feature of a lease is the right to exclude even the owner. See Turner

                                  14   v. Fla. State Fair Auth., 974 So. 2d 470, 473 (Fla. 2d Dist. App. 2008) (“A license does not confer

                                  15   an interest in the land but merely gives the licensee the authority to do a particular act on another’s

                                  16   land” and recognizing that a tenant under a lease “is one who has been given a possession of land

                                  17   which is ‘exclusive even of the landlord’” and a licensee “is one who has a ‘mere permission to

                                  18   use land, dominion over it remaining in the owner and no interest in or exclusive possession of it

                                  19

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                                       60
                                         For example, under the Miami hotel contract: the hotel retained the right to “reassign conference
                                       rooms”; “show” the meeting space; provide PPFA access only to “the meeting space”; require
                                  21   approval and the right to set up rigging; preclude PPFA from providing its own food, drinks, or
                                       decorations; preclude PPFA from using the premises for any purpose other than its conference;
                                  22   and refuse the right for “entertainment” it deemed incompatible with its image. Sterk Decl., Ex 3
                                       (Miami Contract). The Orlando conference hotel contract was described as one for “meeting
                                  23   room rental”; precluded PPFA from “bring[ing] any food or beverage into the function space” or
                                       removing “[f]ood and beverage . . . from the reserved function space”; and precluded PPFA from
                                  24   “us[ing] any items in the function space that create any amplified noise, smell, or visual effect
                                       other than decorations without advance notification and written approval.” Ex. 53, PPFA Depo.,
                                  25   89:13–90:24; Sterk Decl., Ex. 4 (Orlando Contract). The D.C. conference hotel contract: stated
                                       that “[s]pecific meeting rooms cannot be guaranteed and are subject to change”; required PPFA to
                                  26   guarantee that its “use of function space will not create any unreasonable disturbance to other
                                       guests or meetings”; precluded PPFA from using “smoke or fog machines, dry ice, confetti
                                  27   cannons, candles, incense” or other items “without advance approval from Hotel”; precluded
                                       PPFA from “bring[ing] alcoholic beverages into the Hotel for [the] Event”; and required “prior
                                  28   approval for [PPFA to] bring any food or non-alcoholic beverages from outside sources into [the]
                                       Hotel.” Sterk Decl., Ex. 5 at 12 (DC Contract).
                                                                                         61
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                                   1   being given’ to the occupant.”); Harnett v. Washington Harbour Condo. Unit Owners' Ass'n, 54

                                   2   A.3d 1165, 1172 n.2 (D.C. App. 2012) (discussing the distinction between leases (generally

                                   3   assignable, confers exclusive use on a tenant “against all the word, including the owner”) and

                                   4   licenses (generally not assignable, is a “privilege,” “conveys no estate or interest, and is

                                   5   revocable,” and does not confer exclusive possession)); see also Young v. Harrison, 284 F.3d 863,

                                   6   868 (8th Cir. 2002) (in context of evictions, “[m]any jurisdictions draw a distinction between a

                                   7   tenant and a hotel guest by reasoning that the tenant acquires an interest in the real estate and has

                                   8   the exclusive possession of the leased premises, whereas the guest acquires no estate and has mere

                                   9   use without the actual or exclusive possession.”). Because the contracts at issue reserve a number

                                  10   of rights to the hotels – including the right of hotel staff to be in the spaces reserved by PPFA –

                                  11   defendants contend that the required “exclusive” possessory interest for trespass cannot be

                                  12   established as a matter of law.
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                                  13          Plaintiffs similarly cite no cases arising in the context of hotels or conferences but rely on

                                  14   cases giving “tenants” or signatories to leases the right to exclude; those cases are not helpful

                                  15   because plaintiffs have not established that PPFA could be considered a tenant. Pls. Oppo. MSJ at

                                  16   34.61 In my Tentative Rulings and Procedure outline filed before the hearing, I asked plaintiffs to

                                  17   identify cases that supported their position that the hotel contracts were akin to leases, as opposed

                                  18   to licenses, or cases otherwise in support of their right to control the hotel spaces. Dkt. No. 718.

                                  19   At the hearing, plaintiffs identified Prestige Restaurants and Ent., Inc. v. Bayside Seafood Rest.,

                                  20   Inc., 09-23128-CIV, 2010 WL 680905, at *5 (S.D. Fla. Feb. 23, 2010), aff'd sub nom. Prestige

                                  21

                                  22
                                       61
                                          Plaintiffs’ cases simply recognize the rights of tenants to exclude. See Gaetan v. Weber, 729
                                       A.2d 895, 898 (D.C. 1999) (tenants have standing to sue for trespass); Coddington v. Staab, 716
                                  23   So. 2d 850, 851 (Fla. Dist. Ct. App. 1998) (“Generally, as to a lessee of real property, the proper
                                       measure of damages for trespass includes the lessee’s loss of use and enjoyment of the land.”)
                                  24   (emphasis added); see also Envtl. Processing Sys., L.C. v. FPL Farming Ltd., 457 S.W.3d 414,
                                       424 (Tex. 2015) (recognizing that an owner or “possessory interest holder” generally “has the
                                  25   right to exclude all others from use of the property”); Kelly v. Bd. of County Commissioners of
                                       Summit County, 17CA0431, 2018 WL 2436836, at *3 (Colo. App. May 31, 2018), as modified
                                  26   (June 14, 2018), cert. granted sub nom. Bd. of Assessment Appeals v. Kelly, 18SC499, 2019 WL
                                       1026366 (Colo. Mar. 4, 2019 (discussing the “traditional benefits of real property ownership,
                                  27   including the rights to exclude”); Ralphs Grocery Co. v. Victory Consultants, Inc., 17 Cal. App.
                                       5th 245, 258 (Cal. App. 4th Dist. 2017), as modified (Nov. 6, 2017) (“Generally, landowners and
                                  28   tenants have a right to exclude persons from trespassing on private property; the right to exclude
                                       persons is a fundamental aspect of private property ownership.”).
                                                                                         62
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                                   1   Restaurants and Ent., Inc. v. Bayside Seafood Restaurant, Inc., 417 Fed. Appx. 892 (11th Cir.

                                   2   2011), which itself relied on Turner, 974 So. 2d 470. In Prestige, the court determined as a matter

                                   3   of law that the contract at issue was more akin to a license to operate a nightclub on part of a

                                   4   combined nightclub-restaurant property, and not a “a right of exclusive possession or occupancy”

                                   5   that would be conferred by a lease. Prestige, 2010 WL 680905, at *5

                                   6          Plaintiffs then focus on the language of three hotel contracts at issue. Plaintiffs assert that

                                   7   the contracts gave PPFA the right to control access to the reserved spaces in the hotel and the

                                   8   “right to exclude” people from those spaces and that is sufficient. Miami Contract at 12; Orlando

                                   9   Contract at 7; DC Contract at 12. There are unique provisions in each of the contracts that

                                  10   distinguish them from mere licenses. For example, the contracts require the hotels to refrain from

                                  11   booking guest rooms or facilities space to individuals or groups with “conflicting” views to PPFA

                                  12   that PPFA believes could create a threat of harm to it or the attendees. Those provisions allow
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                                  13   PPFA to exercise a right to prior approval before the hotel can provide rooms or facility space to

                                  14   those individuals or groups. Miami Contract at ECF pg. 13 (“Other Conflicting Bookings”);

                                  15   Orlando Contract at 7 (same); DC Contract at 12 (same). Significantly, the contracts also provide

                                  16   that all hotel staff (as well as hotel agents, vendors, etc.) are bound by confidentiality agreements

                                  17   with PPFA. Id.

                                  18          After reviewing the language of the contracts and undisputed circumstances surrounding

                                  19   their performance, which is an issue of law for the court,62 I conclude that because the contracts on

                                  20   their face provide PPFA the express right to exclude (other than hotel staff and agents of the hotel

                                  21   who are allowed access by the contract but covered by contracts’ confidentiality agreements), they

                                  22   confer sufficient “possessory interest” for a trespass claim. Plaintiffs had authority under the

                                  23   contracts: (1) to exclude others from being able to book rooms or facility space at the hotels

                                  24   during the PPFA conference; (2) to restrict the hotels ability to change or reallocate rooms/spaces

                                  25   without PPFA’s approval (Orlando and Miami); (3) to prevent the hotels from “showing” the

                                  26
                                  27
                                       62
                                         See Prestige, 2010 WL 680905, at *4 (the “intention of the parties concerning whether a
                                       contract is a lease or a license is determined by an ‘objective interpretation’ of the writings and
                                  28   surrounding circumstances” and is a “a question of law”).

                                                                                         63
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                                   1   conference spaces to potential clients during PPFA sessions;63 (4) to require the contractual

                                   2   confidentiality of hotel staff who were there to provide services to PPFA and its attendees; and (5)

                                   3   during its use of the conference facilities, PPFA was allowed to restrict who could access those

                                   4   reserved areas.64 All of that undisputed evidence provides sufficient evidence of their possessory

                                   5   interest as a matter of law. That possessory interest is not undermined by the reservation of

                                   6   certain, limited rights (e.g., to approve certain vendors PPFA might want to use) to the hotels.65

                                   7                          Consent and Misrepresentation to Secure Access
                                   8            Daleiden separately argues, on behalf of all defendants, that common law trespass under

                                   9   Texas and Colorado law fails because plaintiffs “consented” to defendants’ entry. Defendants

                                  10   recognize that both jurisdictions allow trespass claims where consent may have been improperly

                                  11   induced, as alleged here. See, e.g., Landry's, Inc. v. Animal Leg. Def. Fund, 566 S.W.3d 41, 64

                                  12   (Tex. App. 2018), reh'g denied (Dec. 31, 2018) (“Consent will be negated if ‘the person
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                                  13   consenting to the conduct of another is induced to consent by a substantial mistake concerning the

                                  14   nature of the invasion of his interests or the extent of the harm to be expected from it and the

                                  15   mistake is known to the other or is induced by the other’s misrepresentation, the consent is not

                                  16   effective for the unexpected invasion or harm.’”) (quoting Restatement (Second) of Torts §

                                  17   892B(2) (1979)). But defendants attempt to avoid that rule by arguing that the mistake must be

                                  18   “substantial” and cannot result from “mistakes concerning other matters.”

                                  19            Defendants contend that the “consent” to enter by both PPGC/PPCFC and PPRM, as well

                                  20   as PFFA for the conferences, was conditioned on the representation that defendants were

                                  21   representatives from a fetal tissue procurement company when, in fact, they were journalists.

                                  22   Defendants assert that because Daleiden and Merritt’s lies to gain access to those facilities were

                                  23   “protected speech” there can be no civil liability under any jurisdictions’ laws pursuant to the

                                  24
                                       63
                                  25        Minow Depo. at 65:7-22.
                                       64
                                  26     Plaintiffs also point out that in the DC contract, PPFA is given the right to assign its rights under
                                       the contract with approval of the hotel, which is typically a term used in leases and not licenses.
                                  27   See DC Contract at 13.
                                       65
                                  28     Plaintiffs admit that Merritt is entitled to summary judgment to the limited extent of the claim
                                       for trespass based on infiltration of the three PPFA conferences. Pls. Oppo. MSJ at 40 n.27.
                                                                                         64
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                                   1   Ninth Circuit’s decision in Animal Legal Defense Fund v. Wasden, 878 F.3d 1184 (9th Cir. 2018).

                                   2          The issue before the Wasden court was different. There, the court struck down part of an

                                   3   overbroad criminal statute. As Wasden affirmed with respect to the trespass claim, journalists or

                                   4   others acting undercover do not have carte blanche to lie or misrepresent themselves to gain access

                                   5   to an otherwise secure or private facility. Moreover, if I applied Wasden as broadly as defendants

                                   6   suggest, it would not help them because plaintiffs have evidence (and a reasonable juror could

                                   7   find) that defendants intended to trespass for purposes of their material gain and to inflict harms

                                   8   on plaintiffs (tortious or contractual); the concerns expressed by the Wasden court striking down

                                   9   part of that law are satisfied by the evidence here. Id. at 1194.

                                  10          Defendants then argue that under Desnick v. American Broadcasting Companies, 44 F.3d

                                  11   1345 (7th Cir. 1995), even when fraud is used to gain access, trespass cannot be penalized as long

                                  12   as access is to areas that are commonly accessed by clients seeking services. In Desnick, the court
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                                  13   rejected the claim for trespass where test patients, wearing hidden cameras, “entered offices that

                                  14   were open to anyone expressing a desire for ophthalmic services and videotaped physicians

                                  15   engaged in professional, not personal communications with strangers.” Id. at 1352. Defendants

                                  16   similarly rely on Pitts Sales, Inc. v. King World Productions, Inc., 04-60664-CIV-COHN, 2005

                                  17   WL 4038673, at *4 (Bankr. S.D. Fla. July 29, 2005), which rejected trespass claims based on an

                                  18   undercover reporter gaining access not “to special areas” of the business operation but to “areas

                                  19   that were open to anyone expressing a desire to join or travel with Pitts Sales” that were “easily

                                  20   accessible to others” including hotel rooms, travel vans, and hotel rooms where numerous agents

                                  21   were present. Id. at 4. The court in Pitts Sales also relied on the fact that plaintiffs’ hiring

                                  22   practices – through which the reporter gained admission to the “open areas” – were “far from

                                  23   rigorous,” based on minimal and unchecked information provided by the prospective employee.

                                  24   Id.; see also Am. Transmission, Inc. v. Channel 7 of Detroit, Inc.,239 Mich. App. 695, 708–09

                                  25   (Mich. Ct. App. 2000) (“Stern entered only those areas of plaintiffs’ shop that were open to

                                  26   anyone seeking transmission repair services and videotaped plaintiffs’ employee engaging in a

                                  27

                                  28
                                                                                          65
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                                   1   professional discussion with her.”).66

                                   2          The facts here are significantly different from those in Desnick, Pitts Sales, and American

                                   3   Transmission. To start, the PPFA conferences had more rigorous screening requirements for

                                   4   access than for employment in Pitts Sales, including verification of identification and screening

                                   5   procedures, although defendants’ challenge the level and efficacy of these measures. Both the

                                   6   context of the intrusions into PPGC/PPCGC and PPRM facilities (facilities that provide access to

                                   7   abortions, family planning, or healthcare services) and the areas accessed by Daleiden and Merritt

                                   8   (e.g., private office, labs, etc. that included areas where even clients seeking those services did not

                                   9   have access) distinguish this case from Desnick (where the clients were seeking ophthalmic

                                  10   services) and Pitt Sales (employees of plaintiff and plaintiffs’ competitors picked up materials and

                                  11   gathered to prepare for magazine sales jobs), and American Transmission (only filmed in publicly

                                  12   accessible spaces).67 These cases do not foreclose the trespass claims here with respect to PPFA’s
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                                  13   conferences or PPRM and PPGC/PPCFC’s facilities.

                                  14          Separately, defendants contend that because PPGC/PPCFC also conditioned its consent to

                                  15

                                  16   66
                                         It was significant to the Pitt Sales court that competitors of Pitts Sales also had access to many
                                  17   of the same areas that the defendant reporter had access to as an employee. Id. at *5; see also
                                       IMAPizza, LLC v. At Pizza Ltd., 334 F. Supp. 3d 95, 126 (D.D.C. 2018) (“the fact that Defendants
                                  18   entered a public space makes any fraud or mistake about their intentions irrelevant to the issue of
                                       consent”) (emphasis in original).
                                  19   67
                                          This distinction also applies to Food Lion III, where the Fourth Circuit was clearly concerned
                                  20   about turning every misrepresentation on a resume into a basis for trespass. Food Lion III, 194
                                       F.3d at 518 (“we have not found any case suggesting that consent based on a resume
                                  21   misrepresentation turns a successful job applicant into a trespasser the moment she enters the
                                       employer's premises to begin work. Moreover, if we turned successful resume fraud into trespass,
                                  22   we would not be protecting the interest underlying the tort of trespass.”) That is not what is at
                                       issue here. The misrepresentations were not simply resume misrepresentations. Defendants used
                                  23   false identifications and misrepresentations about a fake company operating in an industry where
                                       discretion and confidentiality are expected if not contractually required. Defendants cannot ignore
                                  24   the context. Cf. Shiffman v. Empire Blue Cross and Blue Shield, 681 N.Y.S.2d 511, 512 (N.Y.
                                       App. Div.1998) (reporter who gained entry to medical office by posing as potential patient using
                                  25   false identification and insurance cards could not assert consent as defense to trespass claim “since
                                       consent obtained by misrepresentation or fraud is invalid”). With respect to the common law
                                  26   trespass claims, Baugh v. CBS, Inc., 828 F. Supp. 745 (N.D. Cal. 1993) (Smith, J.) is inapposite.
                                       In that case, where the plaintiff let a film crew into her home along with government investigators
                                  27   based upon the misrepresentation that the film crew was filming for the DA’s office, the court
                                       dismissed the trespass claim despite the consent being induced in part by fraud. Id. at 757. Here,
                                  28   not only was there no consent to recording – the purpose of defendants in entering the conferences
                                       and facilities is undisputed– but California law is not at issue.
                                                                                           66
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                                   1   enter on defendants’ separate agreement to maintain confidentiality, PPCG/PPCFC can only seek

                                   2   relief through its breach of contract claim, not through trespass. The only case defendants rely on

                                   3   dealt with the inapposite situation of prosecution for criminal trespass. See Lilly Industries, Inc. v.

                                   4   Health-Chem Corp., 974 F. Supp. 702, 709 (S.D. Ind. 1997) (“a person who obtained possession

                                   5   to land through a fraudulent contract cannot be prosecuted for trespass”). In any event, the

                                   6   contract was not the only step in securing PPGC/PPCGC’s consent to enter. Daleiden and Merritt

                                   7   used false identification and misrepresentations about BioMax to induce PPGC/PPCFC’s

                                   8   “mistaken” consent to defendants’ entry. Those misrepresentations were not collateral to the

                                   9   mistaken consent, they were the reason for it.

                                  10                          Damages
                                  11          Next, Merritt argues on behalf of defendants that all trespass claims fail for failure to show

                                  12   recoverable damages (e.g., damages that are not barred publication damages, discussed above).
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                                  13   Defendants do not dispute that each jurisdiction where there is a common law trespass claim

                                  14   (Florida, DC, Texas, and Colorado) allows an award for nominal damages. Therefore, summary

                                  15   judgment on “damages” is not appropriate given that plaintiffs seek nominal damages. See

                                  16   Corral-Lerma v. Border Demolition & Envtl. Inc., 467 S.W.3d 109, 120 (Tex. App. 2015),

                                  17   opinion modified and supplemented, 474 S.W.3d 481 (Tex. App.--El Paso 2015); (“[T]respass

                                  18   against a possessory interest . . . does not require actual injury to be actionable and may result in

                                  19   an award of nominal damages”) (internal quotation omitted);68 but see Med. Lab. Mgmt.

                                  20   Consultants v ABC, 306 F.3d 806 (9th Cir. 2002) (dismissing trespass claim that only sought

                                  21   publication damages and noting that plaintiffs did not request nominal damages).69

                                  22          In addition, certain plaintiffs have identified recoverable damages, such as upgrades in

                                  23   access-security and screening procedures to prevent future infiltrations to conferences incurred by

                                  24   PPFA (Minow Depo. at 95) and PPGC (Deposition of Jeffrey Palmer at 289, Sterk Decl., Ex. 53),

                                  25

                                  26
                                       68
                                         Defendants’ cases discussing necessity to prove actual damages under Texas law do not address
                                       nominal damages. See, e.g., City of Mineral Wells v. McDonald, 141 Tex. 113, 118-119 (Tex.
                                  27   1943); S.W. Airlines Co. v. Farechase, Inc., 318 F. Supp. 2d 435, 442 (N.D. Tex. 2004).
                                       69
                                  28     Boston Prop. Exch. Transfer Co. v. Iantosca, 720 F.3d 1 (1st Cir. 2013) relied on by Merritt is
                                       inapposite because it did not address trespass or nominal damages.
                                                                                         67
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                                   1   and personal security damages for targeted staff. The amount of those damages, if any, will be

                                   2   determined by the jury.70

                                   3           Defendants also argue that PPGC cannot maintain a trespass claim for nominal damages

                                   4   because it has consistently represented that it is seeking “only” injunctive relief.71 Plaintiffs

                                   5   respond that PPFA suffered damage from the PPRM trespass because PPFA gave a grant to PPRM

                                   6   to improve its facility-access-security following the intrusion. Declaration of Kevin Paul (Sterk.

                                   7   Decl., Ex. 47) ¶ 4.72 Plaintiffs contend that PPFA has the ability to seek those damages under

                                   8   Colorado law regarding subrogation as a result of PPRM’s intrusion. Pls. Oppo. MSJ at 40 n.27.

                                   9   If subrogation is applicable on these facts, the question remains whether PPRM can allege its

                                  10   trespass claim, not whether PPFA can recover the grant it paid to PPRM under a claim it brings in

                                  11   its own right. Cotter Corp. v. Am. Empire Surplus Lines Ins. Co., 90 P.3d 814, 833 (Colo. 2004),

                                  12   as modified on denial of reh'g (June 7, 2004) (noting that subrogation allows the party seeking the
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                                  13   recovery to file its own action). That said, under Colorado law, damages is not an element of the

                                  14   trespass claim. PPRM may seek injunctive relief under this claim.

                                  15                           Merritt
                                  16           Merritt also claims that she is entitled to summary judgment on trespass because she did

                                  17   not attend any of the PPFA conferences. Plaintiffs do not dispute this and no longer pursue the

                                  18   trespass claim against Merritt with respect to the PPFA conferences.

                                  19
                                       70
                                  20     Defendants repeatedly argue that various plaintiffs, including PPGC/PPCGC in particular, have
                                       not adequately identified the sources of their damages so that defendants have clarity on whether
                                  21   the “security” damages they seek are for now-disallowed physical upgrades to the facilities
                                       (security cameras) or access-security upgrades (new systems for screening visitors). But that may
                                  22   be worked out at trial or through post-trial motions. The burden of demonstrating that various
                                       invoices/categories of damages are recoverable within the bounds that I have adopted rests with
                                  23   plaintiffs.

                                  24
                                       71
                                          In response to an interrogatory asking plaintiffs to “State the specific amount of claimed
                                       damages that falls within each category (for instance, ‘cost of additional security including
                                  25   physical and IT-related to protect Plaintiffs’ offices, clinics, and staff’)” identified by plaintiffs in
                                       a prior interrogatory response, plaintiffs asserted various objections and, subject to amendment,
                                  26   disclosed that “PPRM seeks only injunctive relief.” Millen Decl., Ex. 101 at 10 n.2. In that same
                                       document, plaintiffs disclosed that PPFA was seeking recovery of grants it gave to its affiliates
                                  27   including PPRM for security measures in response to defendants’ intrusions. Id. at 10.
                                       72
                                  28     Defendants object to paragraph 4 of the Paul Declaration on lack of personal knowledge, lack of
                                       foundation, and hearsay. The objection is OVERRULED as to the narrow information I rely on.
                                                                                      68
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                                                              Rhomberg and Newman
                                   1
                                              Plaintiffs admit that neither Rhomberg nor Newman entered any of the properties at issue
                                   2
                                       but nonetheless assert that they can be liable under a few, again raised in passing, theories. The
                                   3
                                       first is liability under the theory that a “person who aids, abets, encourages, or authorizes another
                                   4
                                       in the commission of a trespass, even though not personally present at its commission, is liable
                                   5
                                       equally with him who commits it.” Engler v. Hatch, 472 P.2d 680, 682 (Colo. App. 1970) (citing
                                   6
                                       Am.Jur. Trespass § 33). The second is that “[t]acit consent is enough to prove a conspiracy
                                   7
                                       against a director or officer of a corporation, so long as the director or officer ‘concurred in the
                                   8
                                       tortious scheme with knowledge of its unlawful purpose.’” Schwartz v. Pillsbury Inc., 969 F.2d
                                   9
                                       840, 844 (9th Cir. 1992) (quoting Wyatt v. Union Mortg. Co., 24 Cal. 3d 773, 785 (Cal. 1979)
                                  10
                                       (which recognized that “[d]irectors and officers of a corporation are not rendered personally liable
                                  11
                                       for its torts but may become liable if they directly ordered, authorized or participated in the
                                  12
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                                       tortious conduct”)).
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                                  13
                                              The third is under the alter ego doctrine. As noted above, with respect to the breach causes
                                  14
                                       of action, plaintiffs argue that CMP, as the parent of BioMax, is liable as the alter ego of BioMax.
                                  15
                                       They then contend that Rhomberg and Newman, as directors of CMP, are directly liable for the
                                  16
                                       trespasses of CMP and BioMax because CMP was established to “perpetuate a fraud, circumvent a
                                  17
                                       statute, or accomplish some other wrongful or inequitable purpose” and therefore the corporation’s
                                  18
                                       acts are deemed “to be those of the persons or organizations actually controlling the corporation.”
                                  19
                                       Troyk v. Farmers Group, Inc., 171 Cal. App. 4th 1305, 1341 (Cal. Ct. App. 2009) (citing Sonora
                                  20
                                       Diamond Corp. v. Superior Court, 83 Cal.App.4th 523, 538 (Cal. Ct. App. 2000)). Plaintiffs
                                  21
                                       recognize that there are material disputes of fact as to the roles Rhomberg and Newman played
                                  22
                                       with respect to BioMax through their positions as officers and directors of CMP and their
                                  23
                                       relationship, control, or support of the actual trespassers.
                                  24
                                              However, as with the breach of contract claim, there are a number of problems with
                                  25
                                       plaintiffs’ attempts to pin this claim directly on Rhomberg and Newman. To start, as with the
                                  26
                                       breach of contract claims, this claim is not brought against Rhomberg and Newman in the FAC.
                                  27
                                       The FAC identifies the defendants as Daleiden, Merritt, Lopez, CMP, and BioMax. FAC at 53.
                                  28
                                                                                          69
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                                   1   Second, addressing their roles with CMP and potential alter ego liability, Rhomberg and Newman

                                   2   again rely on my November 2018 Order rejecting the sufficiency of alter ego liability for NAF’s

                                   3   breach of contract claim alleged against Newman.

                                   4          In plaintiffs’ reply in support of their motion for summary judgment on trespass, plaintiffs

                                   5   do not address alter ego liability as to Rhomberg or Newman and say only that they agree there are

                                   6   disputes of material facts over the connections between Rhomberg and Newman and the

                                   7   “trespassers.”73 However, their mere assertion that Rhomberg and Newman can be directly liable

                                   8   for the trespass claim based on an alter ego theory of liability through their roles at CMP has not

                                   9   been supported by caselaw or facts. On this record, and in light of plaintiffs’ failure to plead

                                  10   Rhomberg’s and Newman’s liability on these claims in the FAC, I hold that this claim cannot be

                                  11   directly pursued against Romberg and Newman individually.74

                                  12          In sum, plaintiffs’ request for partial summary judgment for liability with respect to
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                                  13   BioMax, Daleiden, and Lopez for trespass into PPFA’s conferences is GRANTED. The only

                                  14   issues for trial are whether CMP is directly liable and the amount of actual damages.

                                  15          Plaintiffs’ request for partial summary judgment against BioMax, Daleiden, and Merritt for

                                  16   the trespasses to PPGC/PPCFC and PPRM is GRANTED. The only issues for trial are whether

                                  17   CMP is directly liable and actual damages. Whether PPRM is entitled to injunctive relief for this

                                  18   claim will be determined post-trial.

                                  19          Defendants’ motions for summary judgment on the trespass claim are DENIED, except

                                  20   that partial summary judgment is GRANTED with respect to Merritt and trespass at the PPFA

                                  21   conferences and as to Lopez with respect to direct liability for the PPCG/PPCFC and PPRM

                                  22   trespasses. I also hold that Rhomberg and Newman are not directly liable for trespass.

                                  23

                                  24

                                  25
                                       73
                                         Plaintiffs do not address alter ego liability in their opposition to defendants’ motions for
                                       summary judgment. Plaintiffs do, however, discuss Rhomberg and Newman’s acts in furtherance
                                  26   of the “conspiracy” relevant to the RICO claim (First Count) and the Conspiracy claim (Third
                                       Count).
                                  27   74
                                          As discussed below under the Conspiracy count, Rhomberg and Newman may be held indirectly
                                  28   liable if plaintiffs prove at trial their knowledge of, agreement to, or support of the fraudulent
                                       conduct that enabled the trespasses and other tortious conduct.
                                                                                           70
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                                              E.      Fraudulent Misrepresentation (Count 8)
                                   1
                                              This claim is based primarily on defendants’ representations to the various plaintiffs of
                                   2
                                       their identities (which were indisputably false)75 and of who and what BioMax did and could do
                                   3
                                       (which likewise were indisputably false).76 Defendants move for summary judgment with respect
                                   4
                                       to plaintiffs PPFA, PPRM, PPGC/PPCFC, and PPPSGV’s fraud claims under the laws of the five
                                   5
                                       relevant jurisdictions: Florida and DC (PPFA conferences), Colorado and Texas (facility
                                   6
                                       intrusions), and California (meetings with Nucatola and Gatter). Plaintiffs also move for partial
                                   7
                                       summary judgment on liability, leaving only the issue of damages from the fraudulent
                                   8
                                       misrepresentations for trial.
                                   9
                                                              PPPSGV
                                  10
                                              As an initial matter, defendants point out that PPPSGV was not identified as a plaintiff
                                  11
                                       asserting the fraud claim in the FAC with respect to defendants’ representations to Gatter and
                                  12
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                                       Felczer during their lunch meeting, and therefore, summary judgment must be entered for
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                                  13
                                       defendants as to PPPSGV and the lunch meeting. While it is true that PPPSGV was not identified
                                  14
                                       as a plaintiff in the FAC for this claim, plaintiffs have consistently identified PPPSGV as the
                                  15
                                       entity asserting this claim. Because at “the summary judgment stage, Defendants had ample
                                  16
                                       notice of [this claim], and the issue did not require further discovery,” amendment should be
                                  17
                                       allowed. Desertrain v. City of Los Angeles, 754 F.3d 1147, 1155 (9th Cir. 2014). There is no
                                  18
                                       evidence of bad faith, undue delay, or prejudice to defendants from this claim. Id. at 1154 (noting
                                  19

                                  20   75
                                          It is undisputed that Lopez used his real identification and did not make misrepresentations as to
                                  21   his identity. But, it is also undisputed that Lopez introduced and referred to Daleiden as Sarkis to
                                       plaintiffs’ staff at the conferences and discussed and touted the services of BioMax, which were
                                  22   false. Lopez Decl. ¶¶ 8-9.
                                       76
                                  23      Categorized generally, the challenged false statements and omissions presumably include: (1)
                                       Daleiden, Merritt, and Baxter’s statements to plaintiffs’ staff when they registered as or pretended
                                  24   to be Sarkis, Tennenbaum, and Lopez of BioMax and their statements about their roles at BioMax;
                                       (2) Daleiden, Lopez, and Merritt’s representations to plaintiffs’ staff at the conferences, facilities,
                                  25   and lunches that BioMax wanted to obtain tissue to provide to researchers, when that intention or
                                       ability did not exist; (3) Daleiden, Merritt, and Lopez handed out business cards and other
                                  26   materials on behalf of the “front” company BioMax; (4) the defendants concealed the purpose for
                                       attending the conferences, facilities, and lunch meetings, which was to record and publish videos
                                  27   of plaintiffs’ staff; (5) defendants concealed recording devices and failed to disclose they were
                                       recording conversations with plaintiffs’ staff; and (6) defendants filed documents with the
                                  28   California Secretary of State to create BioMax misrepresenting that the purpose of the LLC was to
                                       engage in “any lawful activity,” and listing Tennenbaum as the manager.
                                                                                          71
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                                   1   leave to amend should be allowed where there is no evidence of bad faith, undue delay, or

                                   2   prejudice). Given the lack of prejudice flowing from plaintiffs’ mistake and because defendants

                                   3   have had ample opportunity to seek discovery from PPPSGV and Gatter, this claim remains in this

                                   4   case.77

                                   5                           Elements of Fraudulent Misrepresentation and Framing of this Claim
                                   6             Plaintiffs, but not defendants, move for summary judgment on the elements of their

                                   7   fraudulent misrepresentation claim. The parties do not dispute the basic elements of the fraud

                                   8   claim under the various jurisdictions’ laws.78 Defendants, however, draw distinctions between

                                   9   affirmative fraudulent misrepresentations (about BioMax and employee status) and fraudulent

                                  10   omissions and concealment (failing to disclose surreptitious recording and true purpose). Under

                                  11   fraudulent concealment, there must generally be a fiduciary or contractual relationship between

                                  12   the parties that imposes the duty to disclose on defendants. See, e.g., Deteresa v. Am. Broad.
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                                  13   Companies, Inc., 121 F.3d 460, 467 (9th Cir. 1997) (discussing fraudulent concealment claims

                                  14   under California law). In their motion for summary judgment, plaintiffs do not address

                                  15   specifically the requirements of a fraudulent concealment claim, but do identify “concealments”

                                  16   they claim support Court 8 and presumably support their motion for summary judgment. Pls. MSJ

                                  17   at 19:18-23. However, given plaintiffs’ failure to address the legal requirements for fraudulent

                                  18   concealment in their motion, summary judgment is not appropriate on Count 8 in this respect.

                                  19             Second, and even more problematic for plaintiffs’ motion for summary judgment on the

                                  20   affirmative misrepresentations, is that plaintiffs have not adequately framed the actionable

                                  21   misrepresentations they seek judgment on. They have not provided me with a concise list

                                  22   identifying the specific actionable affirmative misrepresentations as to each plaintiff. Instead,

                                  23   they generally assert that unspecified defendants made actionable misrepresentations about

                                  24   BioMax in the PPFA EAs and perhaps other application materials submitted to PPFA prior to the

                                  25
                                       77
                                  26     To the extent there is a dispute over whether PPFA can assert a fraud claim based on the
                                       misrepresentations made to secure the lunch meeting with Nucatola, see CMP Mot. at 3, CMP
                                  27   Oppo. at 9, that claim is fairly encompassed in the FAC and is actionable.
                                       78
                                  28     Daleiden points to some minor distinctions between the jurisdictions, but those distinctions do
                                       not matter for purposes of these motions. Daleiden Oppo. at 16-17.
                                                                                      72
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                                   1   conferences. They generally assert that defendants (Daleiden, Merritt, Lopez) made

                                   2   misrepresentations when showing up at the conferences and facilities and presented false

                                   3   identification to unidentified staff. They generally assert defendants (Daleiden, Merritt, Lopez)

                                   4   made oral misrepresentations to various unidentified staff about BioMax. They generally assert

                                   5   defendants (Daleiden, Merritt, Lopez) made oral misrepresentations to various unidentified staff

                                   6   about their identities and roles at BioMax.79 This broad-brush approach is wholly insufficient to

                                   7   support the “judgment” plaintiffs seek.

                                   8          In opposition, defendants make similarly broad responses on the elements of falsity,

                                   9   materiality, and reliance. Looking to those broad defenses, some are specious. For example,

                                  10   Daleiden’s assertion that because BioMax might have attempted to secure and sell fetal tissue (as

                                  11   it had represented to some of plaintiffs’ staff that BioMax had) cannot defeat falsity. Daleiden

                                  12   Oppo. at 18-21. Similarly, Daleiden’s contention that use of the Sarkis name (and presumably the
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                                  13   use of the fake ID bearing that name) was his “common law” practice and right (relying on wholly

                                  14   inapposite “doing business as” cases), is not a defense to falsity as a matter of law. But because I

                                  15   have not been presented with a manageable way to rule on each actionable statement as to each of

                                  16   the elements in play, I will not further consider plaintiffs’ motion on this claim or defendants’

                                  17   oppositions.

                                  18          Plaintiffs have failed to identify in their motion but will be required to do so for the jury

                                  19   the specific written or oral statements they believe are actionable misrepresentations, why each

                                  20   was false, why each was material, who reasonably relied on each, and what recoverable damage

                                  21   was caused from one or more misrepresentations to specific plaintiffs. Plaintiffs’ motion for

                                  22   summary judgment on fraudulent misrepresentation is DENIED.

                                  23                          Wasden
                                  24          Defendants argue that any fraudulent conduct they engaged in – with respect to use of the

                                  25   false identities and portraying BioMax as a real company when it was undisputable fake – is

                                  26
                                       79
                                  27     In Reply, plaintiffs identify with more specificity some of the actionable statements. Pls. MSJ
                                       Reply at 29-30. But then they go on to say “[t]hese statements—and everything else they told
                                  28   Plaintiffs about BioMax—were indisputably false” and “Plaintiffs therefore have proven that
                                       Defendants’ representations about Lopez were false.” Id. at 30, 31.
                                                                                        73
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                                   1   protected conduct as a matter of law under the Ninth Circuit’s recent decision in Animal Leg. Def.

                                   2   Fund v. Wasden, 878 F.3d 1184 (9th Cir. 2018). I disagree. In Wasden, the Ninth Circuit did not

                                   3   immunize misrepresentations made to aid undercover journalism (assuming that is what

                                   4   defendants were engaged in for the HCP). Wasden, instead, applied strict scrutiny to invalidate as

                                   5   overbroad a statute that criminalized entry into an agricultural production facility for

                                   6   “misrepresentation.” Id. at 1194; see also id. at 1195 (“The hazard of this subsection is that it

                                   7   criminalizes innocent behavior, that the overbreadth of this subsection’s coverage is staggering,

                                   8   and that the purpose of the statute was, in large part, targeted at speech and investigative

                                   9   journalists.”). Wasden did not impact laws of general applicability, like common law fraudulent

                                  10   misrepresentation. Id. at 1190 (“However, the First Amendment right to gather news within legal

                                  11   bounds does not exempt journalists from laws of general applicability.”).

                                  12          The Wasden court was also careful to distinguish regulation of misrepresentations that are
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                                  13   done for personal gain or cause cognizable harm. Id. at 1195, 1199. Plaintiffs have pointed to

                                  14   disputed evidence that defendants’ goals here were not “legitimate journalism,” but instead to

                                  15   create “public outrage” to assist defendants’ fundraising and ultimate goal to put plaintiffs out of

                                  16   business. See supra. I cannot resolve those issues on these motions but note that plaintiffs’

                                  17   assertions are fervently denied by defendants.

                                  18                          Damages
                                  19          Defendants also argue plaintiffs’ failure to show that they suffered any consequential

                                  20   damages proximately caused by defendants’ specific misrepresentations that are not barred

                                  21   publication damages is fatal to their fraud claim. See e.g., Orcilla v. Big Sur, Inc., 244 Cal. App.

                                  22   4th 982, 1008 (Cal. App. 6th Dist. 2016), as modified (Mar. 11, 2016) (“Misrepresentation, even

                                  23   maliciously committed, does not support a cause of action unless the plaintiff suffered

                                  24   consequential damages.” (internal quotation omitted)); see also Kurinij v. Hanna & Morton, 55

                                  25   Cal. App. 4th 853, 866 (Cal. App. 2d Dist. 1997) (rejecting argument that nominal damages award

                                  26   could not sustain jury verdict because “without actual damages, there is no fraud,” where the

                                  27   nominal award represented jury’s determination of fact of actual damage).

                                  28
                                                                                         74
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                                   1          However, after removing the damages that I have found are not recoverable (see supra),80

                                   2   the potentially recoverable damages are on their face like those allowed in Comm. On Children’s

                                   3   TV, Inc. v. Gen. Foods Corp., 35 Cal. 3d 197, 220 (1983).81 Plaintiffs have evidence that they

                                   4   expended funds directly as a result of the frauds to investigate them, remedy them, and protect

                                   5   against their repetition in the future with respect to access to their conferences and facilities. See,

                                   6   e.g., Blackburn v. Sturgeon Services Intern., Inc., 1:13-CV-00054-JLT, 2014 WL 1275919, at *8

                                   7   (E.D. Cal. Mar. 27, 2014) (citing California law that allows for recovery of tort damages where

                                   8   “those acts causing the damage were the necessary or legal and natural consequence of the

                                   9   wrongful act.”). Plaintiff also, upon learning of the deception, paid for personal security expenses

                                  10   for some of their employees who were targeted by defendants for recording. Those expenses – at

                                  11   least on this record – are tied directly to defendants’ conduct and plaintiffs’ reactions to

                                  12   discovering it. That some of those staff members who were targeted by defendants’ conduct may
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                                  13   have also received threats from third parties in response to the videos and those threats were part

                                  14   of the motivation for paying for additional personal security measures does not break the causal

                                  15   chain for purposes of this motion. On this record, the access-security measures and personal

                                  16   security measures that I have outlined above are pecuniary damages that flow directly from

                                  17

                                  18   80
                                          Defendants also argue that under Florida, District of Columbia, and California common law
                                  19   harm caused by CMP’s truthful publication of PPFA’s wrongdoing cannot be attached to the fraud
                                       claim because any damage was caused by defendants’ gathering information they intended to
                                  20   publish. But the cases defendants rely on do not stand for that broad of a proposition. Instead, in
                                       Pitts Sales, Inc. v. King World Prods., Inc., 383 F. Supp. 2d 1354, 1364 (S.D. Fla. 2005), there
                                  21   was no evidence that particular misrepresentations caused the particular damages plaintiff sought
                                       (the administrative costs associated with hiring the reporters and the wages paid to the reporters).
                                  22   In Steele v. Isikoff, 130 F. Supp. 2d 23, 35 & n.10 (D.D.C. 2000) under District of Columbia
                                       common-law, there were no allegations of proximately caused damages in that media-fraud case
                                  23   because plaintiffs’ own lie caused the damages she claimed. Similarly, in Frome v. Renner, No.
                                       97 CIV 5641, 1997 WL 33308718, at *2 (C.D. Cal. Oct. 1, 1997), the plaintiff failed to show how
                                  24   the reporter’s misrepresentation affected the doctor-patient relationship, because the doctor treated
                                       the reporter just like any patient.
                                  25   81
                                         In that case, the court rejected the claims of organizations like the California Society of
                                  26   Dentistry for Children who “spent funds to counter the influence of defendants’ [fraudulent]
                                       advertising” because those “organizational expenditures were voluntary in character and not the
                                  27   result of any legally cognizable injury to the organization” itself, but allowed the claims brought
                                       by the targets of the fraud, the parents and children who purchased sugary cereals. Id. at 220.
                                  28   Here, of course, there is ample evidence that plaintiffs were both the target of the frauds and the
                                       ones who spent money to investigate and rectify the consequences of the frauds.
                                                                                          75
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                                   1   defendants’ own actions, and not the intervening actions of third parties.

                                   2           Defendants’ repeated claims that plaintiffs’ security improvement expenses were “merely

                                   3   voluntary” or were required because of previously identified or well-known weaknesses in

                                   4   plaintiffs’ access-security measures at their conferences or facilities, or based on unreasonable

                                   5   fears of future intrusions, are defenses to the amount of damages to be argued to the jury. These

                                   6   arguments do not entitle defendants to summary judgment on fraud damages. See, e.g., City Sols.,

                                   7   Inc. v. Clear Channel Commun., 365 F.3d 835, 840 (9th Cir. 2004) (noting the causal relationship

                                   8   between fraudulent misrepresentations and damages is an issue “properly left to a jury”).82

                                   9                          CMP, Rhomberg, and Newman
                                  10           CMP separately argues that it cannot be liable because it, as an entity, did not make any

                                  11   affirmative misrepresentations. Similarly, Rhomberg and Newman argue that this claim fails as to

                                  12   them individually because they did not make any identified false misrepresentations on which
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                                  13   plaintiffs relied.

                                  14           CMP’s liability for purposes of this claim is based, first, under civil conspiracy, which has

                                  15   been adequately supported by disputed evidence. Second, there is ample evidence that the purpose

                                  16   of CMP was to assist (and indeed pay for) BioMax, Daleiden, Merritt, and Lopez’s fraudulent

                                  17   activities committed in order to gain access to plaintiffs’ conferences, facilities, and staff. The

                                  18   fraud claim against CMP is based in large part on its own conduct and affirmative acts. Rhomberg

                                  19   and Newman’s indirect liability for fraudulent misrepresentation is based on the civil conspiracy

                                  20   theory, which as discussed below has been adequately supported by disputed evidence.

                                  21                          Merritt
                                  22           Merritt argues that the fraud claim against her should be dismissed because it is undisputed

                                  23   that she was not involved in and did not participate in the editing and publication of the CMP

                                  24

                                  25   82
                                         The fraud claim was reversed on appeal after trial in the Food Lion case because the plaintiff
                                  26   could not show that their “administrative costs were an injury caused by reasonable reliance on the
                                       misrepresentations” of the journalists. Food Lion, Inc. v. Capital Cities/ABC, Inc., 194 F.3d 505,
                                  27   513 (4th Cir. 1999); but see Pitts Sales, Inc. v. King World Productions, Inc., 383 F. Supp. 2d
                                       1354, 1364 (S.D. Fla. 2005) (concluding based on facts not in dispute that plaintiff had not
                                  28   reasonably relied on misrepresentations “to its injury” of alleged costs of hiring journalists as
                                       employees “as required to prove a claim for fraud under Florida law”).
                                                                                          76
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                                   1   videos. Merritt MSJ at 17-18. However, she was directly involved in numerous acts of fraud: she

                                   2   presented false identification, purported to be someone she was not, and purported to represent a

                                   3   real company when it was fake. That Merritt claims she was merely a contract employee of CMP,

                                   4   hired for her acting skills, and played no role in the editing or release of the HCP videos, are not

                                   5   defenses to the fraud claims based on her own conduct.

                                   6          F.      Illegal Recording Claims
                                   7          Defendants move for summary judgment on each of the recording claims.

                                   8                          Federal (Count 2)
                                   9          Plaintiffs allege that defendants Daleiden, Merritt, Lopez, CMP, and BioMax violated 18

                                  10   U.S.C. § 2511, the federal Wiretap Act, by intercepting plaintiffs’ and their staffs’

                                  11   communications without their consent in order to further their RICO conspiracy and to invade the

                                  12   privacy of plaintiffs’ staff. 18 U.S.C. § 2511(1), (2)(d); FAC ¶¶ 164-165, 169(a)(b). Section 2511
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                                  13   applies to anyone who “intentionally intercepts, endeavors to intercept, or procures any other

                                  14   person to intercept or endeavor to intercept, any wire, oral, or electronic communication.” 18

                                  15   U.S.C. § 2511(1)(a). In determining whether communications are “uttered under circumstances

                                  16   justifying an expectation of privacy,” courts consider the factors identified by the Supreme Court

                                  17   in Katz v. United States, 389 U.S. 347 (1967), specifically: “whether the communications . . .

                                  18   “were uttered by a person (1) who has a subjective expectation of privacy, and (2) whose

                                  19   expectation was objectively reasonable.” U.S. v. McIntyre, 582 F.2d 1221, 1223 (9th Cir. 1978).

                                  20                          a.      Purpose of Committing a Crime or Tort
                                  21          Because defendants were participants in the recorded conversations, the recordings can

                                  22   violate the Act only if they were intercepted for the purpose of committing criminal or tortious

                                  23   acts. 18 U.S.C. § 2511(2)(d); see Sussman v. American Broadcasting Cos., 186 F.3d 1200, 1202

                                  24   (9th Cir.1999) (“the focus is not upon whether the interception itself violated another law; it is

                                  25   upon whether the purpose for the interception – its intended use – was criminal or tortious.”

                                  26   (internal quotations and citation omitted)); see also id. 1202–03 (“Where the taping is legal, but is

                                  27   done for the purpose of facilitating some further impropriety, such as blackmail, section 2511

                                  28   applies. Where the purpose is not illegal or tortious, but the means are, the victims must seek
                                                                                         77
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                                   1   redress elsewhere.”). Significantly, an illegal purpose does not have to be the sole purpose of the

                                   2   recording. See Med. Laboratory Mgt. Consultants v. Am. Broad. Companies, Inc., CIV-95-2494-

                                   3   PHX-ROS, 1997 WL 405908, at *5 (D. Ariz. Mar. 27, 1997) (the “statute does not provide that

                                   4   secretly recording a conversation would not be illegal if it were motivated simultaneously by a

                                   5   legitimate objective and a criminal purpose.” (emphasis in original)). The purpose or purposes of

                                   6   the recordings are generally questions for the jury. Brown v. Am. Broad. Co., Inc., 704 F.2d 1296,

                                   7   1305 (4th Cir. 1983) (the “purpose in taping and broadcasting the meeting of November 2 clearly

                                   8   presents a factual issue for the jury.”).

                                   9           Defendants, through Lopez, argue that because there was no illegal purpose in the

                                  10   recording – e.g., no purpose to further violate RICO or further invade anyone’s privacy – there can

                                  11   be no liability under the federal statute. As discussed above, the RICO claim against defendants

                                  12   survives and the elements of pattern and damages will go to trial.
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                                  13           As to invasion of privacy, defendants argue that the only further potential invasion that

                                  14   could be alleged by plaintiffs as having been intended by defendants is tortious publication of the

                                  15   recordings.83 There is no evidence, for example, that the recordings were intended to be used to

                                  16   secure additional records. The only tort that followed the recordings is, theoretically, the

                                  17   publishing of those recordings as part of the Project. Defendants claim that plaintiffs cannot

                                  18   satisfy the elements of that tort because there is no evidence that defendants when making the

                                  19   recordings intended or had the purpose of publishing “private facts,” which they claim they did

                                  20   not. Defendants also point out that the facts disclosed by the recordings must be truly private. So,

                                  21   for example, the publication that someone was gay, a fact that was known by hundreds in his

                                  22   community given his activities, was not disclosure of “private facts.” Sipple,154 Cal. App. 3d at

                                  23   1048 (Cal. App. 1st Dist. 1984) (“since appellant’s sexual orientation was already in public

                                  24

                                  25   83
                                         The elements of the tortious disclosure of private facts or tortious publication are: (1) the
                                  26   disclosure of the private facts must be a public disclosure; (2) the facts disclosed must be private
                                       facts, and not public ones; (3) the matter made public must be one which would be offensive and
                                  27   objectionable to a reasonable person of ordinary sensibilities; and (4) “due to the supreme mandate
                                       of the constitutional protection of freedom of the press even a tortious invasion of one's privacy is
                                  28   exempt from liability if the publication of private facts is truthful and newsworthy.” Sipple v.
                                       Chron. Publg. Co., 154 Cal. App. 3d 1040, 1045–46 (Cal. App. 1st Dist. 1984).
                                                                                         78
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                                   1   domain and since the articles in question did no more than to give further publicity to matters

                                   2   which appellant left open to the eye of the public, a vital element of the tort was missing rendering

                                   3   it vulnerable to summary disposal.”); see also Vo v. City of Garden Grove, 115 Cal. App. 4th 425,

                                   4   448 (Cal. App. 4th Dist. 2004) (publication of a person’s physical factures are not confidential).

                                   5          Defendants argue that none of the recordings during the conferences could have disclosed

                                   6   “private” facts because they were disclosed at the conferences to other conference attendees and

                                   7   covered information “well known to others in the industry.” Lopez MSJ at 16. However, they

                                   8   paint with too broad a brush. Defendants’ insistence – without any citations to the videos

                                   9   themselves – that no private facts sufficient to sustain a tortious disclosure claim were in fact

                                  10   broadcast is contrary to the record.

                                  11          Defendants’ other arguments against any finding that defendants’ intended to commit a

                                  12   tortious disclosure are also unpersuasive. They argue that because defendants’ intent was to
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                                  13   disclose illegal conduct, the surreptitious recordings were “legal means” that preclude application

                                  14   of the statute. The cases they rely on, again, do not support that broad of an argument. See, e.g.,

                                  15   Moore v. Telfon Commun. Corp., 589 F.2d 959, 966 (9th Cir. 1978) (“Congress did not intend to

                                  16   prohibit recording a conversation when its purpose was to preserve evidence of extortion directed

                                  17   against the recorder to be used later for the purpose of terminating a franchise agreement.”).

                                  18          Finally, defendants argue that the disclosures here must be considered newsworthy as a

                                  19   matter of law because of the press, investigations, and prosecutions that stemmed from the HCP

                                  20   disclosures. That defense may preclude liability as to some of the recordings, but contrary to

                                  21   defendants’ broad assertions of the “newsworthiness” of the HCP as a whole, defendants do not

                                  22   cite any specific recordings of plaintiffs to show that those specific recordings were newsworthy

                                  23   for the reasons defendants assert. That some subset of the videos recorded and published of

                                  24   plaintiffs’ staff might have contained newsworthy content does not immunize the recording and

                                  25   publication of all of the videos.

                                  26          Of course, the actual intent of defendants is hotly disputed. Plaintiffs are allowed to elicit

                                  27   testimony to attempt to prove that defendants’ intent at the time of the recording was not to

                                  28   disclose truthful, newsworthy facts about these plaintiffs but to misinform and distort the activities
                                                                                         79
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                                   1   of these plaintiffs as part of a “smear” campaign. Defendants strenuously disagree with that

                                   2   characterization. That highlights the material questions of fact that preclude determining

                                   3   newsworthiness as matter of law at this juncture. In the end, whether defendants had an illegal

                                   4   purpose in mind when making the recordings – as their sole purpose or as a purpose in addition to

                                   5   a legitimate purpose – will be determined by the jury. See, e.g., Boddie v. Am. Broad. Companies,

                                   6   Inc., 731 F.2d 333, 338 (6th Cir. 1984) (disputes as to defendants’ intent under wiretapping statute

                                   7   to be decided by the jury).

                                   8                          b.      Circumstances or Exhibition of Expectation of Privacy
                                   9          Defendants also argue that there was no “exhibition” of an expectation of privacy by those

                                  10   taped, so the federal claim fails. They contend that the federal statute requires the speakers to

                                  11   “visibly or audibly” communicate that their particular conversation was confidential or off the

                                  12   record. Lopez MSJ at 17. I disagree that there has to be some kind of verbal or physical
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                                  13   “exhibition” of an expectation of privacy announced by each person being recorded under the

                                  14   federal (or the Florida) statutes.84 In support of this argument, defendants cite no federal cases

                                  15   adopting or discussing the affirmative “exhibition” test” under Section 2511.85 Instead, looking to

                                  16   the circumstances surrounding each recording, the question is whether the person being recorded

                                  17   had a subjective expectation of privacy and whether that expectation was reasonable under the

                                  18
                                  19   84
                                         In the declarations, filed in support of their motions for summary judgment, both Lopez and
                                  20   Daleiden assert that during their taping they never heard or saw any “verbal” or “physical” signs
                                       showing any participants “expectation of privacy.” Declaration of Gerardo Adrian Lopez (Dkt.
                                  21   No. 603-1) ¶ 16; Daleiden MSJ Decl. ¶¶ 53-54.
                                       85
                                  22      The case interpreting Florida law that Daleiden cites in support, McDonough v. Fernandez-
                                       Rundle, 862 F.3d 1314, 1319 (11th Cir. 2017), explained that the Florida statute requires “that the
                                  23   expectations of privacy needed to trigger application of the statute must be exhibited; in other
                                       words they must be ‘shown externally’ or ‘demonstrated.’” In McDonough, the claim failed with
                                  24   respect to plaintiff’s video recording a police chief during a meeting the chief himself called,
                                       noting that “Chief Rolle set no ground rules for the meeting he elected to call. At no point did
                                  25   anyone from the HPD suggest that the meeting was confidential or ‘off the record.’ Nor was there
                                       advance notice or published or displayed rules that established confidentiality and certainly none
                                  26   that prohibited note taking or recordings. It is therefore clear to us that because Chief Rolle failed
                                       to ‘exhibit’ the expectation of privacy that is required by the statute, the government is not entitled
                                  27   to invoke it and McDonough did not violate it.” Id. at 1319. Rather than announcing some new
                                       test for expectation of privacy, the court was conducting the typical contextual analysis of the
                                  28   evidence, looking at the circumstances of the recording. One would reasonably expect that a
                                       meeting with a public official would not be confidential, absent any statement to the contrary.
                                                                                          80
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                                   1   circumstances. U.S. v. McIntyre, 582 F.2d 1221, 1223 (9th Cir. 1978).

                                   2            There is testimony from those recorded that they expected their conversations at the

                                   3   conferences and meetings to be private for a variety of reasons, including the confidentiality

                                   4   agreements governing the conferences and meetings and their experiences in the industry. See Pls.

                                   5   Oppo. MSJ 67-68 (citing deposition testimony). At trial, defendants can challenge those

                                   6   assertions through evidence, for example, that certain conversations were so loud they could have

                                   7   been overhead by others in publicly accessible spaces (restaurants, lobbies, etc.). That some of

                                   8   plaintiffs’ witnesses admitted in deposition that there was a “chance” hidden cameras could be

                                   9   snuck into the conferences or that a Planned Parenthood employee might “turn against the

                                  10   organization” does not defeat the reasonable expectation of privacy as a matter of law.

                                  11                           c.      Subjective and Objective Expectations of Privacy
                                  12            Defendants argue that plaintiffs have failed to show sufficient evidence of the subjective
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                                  13   privacy expectations of the employees recorded in any of the 147 segments of video plaintiffs

                                  14   assert are actionable. Defendants claim that plaintiffs approached only a few of the recorded

                                  15   employees to inquire about their subjective beliefs – Doe1005, Deborah VanDerhei, and Cecile

                                  16   Richards.

                                  17            However, plaintiffs submit evidence of the steps they took to restrict access to their

                                  18   conferences that could create a subjective expectation of privacy in conversations between

                                  19   participants.86 They identify testimony from some of their staff on subjective expectations about

                                  20   the security of their conversations with vetted attendees at the conferences. See Deposition of

                                  21   Deborah VanDerhei at 125-126, 346 (Mayo MSJ Oppo. Decl., Ex. 56); Deposition of Mary Gatter

                                  22   at 282-284 (Mayo MSJ Oppo. Decl., Ex. 53).87 They also point to testimony regarding steps NAF

                                  23   took to restrict access to their conferences,88 and the subjective beliefs of participants that NAF

                                  24
                                       86
                                  25     See Pls. Oppo. MSJ 67, citing evidence regarding PPFA security measures. Defendants
                                       challenge the efficacy of those measures and whether they were always implemented. But those
                                  26   disputes simply raise material issues of fact.
                                       87
                                  27     Defendants object to 284:13-22 of the Gatter deposition as an impermissible legal conclusion or
                                       opinion. The objections are OVERRULED.
                                  28   88
                                            See Pls. Oppo. MSJ 68, citing evidence regarding NAF security measures.
                                                                                         81
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                                   1   created “a safe space to talk to colleagues.” Deposition of Tram Nguyen at 129-132, 424-26

                                   2   (Mayo MSJ Oppo. Decl., Ex. 60);89 Deposition of Deborah Nucatola at 428-430 (Mayo MSJ

                                   3   Oppo. Decl., Ex. 49).90 That evidence is enough to create disputes of material fact as to subjective

                                   4   beliefs on expectations of privacy at the PPFA and NAF conferences.

                                   5          On whether those expectations of privacy were reasonable, defendants break their

                                   6   challenges down into three sets of locations. Defendants first question the reasonable expectations

                                   7   for conversations recorded at restaurants (the California lunch meetings) and in the lobby or bar of

                                   8   hotels (the Florida conferences). As to these “public space” recordings, defendants argue that

                                   9   there can be no objective expectation of privacy as a matter of law. But the cases they rely on

                                  10   consider contextual facts in addition to the fact that the recorded conversation was in a public and

                                  11   open space. See, e.g., Wentz v. Project Veritas, 617CV1164ORL18GJK, 2019 WL 1716024, at *5

                                  12   (M.D. Fla. Apr. 16, 2019 (noting a third party “was present during the entirety of the conversation.
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                                  13   Unsurprisingly, background noise can be heard throughout the conversation.”); U.S. v. Gonzalez,

                                  14   CRIM 07-748 (FSH), 2008 WL 4837468, at *2 (D.N.J. Oct. 31, 2008) (facts that a third party was

                                  15   present and the conversation conducted on a cell phone, added to conclusion that there was no

                                  16   “reasonable expectation of privacy under the circumstances”); see also U.S. v. Giraudo, CR 14-

                                  17   534 CRB, 2016 WL 4073243, at *8-9 (N.D. Cal. Aug. 1, 2016), order clarified, 225 F. Supp. 3d

                                  18   1078 (N.D. Cal. 2016) (noting under a Fourth Amendment analysis courts have found a

                                  19   “reasonable expectation of privacy in a hushed conversation on the courthouse steps” and rejecting

                                  20   argument presented without supporting expert testimony that “bystanders” could have “overheard

                                  21   the sensitive conversations”).91

                                  22

                                  23   89
                                         Defendants object to 424:25-425:15,425:22-426:9, and 426:13-23 as “leading,” vague and
                                  24   ambiguous, irrelevant, and based on an incomplete hypothetical. The objections are
                                       OVERRULED.
                                  25   90
                                         Defendants object to these portions of Nucatola’s deposition as irrelevant, lacking personal
                                  26   knowledge, calling for speculation, and “leading.” Those objections are OVERRULED.

                                  27
                                       91
                                         Defendants’ cases involving arrests in “public places” based on probable cause are wholly
                                       inapposite. See, e.g., U.S. v. Watson, 423 U.S. 411, 423 (1976); Smith v. Bd. of County Com'rs for
                                  28   County of Otero, N.M., 316 Fed. Appx. 786, 788 (10th Cir. 2009) (unpublished).

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                                   1           So too here. The context of each recording must be analyzed based on its specific facts.

                                   2   Per se summary judgment as a matter of law is inappropriate. Cf. Safari Club Intl. v. Rudolph,

                                   3   862 F.3d 1113, 1124 (9th Cir. 2017) (rejecting argument that “there can be no objectively

                                   4   reasonable expectation of confidentiality because the conversation occurred in a place that was

                                   5   open to the public. That contention is at odds with California authority viewing privacy as

                                   6   relative.”).92

                                   7           Second, defendants urge more directly with respect to recordings at the conferences that

                                   8   the only comparable cases are ones discussing an employee’s expectation of privacy in common

                                   9   areas of his workplace. They contend that those cases hold that employees have objective

                                  10   expectations of privacy only in personal offices, lockers, or filing cabinets set aside for their

                                  11   personal use and no expectation in shared areas. In the conference context, defendants assert that

                                  12   translates into privacy only in hotel rooms or other rooms where “individual participants in a
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                                  13   conversation had taken steps to exclude non-participants from overhearing.” Lopez MSJ at 20.

                                  14           Again, even in the context of the employee-recording cases the particular facts and the

                                  15   context of the recordings matter. See, e.g., Gray v. Royal, 181 F. Supp. 3d 1238, 1253 (S.D. Ga.

                                  16   2016) (finding no reasonable expectation of privacy where employee recorded speech occurred on

                                  17   office telephones and could be overheard by others, speech concerned office affairs, plaintiffs’

                                  18   speech was not phrased in way showing “that they were communicating confidential matters,”

                                  19   plaintiffs worked office doors open, spoke at normal volume, and plaintiffs took no other steps to

                                  20   shield the contents of their communications); see also Tancredi v. Malfitano, 567 F. Supp. 2d 506,

                                  21   510 (S.D.N.Y. 2008) (“Whether a public employee has a reasonable expectation of privacy

                                  22   depends on the context of the employment relationship and must be determined on a ‘case-by-case

                                  23
                                       92
                                  24      The subjects of the lunch meetings, Gatter and Nucatola, testified that their expectation of
                                       privacy in the restaurant conversations was based on their seating locations (in booths or far from
                                  25   other customers) and their conduct (refraining from discussing sensitive information when
                                       waitstaff were near). See Pls. Oppo. MSJ at 76-77. For the conversations recorded in the hotel
                                  26   bar, plaintiffs submit that only one other group was in the bar that group was not close, and that
                                       group could not overhear the recorded conversations. See Recordings # 22-23, 32-33. PPFA’s
                                  27   witness also testified the music playing in the bar, and other noise added to the expectation of
                                       privacy in the bar conversation. Minow Depo. 211-12. Defendants object to this portion of
                                  28   Minow’s testimony as speculative, lack of personal knowledge, and opinion. The objections are
                                       OVERRULED.
                                                                                         83
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                                   1   basis.’”).93

                                   2           Here, the context is that PPFA and NAF restricted the right of access to their conferences

                                   3   to people working in the field or who provide helpful products to those working in the field, NAF

                                   4   additionally imposed NDAs on conference attendees, and participants relied on those measures to

                                   5   provide them some security and confidence that they could share information with others in their

                                   6   field when discussing topics that were confidential or sensitive in nature. Some of those

                                   7   conversations may have taken place in particular circumstances that negated the reasonable

                                   8   expectation of privacy as to those specific conversations. But defendants are not entitled to a

                                   9   finding that none of the conference participants had a reasonable expectation of privacy in any of

                                  10   their conversations that were recorded by defendants as a matter of law.94

                                  11           Moreover, employees can have reasonable expectations of privacy in their office spaces, in

                                  12   particular closed spaces like personal offices and conference rooms, and reasonable expectations
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                                  13   that they would not be surveilled in their office spaces.95 Similarly, conference participants may

                                  14   have a reasonable expectation of privacy in conversations held in the restricted-areas of the

                                  15   conferences as well as a reasonable expectation that they would not be surveilled or recorded

                                  16   during those conferences.

                                  17
                                       93
                                  18      The Fourth Amendment search cases relied on by defendants are not particularly helpful, as
                                       “courts have found that an action for violation of the anti-wiretap statute may be maintained even
                                  19   in the absence of an expectation of privacy as generally understood in the Fourth Amendment
                                       search and seizure context.” Walker v. Darby, 911 F.2d 1573, 1578 (11th Cir. 1990). These
                                  20   cases, however, highlight that a fact-bound analysis determines the scope of any Fourth
                                       Amendment right. See, e.g., People v. Thompson, 205 Cal. App. 3d 1503, 1509 (Cal. App. 5th
                                  21   Dist. 1988) (“The floor underneath the three-inch lip of a counter is not normally used to store
                                       personal belongings, records, receipts or anything else.”); Martinez v. State, 880 S.W.2d 72, 77
                                  22   (Tex. App. 1994) (noting the record “does not indicate that Martinez had any financial,
                                       proprietary, possessory, or other interest in the automobile dealership. Indeed, the evidence shows
                                  23   that he was only one of several employees there and had no ownership interest in the business or
                                       the shed where the cocaine was seized.”); Faulkner v. State, 317 Md. 441, 448 (1989) (“[u]nder all
                                  24   of these circumstances, including particularly Faulkners disclaimer of any expectation of privacy
                                       in the second locker” and acknowledged right of management to search lockers, no reasonable
                                  25   expectation of privacy).
                                       94
                                  26     At the hearing, plaintiffs noted that they are not asserting claims based on recordings made at
                                       the Association of Reproductive Healthcare Providers (“ARHP”) meeting in Denver in 2013.
                                  27   95
                                         Cf. U.S. v. Taketa, 923 F.2d 665, 676 (9th Cir. 1991 (Under Fourth Amendment analysis,
                                  28   defendants “has no general privacy interest in O’Brien’s office, but he may have an expectation of
                                       privacy against being videotaped in it.”).
                                                                                       84
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                                   1          Third, defendants discuss the recordings taken at the PPRM and PPGC/PPCFC offices.

                                   2   They argue that “information shared with” defendants was the sort of information that plaintiffs

                                   3   might have shared coworkers or potential business partners and that type of information “cannot

                                   4   be private.” They cite only cases arising in the inapposite context of governmental informers.

                                   5   Those cases hold that there is no Fourth Amendment violation (and no reasonable expectation of

                                   6   privacy) when a criminal defendant voluntarily shares information with an informant or when

                                   7   someone under government investigation voluntarily shares information with the government.

                                   8   Fazaga v. Fed. Bureau of Investigation, 916 F.3d 1202, 1220 (9th Cir. 2019) (“use of a

                                   9   government informant under the invited informer doctrine—even if not in good faith in the First

                                  10   Amendment sense—does not implicate the privacy interests protected by the Fourth

                                  11   Amendment.”); Stewart v. Evans, 351 F.3d 1239, 1244 (D.C. Cir. 2003) (no Fourth Amendment

                                  12   violation). Those cases are wholly inapposite to the facts here.96
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                                  13          The record shows that the staff of PPRM and PPCG/PPCFC intended their conversations

                                  14   to be private and had no expectations that those conversations would be recorded. The evidence

                                  15   regarding the steps Daleiden and Merritt had to take to set up those meetings and gain entry both

                                  16   into PPRM and PPGC/PPCFC, including showing ID, being personally escorted into the secure-

                                  17   parts of the facilities, and the signing of the PPGC NDA, all indicate circumstances of a

                                  18   reasonable expectation of privacy of those that were recorded. Defendants’ motion for summary

                                  19   judgment on the federal claim is DENIED.

                                  20                          Florida (Count 11)
                                  21          Unlike the federal statute, under Florida law there is no element of subsequent use or

                                  22   disclosure or purpose to commit a criminal or tortious act. But, as with the federal claim, Lopez

                                  23   argues that the Eleventh Circuit in McDonough v. Fernandez-Rundle, 862 F.3d 1314, 1319 (11th

                                  24   Cir. 2017) recognized a separate requirement that those taped must “show externally” and

                                  25   “demonstrate” their expectation that they would not be recorded under Florida law. I have

                                  26
                                  27
                                       96
                                         See Walker v. Darby, 911 F.2d 1573, 1578–79 (11th Cir. 1990) (noting that “courts have found
                                       that an action for violation of the anti-wiretap statute may be maintained even in the absence of an
                                  28   expectation of privacy as generally understood in the Fourth Amendment search and seizure
                                       context”).
                                                                                          85
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                                   1   rejected that argument. The Eleventh Circuit in McDonough simply looked to the facts in that

                                   2   case – including the facts that the conversation at issue was invited by a public official and took

                                   3   place in a public department – in determining that there was no demonstrated expectation of

                                   4   privacy. Defendants cite no case under Florida law imposing an “affirmative” requirement for

                                   5   anyone (other than perhaps public employees) to visibly or audibly communicate that a particular

                                   6   conversation was confidential or “off the record.” This challenge, as with the federal statute,

                                   7   fails.97

                                   8              Defendants also argue, exhibition or demonstration aside, that there is no evidence of a

                                   9   “reasonable” expectation of privacy of the persons recorded, as required under Florida’s law

                                  10   consistent with the Katz factors. See Katz v. United States, 389 U.S. 347 (1967).98 As above, this

                                  11   challenge rests on disputed questions of material fact, considering the steps PPFA took to restrict

                                  12   access to its conferences and the participants’ experiences that their conversations were sensitive,
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                                  13   private, and would not be recorded. That the conversations took place at a conference, in an

                                  14   exhibit hall, or in a lobby do not by themselves mean the conversations were not subject to a

                                  15   subjective and objectively reasonable expectation of privacy. All of the facts and the contexts for

                                  16   each recording have to be considered. See, e.g., Abdo v. State, 144 So. 3d 594, 596 (Fla. 2d Dist.

                                  17   App. 2014) (noting that “conversations occurring inside an enclosed area or in a secluded area are

                                  18   more likely to be protected”) (internal citation omitted).

                                  19              The motion for summary judgment on the Florida statute fails, except as to Merritt. It is

                                  20   undisputed that Merritt never recorded in Florida and, therefore, she cannot be directly liable for

                                  21

                                  22
                                       97
                                          Under the Florida law, “oral communication” is defined “any oral communication uttered by a
                                       person exhibiting an expectation that such communication is not subject to interception under
                                  23   circumstances justifying such expectation and does not mean any public oral communication
                                       uttered at a public meeting or any electronic communication.” Fla. Stat. § 934.02 (2016).
                                  24   Consistent with the federal statute, “what matters under Florida law” is that “if the person whose
                                       conversation or voice is being recorded expects that their conversation or voice will not be
                                  25   recorded and the circumstances justify that expectation and society is prepared to accept that
                                       expectation as reasonable, a violation of section 934.03 has occurred regardless of whether the
                                  26   recorded words are of a private nature or privileged content.” LaPorte v. State, 512 So. 2d 984,
                                       986 (Fla. 2d Dist. App. 1987).
                                  27   98
                                         Considering whether the communications, “were uttered by a person (1) who has a subjective
                                  28   expectation of privacy, and (2) whose expectation was objectively reasonable.” U.S. v. McIntyre,
                                       582 F.2d 1221, 1223 (9th Cir. 1978).
                                                                                       86
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                                   1   this claim.

                                   2                             Maryland (Count 12)
                                   3               This claim is based on recordings defendants made at the 2015 NAF Annual conference in

                                   4   Baltimore, Maryland. Under the Maryland statute, Maryland Code, § 10–402(a)(1) of the Courts

                                   5   and Judicial Proceedings Article, defendants admit that there is no “exhibiting” concern of privacy

                                   6   requirement that they wrongly contend exists under the Florida and federal statutes, but argue that

                                   7   there is no evidence of a “reasonable” expectation of privacy of the persons recorded as required

                                   8   under Maryland law consistent with the federal Katz factors.99 For the reasons just described with

                                   9   respect to the federal and Florida statutes, the motion for summary judgment on Maryland law

                                  10   fails.100

                                  11                             Standing and Dropped Claims
                                  12               Defendants argue that there are standing problems for some of the claims. At the hearing,
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                                  13   plaintiffs conceded they were not asserting claims: (1) for recording Taylor on behalf of PPRM;

                                  14   (2) for recording David on behalf of PPFA; (3) for recording staff of PPNorCal, PPMM, or PPLA

                                  15   under Florida law; and (4) for recording staff of PPNorCal, PPPSW, PPRMM, and PPOSBO

                                  16   under Maryland law.

                                  17                             California (Counts 9-10)
                                  18               The California recording claims are based on recordings defendants made of plaintiffs’

                                  19   staff during the 2014 NAF conference in San Francisco, as well as based on the recordings

                                  20   Daleiden and Merritt made during the two lunch meetings with Gatter/Felczer and Nucatola in

                                  21   Southern California. The persons who were recorded are alleged to be staff of PPFA, PPNorCal,

                                  22

                                  23
                                       99
                                         Section 10–402(a)(1) makes it unlawful for a person “willfully to intercept” a wire, oral, or
                                       electronic communication, but willfulness does not require “knowledge on the part of the
                                  24   defendant that his or her action is unlawful—that it is prohibited by the statute.” Deibler v. State,
                                       365 Md. 185, 188 (2001); id. at 199 (adopting the federal and “moderate conception of the
                                  25   required mental state—purposeful conduct, requiring neither a bad motive nor knowing
                                       unlawfulness”).
                                  26   100
                                           Merritt brings a separate challenge, arguing that prior to the discovery cutoff, plaintiffs failed to
                                  27   identify any video segments that she personally recorded in Baltimore as actionable. Merritt MSJ
                                       at 19-20. Merritt contends that it was only after the discovery cutoff that plaintiffs identified five
                                  28   videos recorded by Merritt. However, as explained below addressing the motion to strike, the
                                       claims based on these recordings remain.
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                                   1   PPCG/PPCFC, and PPPSGV.101

                                   2                          a.      Violation of Penal Code section 632 (Count 9)
                                   3          California Penal Code section 632(a) prohibits the use of a recording device “to eavesdrop

                                   4   upon or record the confidential communication, whether the communication is carried on among

                                   5   the parties in the presence of one another.” “Confidential communication” is defined in Section

                                   6   632(c) as “communication carried on in circumstances as may reasonably indicate that any party

                                   7   to the communication desires it to be confined to the parties thereto, but excludes a

                                   8   communication made in a public gathering or in any legislative, judicial, executive, or

                                   9   administrative proceeding open to the public, or in any other circumstance in which the parties to

                                  10   the communication may reasonably expect that the communication may be overheard or

                                  11   recorded.” “[W]hether a communication is confidential is a question of fact normally left to the

                                  12   fact finder.” Safari Club Intl. v. Rudolph, 862 F.3d 1113, 1126 (9th Cir. 2017).
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                                  13          “A section 632 violation is committed the moment a confidential communication is

                                  14   secretly recorded regardless of whether it is subsequently disclosed.” Lieberman v. KCOP TV,

                                  15   Inc., 110 Cal. App. 4th 156, 164 (Cal. App. 2d Dist. 2003). Statutory damages for violation of

                                  16   section 632, therefore, occur upon recording and actual damage evidence is not required. Id. at

                                  17   167. Actual damages may be awarded, but those “must relate directly to the surreptitious

                                  18   recording,” for example from emotional distress or outrage upon discovering the recording, or to

                                  19   recoup legal expenses to recover the recording, but damages incurred from any subsequent

                                  20   broadcast are generally not allowed under the statute. Id.

                                  21          In addition, California Penal Code section 633.5 provides an exception. It does not

                                  22   “prohibit one party to a confidential communication from recording the communication for the

                                  23   purpose of obtaining evidence reasonably believed to relate to the commission by another party to

                                  24   the communication of the crime of extortion, kidnapping, bribery, any felony involving violence

                                  25   against the person, including, but not limited to, human trafficking . . . or a [domestic violence]

                                  26   violation.” See, e.g., In re Trever P., 14 Cal. App. 5th 486, 488 (Cal. App. 5th Dist. 2017), review

                                  27
                                       101
                                  28      Plaintiffs admit that they no longer assert claims under California law for secret recordings of
                                       staff of PPPSW, PPGC/PPCFC, PPRM, PPOSBC, or PPMM. Pls. Oppo. MSJs at 52 n.35
                                                                                         88
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                                   1   denied (Nov. 15, 2017) (allowing admission of recording where the “victim’s mother reasonably

                                   2   suspected such a crime when she arranged to make the recording.”).

                                   3                                 i.       Standing & Reasonable Expectation of Privacy
                                   4          Daleiden, on behalf of defendants, argues that the California statute is substantively

                                   5   different from the federal, Florida, and Maryland statutes addressed above because the question is

                                   6   not reasonable expectation of privacy in general, but the narrower question of reasonable

                                   7   expectation that the communication would not be “overheard or recorded.” That is generally a

                                   8   question of fact, subject to individualized proof. See Hataishi v. First Am. Home Buyers Protec.

                                   9   Corp., 223 Cal. App. 4th 1454, 1457 (Cal. App. 2d Dist. 2014); but see Reynolds v. City and

                                  10   County of San Francisco, C 09-0301 RS, 2012 WL 1143830, at *6 (N.D. Cal. Mar. 30, 2012),

                                  11   aff'd, 576 Fed. Appx. 698 (9th Cir. 2014) (unpublished) (considering the undisputed

                                  12   circumstances, summary judgment appropriate where “no reasonable trier of fact could conclude
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                                  13   that Reynolds retained an expectation of privacy in his conversation with the stalking suspect that

                                  14   was reasonable, from either a subjective or objective perspective.”). That a conversation was

                                  15   recorded in a public place does not mean a claim is barred. See Safari Club Intl. v. Rudolph, 862

                                  16   F.3d 1113, 1126 (9th Cir. 2017) (“privacy is relative and, depending on the circumstances, one can

                                  17   harbor an objectively reasonable expectation of privacy in a public location.”).

                                  18          Nonetheless, defendants contend that each of the conversations identified as actionable by

                                  19   plaintiffs could have been overheard and therefore no reasonable expectation of privacy exists as

                                  20   to any of them as a matter of law. They also contend that some of the employees were not

                                  21   speaking on behalf of their employers or about their employer’s internal matters during the

                                  22   recordings and, for those, the employer would not have standing. See, e.g., Bona Fide

                                  23   Conglomerate, Inc. v. SourceAmerica, 14CV00751-GPC-DHB, 2016 WL 3543699, at *6 (S.D.

                                  24   Cal. June 29, 2016 (finding standing where defendant “was allegedly recording SourceAmerica

                                  25   employees—including its former general counsel and compliance officer—regarding

                                  26   SourceAmerica’s internal matters.”).

                                  27          PPPSGV Claim/Gatter and Felczer lunch. Defendants argue that Gatter and Felczer, who

                                  28   were recorded at a restaurant in Southern California, were not “employees” of any of the plaintiffs
                                                                                        89
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                                   1   asserting this claim, and, instead, attended the meeting on behalf of plaintiff PPPSGV who is not

                                   2   listed as a plaintiff asserting this claim in the FAC. Defendants contend, therefore, that PPPSVG

                                   3   cannot assert the Penal Code claim (nor the invasion of privacy claim) on behalf of Gatter or

                                   4   Felczer. Merritt MSJ at 21-22.

                                   5             Plaintiffs have consistently asserted during discovery and all phases of litigation

                                   6   subsequent to the FAC that they intend to base the California recording claim in significant part on

                                   7   this lunch, and PPPSGV claimed damages from the lunch recordings. In addition, defendants

                                   8   actually deposed Gatter about the circumstances surrounding the lunch meeting. They had

                                   9   adequate notice of all facts relevant to this claim. Even if leave to amend were necessary to

                                  10   correct the failure of plaintiffs to identify PPPSGV as the entity asserting this claim, amendment is

                                  11   granted because of the lack of prejudice to defendants.

                                  12             Defendants next assert that Gatter and Daleiden agree that parts of the lunch meeting
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                                  13   conversation could be overhead by wait staff. Daleiden Decl. [Dkt. No. 609-1], ¶ 22 (“Multiple

                                  14   times, wait staff approached and serviced our table and remained at the table while our

                                  15   conversation continued. During the course of our conversation, there were other restaurant

                                  16   patrons seated nearby our table. I noted that I could overhear the conversations of restaurant

                                  17   patrons seated around us, and therefore concluded that they could overhear us as well. I attended

                                  18   Dr. Gatter’s deposition in this case and I agree with her that the third parties in the restaurant could

                                  19   overhear our conversation.”).102 They argue that neither Gatter nor Felczer, therefore, had a

                                  20   reasonable expectation that the communication would not be “overheard or recorded” as a matter

                                  21   of law.

                                  22             Plaintiffs respond that Gatter believed the conversations she and Felczer had at that lunch

                                  23   were private and confidential. The restaurant was “largely empty,” the party was seated in a

                                  24   booth, and there was loud music playing. Those facts would inhibit others from overhearing the

                                  25   conversations. Gatter Decl. [Dkt. No. 95] ¶ 5. Gatter also cautioned defendants to be “discrete”

                                  26   when wait staff were near; she did not disclose confidential information when the wait staff could

                                  27
                                       102
                                  28      Plaintiffs object to paragraph 20-22 as to whether others could overhear as speculative. Those
                                       objections are OVERRULED.
                                                                                        90
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                                   1   overhear. Gatter Depo. at 269-274, 279-281. These different characterizations of the

                                   2   circumstances, and the reasonableness of Gatter’s beliefs, raise material disputes of fact precluding

                                   3   summary judgment on these claims.

                                   4          PPFA Claims/Nucatola. Nucatola was recorded during a lunch meeting in Southern

                                   5   California by Daleiden and Merritt and at the NAF 2014 conference in San Francisco. Defendants

                                   6   argue that Nucatola admitted in her deposition that she attended the lunch meeting in her “personal

                                   7   capacity,” that she was not authorized to disclose any confidential PPFA information at the lunch,

                                   8   and that she did not disclose any confidential information at the lunch. In light of Nucatola’s

                                   9   “admissions,” Daleiden and Merritt argue that she could not have disclosed any information about

                                  10   PPFA and that PPFA does not have standing to pursue this claim on her behalf with respect to the

                                  11   lunch meeting.

                                  12          In response, plaintiffs point out that the Penal Code section 637.2 expressly defines
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                                  13   corporations as persons who can sue, and cases have explained that corporations have standing

                                  14   where recordings were made of their employees discussing the corporation’s “internal matters.”

                                  15   See Bona Fide Conglomerate, Inc. v. SourceAmerica, 14CV00751-GPC-DHB, 2016 WL

                                  16   3543699, at *6. It is undisputed that Nucatola attended the 2014 NAF conference in San

                                  17   Francisco – where she was recorded103 – as an employee of PPFA. It was her introduction to

                                  18   Daleiden and “BioMax” at that conference which led directly to the lunch meeting. There is also

                                  19   evidence that Nucatola was targeted by defendants precisely because she could and did divulge

                                  20   information about PPFA’s practices, and the HCP videos featured Nucatola’s PPFA business card

                                  21   in its segments about Nucatola. Pls. Oppo. MSJ at 54-55 (citing evidence of text accompanying

                                  22   YouTube video from HCP); see also Mayo Oppo. Decl., Ex. 51 (transcript of Nucatola

                                  23   recording).104 Finally, plaintiffs assert that it was the disclosure of PPFA’s internal matters by

                                  24
                                       103
                                  25       Plaintiffs note that defendants do not dispute that Nucatola testified at her deposition that she
                                       attended the NAF Conference, where she was recorded, as both a PPFA and PPLA employee, and
                                  26   that she was employed by PPFA at that time. Those two Nucatola recordings (#68-69), are subject
                                       to defendants’ motion to strike but, as discussed below, remain in this case.
                                  27   104
                                          Defendants object to the transcript on the grounds of lack of authentication and as it was not
                                  28   previously produced. The objections are OVERRULED. To the extent the parties are going to
                                       introduce or otherwise rely on transcripts of recordings at trial, they shall meet and confer
                                                                                        91
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                                   1   Nucatola at the lunch meeting that impacted it and supports its standing.

                                   2          All of this shows that there are questions of fact whether Nucatola attended the lunch

                                   3   meeting in her “personal capacity” and whether the information disclosed was about PPFA’s

                                   4   internal matters sufficient to provide PPFA standing.105

                                   5          As to reasonable beliefs and whether their lunch conversation could be overheard,

                                   6   defendants argue that Nucatola also repeatedly confirmed in her deposition that their conversation

                                   7   could be overhead by wait staff. However, while parts of the conversation were overheard,

                                   8   Nucatola testified that her position in the booth at the back of the restaurant allowed her to

                                   9   perceive when she might be overheard and that she “stopped talking” about sensitive information

                                  10   when wait staff approached. Nucatola Depo. 243-246. As with the Gatter/Felczer recordings, the

                                  11   different characterization of the circumstances, and the reasonableness of Nucatola’s beliefs, raise

                                  12   material disputes of fact.
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                                  13          The final video segment that is a basis of PPFA’s California recording claim is Doe1023,

                                  14   and video #35. Defendants address this segment in passing, contending that PPFA’s witness

                                  15   undermined this claim because that witness – when showed the video – “agreed that [he]

                                  16   potentially could be overheard.” Minow Depo. at 265-267. But the deponent also pointed out the

                                  17   loud level of background noise, refused to agree that any particular conversation could be

                                  18   overheard, and explained the general expectation of confidentiality amongst attendees. Id. Again,

                                  19   whether some of all of the recorded conversation could be overheard, and whether the individual

                                  20   actually involved had reasonable beliefs that the conversations, or the sensitive parts of those

                                  21   conversations, could or could not be overheard, raise material disputes of fact precluding summary

                                  22   judgment.

                                  23          PPNorCal’s Claims. Defendants assert that PPNorCal lacks standing because Doe8002 is

                                  24

                                  25
                                       to provide an agreed-to transcription unless there are material differences that preclude
                                  26   agreement.

                                  27
                                       105
                                          Merritt separately argues that Nucatola did not disclose “confidential information,” but whether
                                       disclosure of “internal matters” was sufficient to confer standing on PPFA and whether the
                                  28   “communication” was reasonably expected to be confidential are issues for the jury.

                                                                                         92
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                                   1   not an employee of PPNorCal but “merely a contract abortion provider” and because PPNorCal

                                   2   testified that it does not generally pay for “contract providers” to attend conferences and had no

                                   3   specific knowledge whether Doe8002 attended the NAF conference on behalf of PPNorCal.

                                   4   Plaintiffs respond that Doe8002 was a part-time physician; while PPNorCal classifies such part-

                                   5   time physicians as “contractors,” they are nonetheless considered “staff.” Plaintiffs also submit

                                   6   evidence that PPNorCal expected its providers, like Doe8002, to routinely attend these

                                   7   conferences as part of their PPNorCal duties. Plaintiffs also point out that Doe8002 was asked

                                   8   about and divulged information about PPNorCal’s internal matters, which is sufficient to confer

                                   9   standing. There are, again, disputes of fact as to PPNorCal’s standing to pursue this claim.

                                  10          Defendants next argue that the conversations of Doe8001 and Doe8002 could both be

                                  11   overheard. But the only evidence to support this comes from the questioning of PPNorCal’s Rule

                                  12   30(b)(6) witness, who speculated that people passing by the conversation might have been able to
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                                  13   overhear it. Again, that creates a question of fact for the jury to weigh. Simply because the

                                  14   conversations at issue were recorded in an exhibit hall where many people were conversing and

                                  15   milling about does not necessarily make the recorded communications not confidential or fatally

                                  16   undermine a reasonable belief of privacy. Additional factors, including that NAF restricted access

                                  17   to the exhibit hall during the conference and that the participants were vetted (having signed

                                  18   confidentiality agreements and secured access badges), raise material questions of fact precluding

                                  19   summary judgment. See, e.g., Safari Club Intl., 862 F.3d at 1125 (the fact a conversation took

                                  20   place in public place was to be weighed in connection with the context of who parties believed

                                  21   they were speaking to among other factors).

                                  22          PPGC/PPCFC’s Claims. Defendants contend that no individual shown in video #2 is

                                  23   affiliated with PPCFC because PPCFC’s Rule 30(b)(6) witness could not identify PPCFC’s lead

                                  24   educator (Doe9001) in that recorded segment. However, Doe9001identified herself as an

                                  25   employee of Planned Parenthood “from Houston” in the recording. While defendants object that

                                  26   this identification is “hearsay,” and instead want PPGC to be bound to its Rule 30(b)(6) witness’s

                                  27   failure to recognize Doe9001, there is a sufficient dispute of fact to confer standing and allow this

                                  28
                                                                                        93
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                                   1   segment to remain in the case.106

                                   2                                      ii.    Intentional Communications
                                   3               Defendants assert that the California statute, unlike the federal, Maryland, and Florida

                                   4   statutes discussed above, requires malintent; evidence that defendants intended to record a

                                   5   conversation that they knew others could not reasonably overhear. In support, Daleiden explains

                                   6   that he has been acutely aware of Section 632 since the inception of the HCP and that he even had

                                   7   to present evidence to donors that CMP would not violate Section 632. He directed that “CMP

                                   8   personnel only videotape in California at large tradeshows and in public restaurants.” Daleiden

                                   9   Decl. ¶ 19. Because Daleiden had “no purpose or desire” to record confidential conversations in

                                  10   California, he argues that summary judgment must be granted.

                                  11               As support, defendants rely on People v. Super. Ct. of Los Angeles County, 70 Cal. 2d 123,

                                  12   133 (1969). There, the court noted that it was “not the purpose of the statute to punish a person
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                                  13   who intends to make a recording but only a person who intends to make a recording of a

                                  14   confidential communication” and rejected argument that “the mere intent to activate a tape

                                  15   recorder which subsequently ‘by chance’ records a confidential communication is sufficient to

                                  16   constitute an offense.” That case does not address malintent, but chance intent. More recent

                                  17   opinions have confirmed that the “test of confidentiality is objective. [The recorder’s] subjective

                                  18   intent is irrelevant.” Coulter v. Bank of Am., 28 Cal. App. 4th 923, 929 (Cal. App. 4th Dist. 1994).

                                  19   Therefore, even if Daleiden had the intent to avoid recording what he perceived were confidential

                                  20   communications because of the risk, his mere belief that by recording in public places he would

                                  21   not violate the statute does not immunize his actions. These recorded conversations were not “by

                                  22   chance” but were intended. Whether all of the participants to them had an objectively reasonable

                                  23   expectation that they were “confidential communications” under Section 632 will be determined at

                                  24   trial.107

                                  25
                                       106
                                  26       Daleiden also challenges any California recording claims asserted by PPRM and PPOSBC, but
                                       plaintiffs have clarified they are no longer pursing those claims on behalf of those entities. Pls.
                                  27   Oppo. MSJ at 52 n.35.

                                  28
                                       107
                                           There is also evidence that Rhomberg advised Daleiden to choose “a quiet corner table, alcove,
                                       et cetera” for the meetings “so you can have some good private conversation, without too much
                                                                                       94
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                                                                      iii.    633.5
                                   1
                                               Both sides move for summary judgment on defendants’ affirmative defense under Penal
                                   2
                                       Code section 633.5. Defendants argue that because Daleiden and other CMP personnel had
                                   3
                                       reasonable beliefs that plaintiffs were engaged in violent felonies against fetuses and women and
                                   4
                                       that the purpose of each recording was to secure evidence related to those suspected felonies,
                                   5
                                       defendants are entitled to summary judgment. Defendants rely on their contention that the goal of
                                   6
                                       the HCP was to uncover federal crimes regarding sale of fetal tissue, brought about in part by
                                   7
                                       violations of the Partial Birth Abortion Ban and practices dangerous to women. Daleiden MSJ
                                   8
                                       Decl. ¶¶ 23 – 52.108 However, whether the defendants genuinely believed the targets of their
                                   9
                                       recordings would disclose evidence regarding commission of violence felonies during the
                                  10
                                       recorded conversations and whether those beliefs, if genuinely held, were reasonable, are
                                  11
                                       questions of fact for the jury to decide, weighing evidence of what the defendants knew at the time
                                  12
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                                       they first started recording for the HCP, how they selected their targets, and who their targets
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                                  13
                                       were.
                                  14
                                               That said, whether defendants secured evidence of the commission of violent felonies in
                                  15
                                       some or all of the conversations is not material. The focus is on what the defendants knew at the
                                  16
                                       time they made their first recording for the HCP. People v. Parra, 165 Cal. App. 3d 874, 879–80
                                  17
                                       (Cal. App. 1st Dist. 1985) (concluding that the “recording was clearly for the purpose of obtaining
                                  18
                                       evidence of appellant’s intent to carry out her prior written threats of physical violence; that
                                  19
                                       [recorder] did not succeed in accomplishing such purpose does not alter that purpose. Thus,
                                  20
                                       [recorder’s] uncontradicted testimony of why he recorded the appellant’s voice was sufficient to
                                  21
                                       except that recording from the prohibition of section 632.”).
                                  22
                                               Plaintiffs seek summary judgment on the inapplicability of this defense. They argue that
                                  23
                                       this section does not apply to any of the recorded conversations because defendants had no
                                  24

                                  25

                                  26   noise.” Mayo Oppo. Decl., Ex. 58 (May 2015 email). Plaintiffs argue that this shows Daleiden
                                       himself took steps to increase the privacy of the conversation, despite the public location.
                                  27   108
                                           The parties dispute whether a violation of the Partial Birth Abortion Ban, 18 U.S.C. § 1531
                                  28   would qualify as a “violent felony” covered by Section 633.5. I need not resolve that to decide
                                       this motion, but will simply assume it could.
                                                                                         95
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                                   1   reasonable belief that the individuals they actually recorded were the ones who had or might

                                   2   commit a violent felony. They point out that the statutory scheme uses the word “person” in

                                   3   Section 632(a) – which as noted is broadly defined to include corporations and others – but

                                   4   “another party” in Section 633.5. Plaintiffs assert that use of the narrower term “party” was an

                                   5   intentional effort to limit the exception to situations where the recorder reasonably believed that

                                   6   the specific person they were recording was the one who had or might commit the violent felony.

                                   7   They contend that there is no evidence in the record that defendants had any specific belief that

                                   8   any of the staff defendants’ recorded at NAF 2014, many of whom the defendants came across by

                                   9   happenstance, had personally committed or might commit the violent felonies identified by

                                  10   defendants (violence to a fetus made illegal under the Partial Birth Abortion Ban or violence to a

                                  11   woman). Nor is there evidence that defendants had specific knowledge that Gatter or Nucatola

                                  12   personally committed or planned to commit one of those felonies other than that they had
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                                  13   “participated in fetal tissue procurement.” Fetal tissue procurement, by itself, is not a violent

                                  14   felony. See Pls MSJ at 31 (citing evidence in record showing defendants’ lack of knowledge

                                  15   regarding specific staff prior to the recordings).

                                  16          Defendants respond, first, that whether any defendant’s belief was “reasonable” is

                                  17   inherently a question of fact to be resolved by the jury. Second, they dispute plaintiffs’ narrow

                                  18   interpretation of “party” in Section 633.5. They proffer, instead, that the reasonable belief

                                  19   necessary is only that the recording might obtain evidence relating to the commission of a violent

                                  20   felony by a person, not just the person being recorded.

                                  21          Defendants rely on People v. Suite, 101 Cal. App. 3d 680 (Cal. App. 1st Dist. 1980), but in

                                  22   that case – where a criminal defendant sought to exclude the police recording of his calls of bomb

                                  23   threats – the Court of Appeal noted first that it “was ludicrous” for the defendant to argue his calls

                                  24   were confidential communications because “[s]urely a telephone call to the law enforcement

                                  25   officials of a state university, threatening that a bomb has been placed and set to go off in a

                                  26   university building, is not a confidential communication within the meaning of the statute.” Id. at

                                  27   688. To dispel all doubt about whether the call was a confidential communication, the court

                                  28   simply held in that particular circumstance, a “bomb threat unquestionably involves the potential
                                                                                            96
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                                   1   for such violence” under Section 633.5. The court did not in any way reach the question of

                                   2   whether Section 633.5 exempted from 632 recordings of persons who were not personally

                                   3   suspected of committing any crimes.

                                   4          Defendants then argue that section 632(a)’s only use of “person” as opposed to “party” –

                                   5   the distinction relied on by plaintiffs – is in reference to the “person” who does the recording in

                                   6   violation of the statute, not in reference to the “party” who was recorded. They point out that to

                                   7   provide plaintiffs with standing in the first instance, as a corporation defined as a “person” in

                                   8   Section 632(b), plaintiffs necessarily define “person” and “party” coextensively. Defendants

                                   9   contend that plaintiffs’ motion should be denied because they merely recorded the “corporations”

                                  10   who are the plaintiffs here in order to secure evidence that defendants reasonably believed would

                                  11   show those corporations commit violent felonies.

                                  12          Moving beyond the statutory construction issue, the parties spend much time disputing the
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                                  13   evidence that Daleiden had regarding the commission of violent felonies prior to recording

                                  14   plaintiffs’ staff. However, it is undisputed that neither Daleiden nor any other defendant had

                                  15   evidence that any plaintiff or their staff members had violated the Partial Birth Abortion Ban,

                                  16   harmed a woman in order to harvest fetal tissue, or committed any other violent felony covered by

                                  17   Penal Code section 633.5. Daleiden did have evidence that some affiliates had sold fetal tissue,

                                  18   but that is not a violent felony. Daleiden MSJ Decl. ¶¶ 29-31, 42.109 Daleiden also had evidence

                                  19   that two companies, who had contracts with two plaintiff-affiliates at different points and who

                                  20   shared staff with plaintiff-affiliates, might have secured tissues from unidentified abortion

                                  21   providers that had possibly violated the Partial Birth Abortion Ban. Id. ¶¶ 32-34, 40, 42-46. But

                                  22   defendants point to no evidence that those companies secured those particular tissues from any

                                  23   Planned Parenthood affiliate or plaintiff staff member, or even that those tissues were secured by

                                  24   those companies during the general times that plaintiff-affiliates had contracts with them. Instead,

                                  25   Daleiden made assumptions that, given his belief as to the percentages of times fetuses are born

                                  26
                                  27
                                       109
                                          Plaintiffs object to the paragraphs of Daleiden’s declaration where he discusses his “evidence
                                       of violent felonies” arguing the statements are hearsay to the extent offered for truth, but I do not
                                  28   rely on these statements for the truth of the matters asserted. The objections on that ground are
                                       OVERRULED.
                                                                                         97
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                                   1   alive and the “financial incentives” some abortion clinics might sell tissue, that some Planned

                                   2   Parenthood affiliates must be engaging in violent felonies. Id. ¶ 38. As to Merritt, the only other

                                   3   individual defendant who actually recorded in California, her knowledge was apparently based

                                   4   exclusively on what Daleiden told her as well as her “general” knowledge from being active in the

                                   5   anti-abortion movement for decades. Merritt Depo. 47-55.

                                   6          On this record, although defendants’ “evidence” is based on inferences and assumptions, I

                                   7   cannot say as a matter of law that no juror could find that what defendants Daleiden and Merritt

                                   8   believed about plaintiffs committing violent felonies was unreasonable as a matter of law. That is

                                   9   inherently a question of fact that goes to the jury. Plaintiffs’ motion for summary judgment on the

                                  10   Section 633.5 defense is DENIED.

                                  11                                 iv.     Individual Defendants
                                  12          There is no dispute that Daleiden and Merritt are appropriate, identified defendants under
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                                  13   this claim. BioMax (as the front company they purported to represent) and CMP (as the real

                                  14   company who they represented and who paid Merritt as a contractor) are likewise appropriate and

                                  15   identified defendants.

                                  16          Lopez is also identified as a defendant on this claim. Plaintiffs argue that any belief Lopez

                                  17   had about plaintiffs’ commissions of violent felonies came through Daleiden and, therefore, was

                                  18   inherently unreliable. Pls. MSJ at 31 n.30. It is undisputed that Lopez did not record anyone in

                                  19   California. Plaintiffs have not identified any alter ego or agency theory as to Lopez. Therefore,

                                  20   the only possible way Lopez could be liable is under the Conspiracy claim (Count 3), that

                                  21   defendants agreed to “defraud Plaintiffs and to injure Plaintiffs with a pattern of fraudulent and

                                  22   malicious conduct” in connection with setting up and making fraudulent misrepresentations about

                                  23   BioMax, securing access to plaintiffs’ conferences and staff through misrepresentations, engaging

                                  24   in an ongoing campaign to surreptitiously videotape plaintiffs’ staff, and by creating, transferring,

                                  25   and maintaining false identities and documentation to obtain access to conferences and facilities.

                                  26   FAC ¶ 173. The conspiracy claim expressly encompasses surreptitious recordings. Given the

                                  27   allegations against Lopez, this claim survives as to him only for a conspiracy to violate Penal

                                  28   Code section 632.
                                                                                        98
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                                   1            Similarly, while Rhomberg and Newman are not identified as defendants to this claim,

                                   2   plaintiffs do assert that Rhomberg’s and Newman’s beliefs as to the alleged commission of violent

                                   3   felonies are “inherently unreliable.” Pls MSJ at 31 n.30. As CMP was named as a defendant,

                                   4   plaintiffs may be hinging Rhomberg and Newman’s direct liability on an alter ego theory.

                                   5   Consistent with the analysis above, plaintiffs have failed to raise undisputed or material disputed

                                   6   facts in support of a finding of alter ego as to Rhomberg or Newman. Instead, as with Lopez,

                                   7   Rhomberg and Newman may be held indirectly liable under the conspiracy claim. See FAC ¶ 173

                                   8   (“co-conspirators knowingly and willfully conspired and/or agreed among themselves to defraud

                                   9   Plaintiffs and to injure Plaintiffs with a pattern of fraudulent and malicious conduct, including . . .

                                  10   engaging in an ongoing campaign to surreptitiously videotape Plaintiffs’ staff in violation of

                                  11   law”).

                                  12                           b.     Criminal Trespass Under Penal Code § 634, with intent to
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                                                                      violate § 632 (Count 10)
                                  13
                                                The violation of California Penal Code section 634 is based on the alleged trespass to the
                                  14
                                       NAF 2014 conference in San Francisco, with the “intent” to illegally record the video segments
                                  15
                                       identified above under Section 632.110 Section 634 covers “trespasses on property for the purpose
                                  16
                                       of committing any act, or attempting to commit any act” in violation of Section 632. Defendants,
                                  17
                                       through Daleiden, argue that this claim fails because plaintiffs have not shown that NAF had a
                                  18
                                       sufficient “possessory” interest in the 2014 conference facilities, and therefore, the right to be able
                                  19
                                       to exclude others from the San Francisco conference. Defendants also argue that the Section 634
                                  20
                                       claim fails because the Section 632 claim fails, plaintiffs were not injured by any criminal
                                  21
                                       trespass, and the claim is impermissibly duplicative of the Section 632 claim as it seeks the same
                                  22
                                       damages.
                                  23
                                                Defendants argue that for the same reasons the common law trespass fails as to PPFA’s
                                  24
                                       conference hotels and possessory interest, the claim fails with respect to NAF’s lack of adequate
                                  25
                                       possessory interest. Defendants contend that plaintiffs have no evidence regarding NAF’s
                                  26
                                  27
                                       110
                                  28      The restaurant recordings of Gatter/Felczer and Nucatola are not alleged as grounds for the
                                       Section 634 claim.
                                                                                       99
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                                   1   possessory interest, they simply assume it “based on the risk that [PPFA] was aware of at the

                                   2   time.” Minow Depo. at 159-160. However, as I have discussed with respect to the similar PPFA

                                   3   conference contracts, the evidence established a sufficient possessory interest. Here, defendants

                                   4   do not identify any provision in the NAF contract that indicates that NAF had less possessory

                                   5   interest in its conference space than PPFA did under its contracts, or any other reason why the

                                   6   analysis should be different with respect to the NAF conference.

                                   7          With respect to the Section 632 claim and duplication, defendants note that the provision

                                   8   allowing for a civil action, Cal. Penal Code section 637.2, provides: “Civil action by person

                                   9   injured; injunction:” “(a) Any person who has been injured by a violation of this chapter may

                                  10   bring an action against the person who committed the violation for the greater of the following

                                  11   amounts . . . .” They argue that this language allows for one recovery for the violation of “this

                                  12   section” and that means one claim stemming from the NAF conference. Franklin v. Ocwen Loan
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                                  13   Servicing, LLC, 18-CV-03333-SI, 2018 WL 5923450, at *7 (N.D. Cal. Nov. 13, 2018), order

                                  14   clarified, 18-CV-03333-SI, 2019 WL 452027 (N.D. Cal. Feb. 5, 2019) (concluding Cal. Penal

                                  15   Code section 637.2 “does not provide per violation statutory damages”). Plaintiffs respond that at

                                  16   this juncture they are allowed to plead claims in the alternative, and if they fail on Section 632

                                  17   with the jury, they may nonetheless recover under Section 634. I agree.

                                  18          Finally, with respect to injury flowing to these plaintiffs from the NAF 2014 conference

                                  19   trespass, defendants argue that the only harm from the trespass could be injury to the hotel or

                                  20   NAF, but not plaintiffs. However, the statute itself notes, “It is not a necessary prerequisite to an

                                  21   action pursuant to this section that the plaintiff has suffered, or be threatened with, actual

                                  22   damages.” Cal. Penal Code § 637.2(c). Similarly, the fact that “publication damages” are not

                                  23   available, as outlined above, does not mean plaintiffs cannot seek a remedy under this section.

                                  24          Separately, Merritt argues that plaintiffs have identified no videos that she personally

                                  25   recorded during the 2014 NAF conference as being actionable and, therefore, this claim fails as to

                                  26   her. However, the statute covers trespass “for the purpose,” and there is a material dispute of fact

                                  27   as to Merritt’s purpose. She is not out of this claim on summary judgment.

                                  28
                                                                                         100
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                                              G.      Invasion of Privacy
                                   1
                                              Defendants move for summary judgment on the two “invasion of privacy, intrusion on
                                   2
                                       seclusion” claims. I will address each in turn.
                                   3
                                                              Intrusion on a Private Place (Count 13)
                                   4
                                              The first intrusion claim under “common law,” is brought by all plaintiffs against
                                   5
                                       defendants Daleiden, Merritt, Lopez, CMP, and BioMax. As alleged in the Amended Complaint,
                                   6
                                       this claim is based on defendants’ intrusions at the PPFA conferences (in Miami, Orlando, and
                                   7
                                       Washington, DC) and the NAF conferences (in San Francisco and Baltimore), as well as on the
                                   8
                                       intrusions in the PPGC/PPCFC facility in Texas and the PPRM facility in Colorado.
                                   9
                                              In opposition, however, plaintiffs only discuss this claim with respect to the intrusions into
                                  10
                                       facilities in Colorado and Texas (addressing only Colorado and Texas law) and with respect to the
                                  11
                                       taped lunches with Gatter and Nucatola (under California law). Plaintiffs do not address the
                                  12
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                                       intrusion claim with respect to their conferences. In my Tentative Ruling and Procedure Order
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                                  13
                                       (Dkt. No. 718), I asked plaintiffs to confirm whether they were dropping these claims with respect
                                  14
                                       to the conferences. In response, they clarified that they were pursuing the invasion of privacy
                                  15
                                       claim under Colorado law for PPRM and for PPGC under Texas law, and presumably although
                                  16
                                       not stated, the common law claims for Gatter and Nucatola under California law. July 17, 2019
                                  17
                                       Hearing Transcript at 55. I will confine my analysis accordingly.
                                  18
                                                              a.      Privacy Interest Under Colorado and Texas Law
                                  19
                                              Lopez contends that the intrusion claims fail under Colorado and Texas law because no
                                  20
                                       “private information” was gleaned from anyone during the recordings at either PPMM or
                                  21
                                       PPCG/PPCFC. These were instead “business meetings” about business proposals that cannot
                                  22
                                       form the basis of an invasion of privacy claim. See Smith v. Colorado Interstate Gas Co., 777 F.
                                  23
                                       Supp. 854, 857 (D. Colo. 1991) (dismiss “intrusion of seclusion” claim because “the allegations
                                  24
                                       do not involve invasions of Smith’s personal solitude or personal affairs. . . . Instead, the
                                  25
                                       allegations concern Smith’s business affairs.”); see also Patton v. United Parcel Serv., Inc., 910 F.
                                  26
                                       Supp. 1250, 1276 (S.D. Tex. 1995) (no intrusion on seclusion case where defendants demanded
                                  27
                                       plaintiff answer questions during business hours and on business premises regarding business
                                  28
                                                                                         101
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                                   1   investigation).

                                   2          In opposition, plaintiffs dispute the assertion that Colorado or Texas protect only intrusions

                                   3   which disclose “private information.” Instead, they argue these states follow the Restatement

                                   4   (Second) of Torts § 652B (1981), which provides: “One who intentionally intrudes, physically or

                                   5   otherwise, upon the solitude or seclusion of another or his private affairs or concerns, is subject to

                                   6   liability to the other for invasion of his privacy, if the intrusion would be highly offensive to a

                                   7   reasonable person.” See Doe v. High-Tech Inst., Inc., 972 P.2d 1060, 1065 (Colo. App. 1998)

                                   8   (adopting § 652B); Valenzuela v. Aquino, 853 S.W.2d 512, 513 (Tex. 1993) (applying § 652B

                                   9   test).111 However, even if disclosure of private information is required to sustain the intrusion

                                  10   torts under Colorado and Texas law, plaintiffs submit evidence that at least some of the

                                  11   information disclosed during defendants’ visits to the PPGC/PPCFC and PPRM facilities could be

                                  12   considered “private” by those recorded. Pls. Oppo. MSJ at 83.
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                                  13          That theme was continued by plaintiffs during the hearing where they posited that given

                                  14   the context of this industry and the sensitive nature of the information being discussed – which is

                                  15   more personal, more private, and akin to medical information – Colorado and Texas laws would

                                  16   protect it from invasion. Plaintiffs point to no specific facts or specific content from any of the

                                  17   videos at issue to support their argument that the information disclosed by PPRM or

                                  18   PPCG/PPCFC is akin to “personal” information covered by the tort. Instead, they admit that

                                  19   defendants sought and received “sensitive information about the rate and types of abortions

                                  20
                                       111
                                  21       Defendants also rely on Morrison v. Weyerhaeuser Co., 119 Fed. Appx. 581, 589 (5th Cir.
                                       2004) (unpublished). That case rejected an invasion of privacy claim in connection with an
                                  22   investigation into a workplace accident when a supervisor insisted on attending a medical exam
                                       following the accident. Id. at 589 (because plaintiff testified “he did not have an expectation of
                                  23   privacy in anything that occurred at the examination” room and it was “doubtful that Morrison had
                                       a reasonable expectation of privacy in information sought by the employer as part of an
                                  24   investigation directly related to its business interests.”). Defendants also rely on Pascouau v.
                                       Martin Marietta Corp., 185 F.3d 874 (10th Cir. 1999). In that case the court confirmed that
                                  25   “Colorado law requires” plaintiff “to show that another person ‘has intentionally intruded,
                                       physically or otherwise, upon [her] seclusion or solitude,’ and that a reasonable person would
                                  26   consider such intrusion offensive,” but explained that the “tort of intrusion into seclusion requires
                                       more than a mere inquiry that reveals nothing.” Id. at *14 (invasion claim failed where plaintiff
                                  27   had been asked sexually suggestive questions but which were not answered because “liability
                                       attaches only to an unconsented invasion through physical or other means that actually gleans
                                  28   private information.”). These cases support defendants’ position that the information actually
                                       disclosed must be private to the person disclosing it.
                                                                                          102
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                                   1   procedures performed, how Plaintiffs work with research partners, and Planned Parenthood

                                   2   policies and internal considerations about fetal tissue donation.” Id. That information is not

                                   3   “private” to any person in particular – and therefore not personal – although it may be considered

                                   4   confidential and sensitive by PPRM or PPCG/PPCFC.

                                   5          When asked at the hearing to identify any cases that covered corporate information of the

                                   6   type disclosed here, plaintiffs identified Arroyo v. Rosen, 102 Md. App. 101 (Md. Spec. App.

                                   7   1994).112 In that case, the invasion of privacy verdict was upheld based on the disclosure of a

                                   8   confidential report issued by a University committee concluding a professor may have falsified

                                   9   data in published articles. Id. at 106. While the underlying investigation and disclosure occurred

                                  10   in the context of a business (a university), the information disclosed was personal to the professor.

                                  11   Plaintiffs have no evidence of a similar intrusion into private affairs or concerns with respect to the

                                  12   PPRM and PPFC tapings.
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                                  13          Summary judgment is GRANTED to defendants on Count 13 with respect to claims under

                                  14   Colorado and Texas Law.

                                  15                          b.      California Common Law Claims
                                  16          Plaintiffs are also asserting common law invasion claims for the taping of Gatter and

                                  17   Nucatola at the lunches in Southern California. Under California law, the “intrusion tort” has “two

                                  18   elements: (1) intrusion into a private place, conversation or matter, (2) in a manner highly

                                  19   offensive to a reasonable person.” Sanders v. Am. Broad. Companies, Inc., 20 Cal. 4th 907, 914

                                  20   (1999). “Privacy for purposes of the intrusion tort must be evaluated with respect to the identity

                                  21   of the alleged intruder and the nature of the intrusion.” Id. at 918. And, particularly relevant to

                                  22   this case, the Sanders court noted that “that a person may reasonably expect privacy against the

                                  23   electronic recording of a communication, even though he or she had no reasonable expectation as

                                  24   to confidentiality of the communication’s contents.” Id. at 915. Taken together, whether a

                                  25   “reasonable expectation of privacy is violated by such recording depends on the exact nature of

                                  26   the conduct and all the surrounding circumstances. In addition, liability under the intrusion tort

                                  27
                                       112
                                  28      Plaintiffs and defendants agree that Maryland law is consistent with Colorado and Texas law
                                       with respect to intrusion claims.
                                                                                      103
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                                   1   requires that the invasion be highly offensive to a reasonable person, considering, among other

                                   2   factors, the motive of the alleged intruder.” Id. at 911.

                                   3             Lopez, arguing on behalf of the defendants, essentially admits that with respect to the

                                   4   recording of Gatter and Nucatola, this question goes to the jury. Nonetheless, defendants

                                   5   challenge the standing of PPPSGV and PPFA to assert these claims on behalf of Gatter and

                                   6   Nucatola and assert that the newsworthiness of the information uncovered in those recordings

                                   7   precludes the California claims as matter of law.

                                   8                                    i.     Standing
                                   9             Defendants argue that plaintiffs cannot establish the required “associational” or third-party

                                  10   standing sufficient to assert the intrusion claims on behalf of their staff who were recorded.

                                  11   Plaintiffs respond that the PPPSGV and PPFA have standing to pursue the claims under California

                                  12   law with respect to the taping of their employees at the lunch meetings. Standing, they argue,
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                                  13   exists because: (1) PPPSGV and PPFA have alleged “injury in fact” to themselves – at a

                                  14   minimum they incurred costs with respect to personal security for these targeted staff; and (2) they

                                  15   are a “proper proponent” of the legal rights on which the claim is based. Pls. Oppo. MSJ at 83.113

                                  16   Plaintiffs also argue that considering the threats that these individuals, including Gatter and

                                  17   Nucatola, experienced following the disclosures, the individuals were reluctant to be named as

                                  18   plaintiffs themselves, a concern well recognized under California law. See, e.g., Novartis

                                  19   Vaccines & Diagnostics, Inc. v. Stop Huntingdon Animal Cruelty USA, Inc., 143 Cal. App. 4th

                                  20   1284, 1298 (Cal. App. 1st Dist. 2006) (concluding employer had standing to assert privacy claims

                                  21   on behalf of employees, in part because “[i]t is unlikely that employees who had already been

                                  22   targeted by SHAC USA would permit themselves to be further targeted by becoming a named

                                  23   party to a lawsuit.”).114

                                  24
                                       113
                                  25      Plaintiffs rely on McCormack v. Herzog, 788 F.3d 1017 (9th Cir. 2015), which considered
                                       those two factors to determine whether a physician had third-party standing to challenge laws
                                  26   regarding abortion on behalf of himself and his patients. Lopez’s reliance on cases recognizing
                                       that corporations do not “a common law right to privacy and therefore cannot bring an action for
                                  27   invasion of privacy” is not helpful as those cases do not discuss the third-party standing asserted
                                       here. See, e.g., Coulter v. Bank of Am., 28 Cal. App. 4th 923, 930 (Cal. App. 4th Dist. 1994).
                                  28   114
                                             Daleiden argues Novartis is distinguishable from this case because there are no allegations that
                                                                                         104
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                                   1          Whether PPPSGV and PPFA are proper proponents of the rights of Gatter and Nucatola,

                                   2   and therefore whether they have standing to assert this claim on their behalf goes to the jury.

                                   3                                  ii.     Newsworthiness
                                   4          Finally, defendants argue that the intrusion claims fail as a matter of law in light of

                                   5   defendants’ recording for their journalistic purposes and public dissemination of newsworthy

                                   6   information. Relatedly, defendants contend that given their journalistic intents there can be “no

                                   7   debate” that their intrusions were not “offensive” under California law.

                                   8          It is well settled that “the press in its newsgathering activities enjoys no immunity or

                                   9   exemption from generally applicable laws” like the invasion of privacy claim asserted here.

                                  10   Shulman v. Group W Productions, Inc., 18 Cal. 4th 200, 238 (1998), as modified on denial of reh'g

                                  11   (July 29, 1998). Defendants nonetheless ask me to weigh the newsworthiness versus

                                  12   offensiveness factors now and find that newsworthiness outweighs any offensiveness here on
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                                  13   summary judgment because of the danger of “jury overreach.” Lopez Mot. at 9 (citing Diaz v.

                                  14   Oakland Trib., Inc., 139 Cal. App. 3d 118 (Cal. App. 1st Dist. 1983)). But the Diaz court

                                  15   confirmed that in intrusion cases, newsworthiness is measured in a common law right to privacy

                                  16   claim, “along a sliding scale of competing interests: the individual’s right to keep private facts

                                  17   from the public’s gaze versus the public’s right to know” and is generally a question for the jury.

                                  18   Id. at 133. The opinion recognized that courts may check the “risk of prejudice” through “close

                                  19   judicial scrutiny at the stages of litigation such as summary judgment, directed verdict, and

                                  20   judgment notwithstanding the verdict” to correct against “jury overreaching.” Id.

                                  21          This is not one of those atypical situations where newsworthiness versus privacy can be

                                  22   determined as a matter of law at summary judgment. But see Sipple v. Chron. Publg. Co., 154

                                  23   Cal. App. 3d 1040, 1050 (Cal. App. 1st Dist. 1984) (record failed to present any triable issue of

                                  24   fact, therefore “trial court could determine as a matter of law that the facts contained in the articles

                                  25   were not private facts within the purview of the law and also that the publications relative to the

                                  26
                                  27
                                       any particular defendants have harassed any particular plaintiffs, but that is disputed, particularly
                                  28   with respect to Gatter and Nucatola, who reasonable jurors may believe were specifically targeted
                                       for recording by these defendants.
                                                                                      105
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                                   1   appellant were newsworthy.”); Four Navy Seals v. Associated Press, 413 F. Supp. 2d 1136, 1146

                                   2   (S.D. Cal. 2005) (determining newsworthiness as a matter of law where “the public has

                                   3   demonstrated an intense interest in, and concern about, Iraqi prisoner abuse scandals,”

                                   4   “Defendants’ intrusion into an ostensibly private matter was negligible,” and “Plaintiffs

                                   5   voluntarily assumed a position of public notoriety”); Baughman v. State of California, 38 Cal.

                                   6   App. 4th 182, 190 (Cal. App. 2d Dist. 1995 (“The investigation of this serious crime pursuant to a

                                   7   search warrant is a defense which justifies the invasion of his privacy as a matter of law.”).

                                   8          Putting aside plaintiffs’ assertion that defendants are not journalists to whom these

                                   9   protections apply, there are material disputes regarding whether all, some, or none of content of

                                  10   the recordings from these lunch meetings that were published were newsworthy or were

                                  11   newsworthy enough to overcome Gatter and Nucatola’s privacy interests. That defendants’

                                  12   recordings made news and that some of the evidence uncovered during the Project from some of
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                                  13   its targets might have led to successful prosecutions or changes in governmental policy does not –

                                  14   on the record presented on these motions – foreclose the intrusion claims as a matter of law

                                  15   concerning these specific plaintiffs based the recordings of them.115

                                  16          Defendants’ motion for summary judgment on Count 13 under California law is DENIED.

                                  17                          California Constitution, Article I (Count 14)
                                  18          The second claim is for invasion of privacy in violation of Article I of the California

                                  19   Constitution. In the FAC, the claim was asserted by PPFA, PPNorCal, PPPSW, PPMM, and

                                  20   PPOSBC against Daleiden, Merritt, Lopez, CMP and BioMax. It is unclear which plaintiffs assert

                                  21   this claim at this juncture. Plaintiffs dropped their California Penal Code illegal recording claim

                                  22   as to PPPSW, PPOSBC, and PPMM (as well as others), admitting that staff of those plaintiffs

                                  23   were not recorded in California. Pls. Oppo. MSJ at 52 n.35. In the summary judgment briefing,

                                  24   defendants assert that conduct outside the boundaries of California cannot form the basis of this

                                  25
                                       115
                                  26       Defendants repeatedly assert that the truth of the HCP publications must be assumed as true for
                                       all purposes in this litigation, because plaintiffs have not filed a defamation-type claim to contest
                                  27   the truth. The “assume as true” standard, however, is relevant when assessing the tort and contract
                                       claims on the question of whether the damages sought are barred publication damages. For the
                                  28   purposes of that analysis, truth is assumed. But defendants cite no cases applying an assumption
                                       of truth to the offensiveness and related newsworthiness analyses under these causes of action.
                                                                                           106
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                                   1   claim. Daleiden MSJ at 11. Plaintiffs did not respond but instead focus, for purposes of the

                                   2   California invasion of privacy claim, on the taping of Gatter and Nucatola in California.

                                   3   Therefore, I will similarly limit the scope of this claim and accordingly my analysis to PPPSVG

                                   4   and PPFA with respect to the taping of Gatter and Nucatola at the Southern California restaurants.

                                   5          An invasion of privacy claim under the California Constitution “requires three essential

                                   6   elements: (1) the claimant must possess a legally protected privacy interest . . .; (2) the claimant's

                                   7   expectation of privacy must be objectively reasonable . . .; and (3) the invasion of privacy

                                   8   complained of must be serious in both its nature and scope.” County of Los Angeles v. Los

                                   9   Angeles County Employee Rel. Com., 56 Cal. 4th 905, 926 (2013). “If the claimant establishes all

                                  10   three required elements, the strength of that privacy interest is balanced against countervailing

                                  11   interests.” Id. (relying on Hill v. National Collegiate Athletic Assn., 7 Cal.4th 1, 26 (1994)).

                                  12          Defendants, through Daleiden, argue that this claim fails because defendants did not
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                                  13   intrude on any “extremely private content,” plaintiffs lack standing to assert the interest on behalf

                                  14   of their employees, and the newsworthiness outweighs the privacy intrusion.

                                  15          As to the privacy interest in the information disclosed, plaintiffs argue that all they need to

                                  16   show is an interest in “precluding the dissemination or misuse of sensitive and confidential

                                  17   information.” Id. at 927 (characterized as “informational privacy” by the Hill court). “The

                                  18   reasonableness of a privacy expectation depends on the surrounding context. We have stressed that

                                  19   ‘customs, practices, and physical settings surrounding particular activities may create or inhibit

                                  20   reasonable expectations of privacy.’” County of Los Angeles v. Los Angeles County Employee

                                  21   Rel. Com., 56 Cal. 4th at (quoting Hill, 7 Cal. 4th at 37).

                                  22          Defendants counter that none of the information disclosed by Gatter or Nucatola is

                                  23   confidential or sensitive. I disagree. On this record, plaintiffs have raised material questions of

                                  24   fact whether the information disclosed by Gatter and Nucatola can objectively be considered

                                  25   sensitive and confidential. See, e.g., Nucatola Depo. at 234–235, 244 (discussing abortion

                                  26   procedures and witness’ practice of not discussing abortion “in front of other people”); Gatter

                                  27   Depo. at 272:5–15; 273:1–3 (identifying tissue donation and number and types of procedures

                                  28
                                                                                         107
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                                   1   PPPSGV performs as confidential information).116

                                   2          As to the reasonableness of Gatter and Nucatola’s expectations of privacy, recognizing that

                                   3   the recorded conversations took place in restaurants does not automatically defeat a reasonable

                                   4   expectation. See, e.g., Sanders v. Am. Broad. Companies, Inc., 20 Cal. 4th 907, 914 (1999) (no

                                   5   bar to common law invasion claim based simply because recording was in area where others who

                                   6   were not parties to the conversation were present). Whether Gatter and Nucatola had reasonable

                                   7   expectations concerning the content of their conversations or that those conversations would not

                                   8   be recorded are issues to be resolved by the jury based on testimony regarding the context of the

                                   9   conversations, e.g., did they speak in low voices, did they choose tables away from other patrons,

                                  10   did they continue to discuss the information when servers drew near, etc.117

                                  11          In his motion, Daleiden makes similar lack of third-party standing and newsworthiness

                                  12   overcoming offensiveness arguments as Lopez made with respect to the common law claims.
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                                  13   Those arguments are rejected for the same reasons.118

                                  14          Defendants’ motion for summary judgment on Count 14 is DENIED regarding the claims

                                  15   of PPPSGV and PPFA for the recordings of Gatter and Nucatola, but is GRANTED concerning

                                  16

                                  17
                                       116
                                          Defendants argue the information disclosed must be “extremely sensitive” and cite cases
                                       where, indeed, extremely sensitive information was at issue like possible HIV or sexually
                                  18   transmitted disease status. Daleiden MSJ at 10. However, there is no requirement that the
                                       information be “extremely sensitive.” For example, in County of Los Angeles v. Los Angeles
                                  19   County Employee Rel. Com., 56 Cal. 4th 905, public employees had a privacy interest in their
                                       home addresses and contact information.
                                  20   117
                                          The cases relied on by defendants in support of summary judgment on the reasonableness issue
                                  21   are readily distinguishable. See, e.g., Vo v. City of Garden Grove, 115 Cal. App. 4th 425, 448
                                       (Cal. App. 4th Dist. 2004) (no reasonable expectation of privacy for information shown on a
                                  22   publicly observable computer screen in a “cyber café”); Gonzales v. Uber Techs., Inc., 305 F.
                                       Supp. 3d 1078, 1090 (N.D. Cal. 2018), on reconsideration, 17-CV-02264-JSC, 2018 WL 3068248
                                  23   (N.D. Cal. June 21, 2018 (“Plaintiff consented to the tracking of his vehicle through his cellphone
                                       when he signed up to be a Lyft driver.”); see also In re Yahoo Mail Litig., 7 F. Supp. 3d 1016,
                                  24   1038 (N.D. Cal. 2014) (discussing “high bar” cases holding that disclosure of “routine commercial
                                       information” like home addresses, geolocation data, and device identifier information do not state
                                  25   an actionable claim for invasion of privacy).

                                  26
                                       118
                                           Under the California Constitution balancing test, “[a]n otherwise actionable invasion of privacy
                                       may be legally justified if it substantively furthers one or more legitimate competing interests. . . .
                                  27   Conversely, the invasion may be unjustified if the claimant can point to “feasible and effective
                                       alternatives” with “a lesser impact on privacy interests.” Hill v. National Collegiate Athletic Assn.,
                                  28   7 Cal.4th 1, 40 (1994). All of these issues, again, are disputed and subject to material disputes of
                                       fact.
                                                                                          108
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                                   1   the dropped claims of other plaintiffs.

                                   2             H.      Civil Conspiracy (Count 3)
                                   3             Plaintiffs admit that the basis of this count is defendants’ tortious conduct, specifically,

                                   4   defendants’ “pattern of fraudulent and malicious conduct.” Pls. Oppo. MSJ at 16-17 n.11; FAC ¶

                                   5   173.

                                   6                            Rhomberg and Newman
                                   7             Rhomberg and Newman argue that this claim fails as to them because corporate directors

                                   8   cannot be liable for tortious conduct unless the director “specifically authorized, directed, or

                                   9   participated in the allegedly tortious conduct.” Frances T. v. Village Green Homeowners Ass’n,

                                  10   42 Cal. 3d 490, 508 (1986)). However, “[t]acit consent is enough to prove a conspiracy against a

                                  11   director or officer of a corporation, so long as the director or officer concurred in the tortious

                                  12   scheme with knowledge of its unlawful purpose.” Schwartz v. Pillsbury Inc., 969 F.2d 840, 844
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                                  13   (9th Cir. 1992) (citation and internal quotation marks omitted); PMC, Inc. v. Kadisha, 78 Cal.

                                  14   App. 4th 1368, 1380 (2000) (“A corporate director or officer’s participation in tortious conduct

                                  15   may be shown not solely by direct action but also by knowing consent to or approval of unlawful

                                  16   acts”).

                                  17             Plaintiffs have adduced thin but sufficient evidence that these two defendants could have

                                  18   authorized, directed, or encouraged the specific fraudulent behaviors of Daleiden, BioMax, and the

                                  19   other individual defendants. The implications from that evidence, as well as the implications of

                                  20   defendants’ assertions of the Fifth Amendment, are strenuously debated and raise material,

                                  21   disputed questions of fact on civil conspiracy. But there is sufficient evidence to get these issues

                                  22   to the jury.119

                                  23

                                  24
                                       119
                                          Rhomberg and Newman also argue that plaintiffs’ claim based on their roles as corporate
                                       directors of CMP fails because plaintiffs have not proved and cannot “prove that an ordinarily
                                  25   prudent person, knowing what the director knew at that time, would not have acted similarly under
                                       the circumstances.” Frances T. v. Village Green Owners Assn., 42 Cal. 3d 490, 509 (1986). I
                                  26   addressed and rejected this exact argument in my November 2018 Order in the related NAF case,
                                       explaining, “[t]hat concept applies only where a director knows of a condition hazardous to third
                                  27   parties or that the corporate conduct will likely cause harm and then knowingly fails to act. . . .
                                       That type of allegation is not required where the individual defendant is alleged to hav[e]
                                  28   knowingly directed or otherwise affirmatively help cause the tortious conduct, as in this case.”
                                       November 2018 Order at 26 (case citations omitted). The same is true here.
                                                                                         109
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                                                               Lopez
                                   1
                                               Lopez generally argues that he cannot remain a defendant to numerous claims in which he
                                   2
                                       had “no direct participation” through the conspiracy claim. He admits that he directly participated
                                   3
                                       in accessing and surreptitiously recording during the three PPFA conference (although he did not
                                   4
                                       sign any agreements with PPFA) and the 2015 NAF conference (where he admits he signed the
                                   5
                                       NAF NDA). Those events were held in Florida, the District of Columbia, and Maryland.
                                   6
                                       However, he argues that because he did not personally engage in any tortious conduct in
                                   7
                                       California, Texas, or Colorado, he cannot be liable for the other defendants’ tortious conduct in
                                   8
                                       those jurisdictions. As plaintiffs point out, Lopez played a key role from the start of the Project, as
                                   9
                                       a procurement technician for “BioMax” and assisting Daleiden in making introductions for
                                  10
                                       Daleiden as Sarkis and helping Daleiden target plaintiffs’ staff and high-level officials at the
                                  11
                                       conferences. Plaintiffs assert that these deceptions were material and supported the deceptions
                                  12
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                                       that followed (e.g., Daleiden and Merritt’s infiltration of plaintiffs’ facilities and setting up the
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                                  13
                                       lunch meetings). I agree. The evidence is sufficient to send the conspiracy claim with respect to
                                  14
                                       Lopez to the jury.120
                                  15
                                               Defendants’ motion for summary judgment on civil conspiracy is DENIED.
                                  16
                                               I.      Unfair Business Practices (Count 7)
                                  17
                                               Defendants (through the motions of Rhomberg/Newman and CMP) and plaintiffs both
                                  18
                                       move for summary judgment on this Count.
                                  19
                                                               Evidence of Unfair Acts
                                  20
                                               CMP argues on behalf of the defendants that the claim under the “unfair prong” fails
                                  21
                                       because defendants’ conduct did not threaten to violate antitrust principles and the value of its
                                  22
                                       conduct outweighed any actual harm to plaintiffs. This argument only applies to the “unfair
                                  23

                                  24

                                  25
                                       120
                                           Lopez cannot rely on the “agent immunity rule” that a corporate agent cannot generally be
                                       liable for conspiring with his principal operating within his duties for the corporation for the
                                  26   corporation’s advantage. That rule does not fit onto the facts as characterized by Lopez himself; a
                                       mere “contractor” for CMP hired to play a role and who had no interest in the work of CMP
                                  27   beyond receiving his wages. Lopez Decl. ¶ 12. Lopez cannot ignore than in performing his “role”
                                       he allegedly committed numerous acts of fraud and other tortious conduct. See, e.g., Frances T. v.
                                  28   Village Green Owners Assn., 42 Cal. 3d 490, 508 (1986) (“the corporate fiction, however, was
                                       never intended to insulate officers from liability for their own tortious conduct.”).
                                                                                         110
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                                   1   prong.” As discussed above, I have found sufficient evidence that the defendants engaged in both

                                   2   illegal and fraudulent conduct, which are separate prongs under the UCL.121 Therefore, I do not

                                   3   need to reach the unfair prong.

                                   4            This issue is not appropriate for resolution at this juncture in any event. Whether

                                   5   defendants’ intent to expose illegal acts and conduct outweighs the harm to consumers is a subject

                                   6   of significant material dispute. Whether UCL-cognizable unfair acts occurred and what the social

                                   7   utility of those acts were is hotly debated and best determined post-trial after all the evidence has

                                   8   come in.

                                   9            For similar reasons, I will not reach the issue of whether plaintiffs have – on undisputed

                                  10   facts – shown that defendants have engaged in fraudulent or illegal acts under the UCL. In

                                  11   support of their motion for summary judgment on this claim, plaintiffs focus on a number of

                                  12   misrepresentations that Daleiden and CMP made to the California Secretary of State regarding
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                                  13   both CMP and BioMax and arguing that those misrepresentations violated provisions of California

                                  14   law, establishing liability. Pls. Reply MSJ at 24-25; see also Daleiden Oppo. Decl., Ex. RR. But

                                  15   because liability for fraudulent or illegal under the UCL is a question for me and not the jury to

                                  16   determine, I need not reach it here. Instead, I will reach it on a full evidentiary record following

                                  17   trial.

                                  18                           Lost Money or Property
                                  19            Separately, Rhomberg and Newman argue on behalf of the defendants that plaintiffs have

                                  20   not demonstrated that they “lost money or property” as required under the UCL. However,

                                  21   plaintiffs point out that their right to exclude and manage their intellectual property were both

                                  22   diminished by defendants’ actions. See Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 323 (2011)

                                  23   (“There are innumerable ways in which economic injury from unfair competition may be shown.

                                  24   A plaintiff may (1) surrender in a transaction more, or acquire in a transaction less, than he or she

                                  25
                                       121
                                  26      With respect to fraudulent conduct, there is sufficient disputed evidence that Rhomberg and
                                       Newman knew of, directed, or otherwise encouraged fraudulent conduct sufficient to meet the
                                  27   fraudulent prong of the UCL. As a defense to “fraud,” Rhomberg and Newman rely, again, on the
                                       Ninth Circuit’s Wasden case. As discussed above, Wasden does not give defendants or anyone
                                  28   else free reign to commit fraud or other torts in efforts to uncover information, even if that
                                       information is of significant public interest.
                                                                                         111
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                                   1   otherwise would have; (2) have a present or future property interest diminished; (3) be deprived of

                                   2   money or property to which he or she has a cognizable claim; or (4) be required to enter into a

                                   3   transaction, costing money or property, that would otherwise have been unnecessary.”). Similarly,

                                   4   plaintiffs contend (although defendants dispute) that they were required to spend resources

                                   5   investigating and responding to the security breaches, expenses that “would otherwise have been

                                   6   unnecessary.” Id.; see also Witriol v. LexisNexis Group, C05-02392 MJJ, 2006 WL 4725713, at

                                   7   *6 (N.D. Cal. Feb. 10, 2006) (“costs associated with monitoring and repairing credit impaired by

                                   8   the unauthorized release of private information” confer standing under UCL).122 This is sufficient

                                   9   to defeat defendants’ motion for summary judgment on this issue.

                                  10           That plaintiffs are not seeking damages under the UCL (and have disclaimed an intent to

                                  11   seek damages from reputational injury) does not impact their standing under the UCL to seek

                                  12   injunctive relief in light of the (disputed) evidence that plaintiffs lost money and property.
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                                  13                          Business Acts and Conduct Outside of California
                                  14           Rhomberg and Newman argue that this claim fails as to each of them because they did not

                                  15   personally commit any unlawful, unfair, or fraudulent “business practices.” More generally, they

                                  16   contend on behalf of defendants that there were no “business practices” that any defendant

                                  17   engaged in with respect to each plaintiff, defendants cannot be liable for “unfair business acts”

                                  18   because there is “no market” – presumably a for-profit market – for fetal tissue, and that any acts

                                  19   taken by or on behalf of BioMax or CMP could not, as a matter of law, constitute unfair business

                                  20   acts.

                                  21           Plaintiffs have shown that Rhomberg and Newman – as well as CMP, BioMax, and

                                  22   Daleiden – engaged in practices that on their face can be considered “business practices” under the

                                  23   UCL. There is evidence, some of it disputed, showing that defendants’ intent and purpose was to

                                  24

                                  25
                                       122
                                          Rhomberg and Newman’s cases are inapposite. In Hall v. Time Inc., 158 Cal. App. 4th 847
                                       (Cal. App. 4th Dist. 2008), as modified (Jan. 28, 2008), the claim failed for lack of an “injury in
                                  26   fact” where the plaintiff did not adequately allege any loss. Id. at 855 (“He expended money by
                                       paying Time $29.51—but he received a book in exchange. He did not allege he did not want the
                                  27   book, the book was unsatisfactory, or the book was worth less than what he paid for it.”); see also
                                       Butler v. Adoption Media, LLC, 486 F. Supp. 2d 1022, 1062 (N.D. Cal. 2007) (“plaintiffs have not
                                  28   previously identified any loss of money or property in connection with their unfair competition
                                       claims, and cannot now attempt to establish such a loss”).
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                                   1   set up BioMax as a fictitious company operating in a real industry in competition with other

                                   2   companies (including Stem Express and other targets of the HCP). There is evidence that

                                   3   defendants made misrepresentations to the California Secretary of State as part of setting up the

                                   4   “front” company BioMax as well as websites, business cards, and business brochures that

                                   5   plaintiffs disputedly relied on to provide defendants access to their conferences and businesses.

                                   6   These acts by defendants on their face are business acts. There is also evidence, some disputed,

                                   7   that the purpose of both CMP and the HCP (including the creation of the fake BioMax company)

                                   8   was to run plaintiffs’ businesses out of business. These allegations are sufficient to bring a claim

                                   9   under the UCL.

                                  10          As to the California connection, both CMP and BioMax are based in California. That the

                                  11   conduct of these California-located entities’ had impacts both inside and outside of California does

                                  12   not create a jurisdictional problem to asserting the UCL claim against defendants.123
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                                  13                          Injunctive Relief
                                  14          Defendants generally argue that plaintiffs are not entitled to injunctive relief under Section

                                  15   17200 because plaintiffs have no evidence that there is an “imminent threat” of harm from future

                                  16   violations. They also contend that plaintiffs can only obtain an injunction against activity in

                                  17   California, and there is no evidence of any ongoing or imminently threatened activity in

                                  18   California.

                                  19          Whether and what injunctive relief is appropriate under the UCL, on behalf of which

                                  20   plaintiffs, and against which defendants, is more appropriately determined post-trial based on the

                                  21   evidence adduced at trial. It is premature to determine those matters now. The potential

                                  22   availability of injunctive relief cannot be foreclosed because plaintiffs have some (albeit disputed)

                                  23   evidence of defendants’ past and future intent with respect to plaintiffs’ businesses and their need

                                  24

                                  25   123
                                          Defendants’ reliance on the wage and hour Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1208
                                  26   (2011) case does not help them. There the adoption of an erroneous overtime classification policy
                                       was not the cause of the out-of-state plaintiffs’ harm, it was the failure to pay overtime to those
                                  27   out-of-state plaintiffs. Here, however, there are allegations of fraudulent conduct by these
                                       defendants in communications of the California Secretary of State and other alleged improper
                                  28   business practices in California that adequately tether jurisdiction in this state.

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                                   1   for continued use of fraud (including false identities) to continue to “investigate” or attempt to

                                   2   “infiltrate” plaintiffs’ businesses.

                                   3                           Rhomberg, Newman, Merritt, and Lopez
                                   4           The individual defendants, other than Daleiden, make a number of arguments specific to

                                   5   themselves that they should be excluded from the UCL claim.

                                   6           Merritt argues, and her counsel repeatedly emphasized at the hearing, that there is no

                                   7   chance that she will undertake similar conduct against plaintiffs again. She declares that she has a

                                   8   currently-impaired physical condition, is busy with her family, and has expressly disclaimed any

                                   9   intent to go “undercover” again. Given plaintiffs’ upgrades to their security and screening

                                  10   services, she contends there is particularly little support for an injunction under the UCL against

                                  11   her. See Supplemental Declaration of Sandra Susan Merritt [Dkt. No. 667-1] ¶¶ 6, 8; see also id. ¶

                                  12   9 (“I do not have the time, interest, desire or physical ability to participate in any undercover
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                                  13   investigation, including of any Plaintiff in this action. I have no plans or intention of participating

                                  14   in any undercover investigation, of Plaintiffs or otherwise, in the future.”). But plaintiffs respond

                                  15   that Merritt’s frequent (continuing into 2019) speeches against Planned Parenthood, her residency

                                  16   in California, her “long history” of similar undercover work by herself and assisting others, and

                                  17   her other anti-abortion activities, undermine those disclaimers. There are obvious disputes as to

                                  18   material facts concerning Merritt, and it is not appropriate to exclude her from this claim now.

                                  19           Rhomberg and Newman make a similar request because they allege that there is no

                                  20   evidence or dispute of material fact about their future intent to engage in similar conduct against

                                  21   plaintiffs. But given Rhomberg’s and Newman’s longstanding and very public opposition to

                                  22   plaintiffs and expressed intent to ensure plaintiffs are run out of business, there is even less reason

                                  23   to exclude them from the UCL claim before trial.

                                  24           Finally, Lopez argues that he cannot be covered by an injunction under the UCL because

                                  25   he did not record in California or commit any torts or crimes in California. But he was paid by

                                  26   CMP, a California company, and he pretended to be a procurement technician from California for

                                  27   a fake company purporting to be based in California. These undisputed facts are sufficient to keep

                                  28   Lopez as a defendant on this claim at this juncture. Whether any injunction will be justified
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                                   1   against him or any other defendant will be determined following the trial testimony and verdict of

                                   2   the jury on the other claims.

                                   3          In sum, defendants’ motion for summary judgment and plaintiffs’ motion for summary

                                   4   judgment on the UCL claim are DENIED.

                                   5          J.      Defendants’ Unclean Hands Affirmative Defense
                                   6          Plaintiffs argue that defendants’ unclean hands affirmative defense fails as a matter of law

                                   7   because the “illegal or unethical conduct” defendants allege that plaintiffs committed does not

                                   8   “directly relate” to plaintiffs’ claims against defendants. “Under this doctrine, plaintiffs seeking

                                   9   equitable relief must have acted fairly and without fraud or deceit as to the controversy in issue.”

                                  10   Adler v. Fed. Republic of Nigeria, 219 F.3d 869, 877 (9th Cir.2000) (internal quotation marks and

                                  11   citations omitted). Thus, the unclean hands doctrine “closes the doors of a court of equity to one

                                  12   tainted with inequitableness or bad faith relative to the matter in which he seeks relief, however
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                                  13   improper may have been the behavior of the defendant.” Precision Instrument Mfg. Co. v. Auto.

                                  14   Maint. Mach. Co., 324 U.S. 806, 814 (1945). “The misconduct that brings the unclean hands

                                  15   doctrine into play must relate directly to the cause at issue. Past improper conduct or prior

                                  16   misconduct that only indirectly affects the problem before the court does not suffice. The

                                  17   determination of the unclean hands defense cannot be distorted into a proceeding to try the general

                                  18   morals of the parties.” Kendall-Jackson Winery, Ltd. v. Super. Ct., 76 Cal. App. 4th 970, 979

                                  19   (Cal. App. 5th Dist. 1999), as modified on denial of reh'g (Jan. 3, 2000).

                                  20          For this defense to apply, defendants must show that plaintiffs engaged in racketeering

                                  21   activities, trespass, fraud, secret recordings, or unfair business practices of the sorts in which

                                  22   defendants engaged. Defendants identified, in their discovery responses, the illegal or unethical

                                  23   conduct they believe plaintiffs are engaged in as violating laws regarding abortions and fetal tissue

                                  24   procurement. That conduct – even if true – does not directly relate to the rights and equities

                                  25   plaintiffs are asserting against defendants here. In their opposition, defendants further identify

                                  26   mistreatment of pregnant women, infants, and fetuses as illegal or unethical conduct, but that too

                                  27   does not relate directly to the affirmative claims being pursued by plaintiffs.

                                  28          I have previously indicated that the unclean hands defense did not apply given the
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                                   1   allegations in this case. See Dkt. No. 501 at 10, affirmed Dkt. No. 533 at 3-4. Nothing in

                                   2   defendants’ opposition calls that decision into question. That the HCP videos have led to multiple

                                   3   government investigations (and indeed some criminal pleas from entities who are not parties in

                                   4   this case) does nothing to bring defendants’ allegations regarding plaintiffs’ illegal or unethical

                                   5   conduct (which, again, have not been substantiated against these plaintiffs) into the sort of “direct

                                   6   relation” to the causes of actions plaintiffs’ assert in this case. Instead, defendants are attempting

                                   7   to “try the general morals of the parties,” which is beyond the scope of this affirmative defense.

                                   8   Kendall-Jackson Winery, Ltd., 76 Cal. App. 4th at 979.

                                   9          Plaintiffs’ motion for summary judgment as to the unclean hands defense is GRANTED.

                                  10   II.    DEFENDANTS’ ANTI-SLAPP MOTION
                                  11          In conjunction with their motions for summary judgment, defendants filed a special motion

                                  12   to strike under California’s anti-SLAPP statute, California Code of Civil Procedure § 425.16. Dkt.
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                                  13   No. 600. This is defendants’ second special motion to strike. Defendants assume that they are

                                  14   entitled to file this successive motion to strike because it is “evidentiary based” and filed in

                                  15   conjunction and on materially identical bases as their individual motions for summary judgment

                                  16   under Rule 56, whereas their first special motion to strike was based on deficient pleading

                                  17   arguments considered under the Rule 12(b)(6) standard. Defendants admit that they are filing this

                                  18   separate, successive motion for two purposes only: to seek the “boons” of the statute’s attorney

                                  19   fees and automatic appeal provisions. Anti-SLAPP Motion at 2.

                                  20          In my Tentative Ruling and Procedure Order issued before the hearing, I asked the parties

                                  21   to identify any cases that support allowing defendants to file a successive special motion to strike

                                  22   given the posture of this case. Neither side provided authority that in federal court a successive

                                  23   anti-SLAPP motion can be filed at the summary judgment stage after the close of full, not simply

                                  24   expedited, discovery and based on arguments fully co-extensive with the contemporaneous

                                  25   motions for summary judgment.

                                  26          As the legislative history and cases interpreting the anti-SLAPP statute confirm, the

                                  27   purpose of the fee provision is to provide a significant disincentive to filing frivolous or weak suits

                                  28   seeking to quash speech. Ketchum v. Moses, 24 Cal. 4th 1122, 1131 (2001) (“The fee-shifting
                                                                                         116
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                                   1   provision was apparently intended to discourage such strategic lawsuits against public

                                   2   participation by imposing the litigation costs on the party seeking to ‘chill the valid exercise of the

                                   3   constitutional rights of freedom of speech and petition for the redress of grievances.’”). The

                                   4   justification for the interlocutory appeal and stay provisions is routinely described as providing a

                                   5   route for early review and appellate consideration of free speech and petition cases. DC Comics v.

                                   6   P. Pictures Corp., 706 F.3d 1009, 1014 (9th Cir. 2013) (recognizing interlocutory appeal

                                   7   necessary because “[w]ithout [it], a defendant will have to incur the cost of a lawsuit before

                                   8   having his or her right to free speech vindicated.” (internal quotation omitted)). Defendants

                                   9   benefitted from that early review procedure by having their first anti-SLAPP motion considered by

                                  10   me in the first instance and then by the Ninth Circuit on interlocutory appeal. Defendants chose to

                                  11   base their anti-SLAPP motion to strike on a Rule 12/insufficiency of the pleadings argument; they

                                  12   lost at both levels.124
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                                  13           Now defendants file a second special motion and assert materially identical arguments to

                                  14   their motions for summary judgment. Nothing in the structure or the history of the California anti-

                                  15   SLAPP statute countenances this approach. See Newport Harbor Ventures, LLC v. Morris Cerullo

                                  16   World Evangelism, 4 Cal. 5th 637, 639–40 (2018) (Because “the anti-SLAPP statute is designed to

                                  17   resolve these lawsuits early, but not to permit the abuse that delayed motions to strike might entail,

                                  18   we conclude . . . a defendant must move to strike a cause of action within 60 days of service of the

                                  19   earliest complaint that contains that cause of action.”); Sweetwater Union High Sch. Dist. v.

                                  20   Gilbane Bldg. Co., 6 Cal. 5th 931, 945 (2019) (addressing difference between summary judgment

                                  21   motions under California law and anti-SLAPP motions, noting “Chief among them is that an anti-

                                  22   SLAPP motion is filed much earlier and before discovery.”); see also id. at 949 (“Ultimately, the

                                  23   SLAPP Act was ‘intended to end meritless SLAPP suits early without great cost to the target’ . . .

                                  24   not to abort potentially meritorious claims due to a lack of discovery.”).

                                  25           The Ninth Circuit’s requirement that courts allow sufficient discovery before addressing an

                                  26   evidence-based anti-SLAPP special motion to strike stems from a concern that the anti-SLAPP

                                  27
                                       124
                                  28     I note that Merritt, in fact, made evidence-based arguments and did not limit her first anti-
                                       SLAPP motion to legal sufficiency.
                                                                                       117
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                                   1   statute otherwise impermissibly conflicts with the protections available to non-movants under the

                                   2   Federal Rules.125 Allowing for an immediate interlocutory appeal at this juncture of the case

                                   3   would similarly and impermissibly conflict with the Federal Rule provisions governing the limited

                                   4   circumstances where interlocutory appeals are appropriate as well as Federal Rule of Civil

                                   5   Procedure 1’s mandate for the “just, speedy, and inexpensive determination of every action.”

                                   6          Defendants identified three cases in response to my request before the hearing that counsel

                                   7   for both sides provide authority addressing the propriety of a successive special motion to strike in

                                   8   circumstances similar to ours, but none of them provide guidance given the procedural posture of

                                   9   this case. In Manufactured Home Communities, Inc. v. County of San Diego, 606 F. Supp. 2d

                                  10   1266, 1268 (S.D. Cal. 2009), aff'd, 655 F.3d 1171 (9th Cir. 2011), the district court initially

                                  11   granted a special motion to strike and entered judgment in defendants’ favor. When that judgment

                                  12   was reversed on appeal, the district court considered and granted in full the “renewed” motion to
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                                  13   strike. In Batzel v. Smith, 333 F.3d 1018, 1025 (9th Cir. 2003), the Ninth Circuit recognized that

                                  14   because “the anti-SLAPP motion is designed to protect the defendant from having to litigate

                                  15   meritless cases aimed at chilling First Amendment expression” that substantive right – exercised

                                  16   on a sixty-day timeframe in state court – meant that a denial in federal court was subject to

                                  17   interlocutory review under 28 U.S.C. § 1291. In Varian Med. Sys., Inc. v. Delfino, 35 Cal. 4th

                                  18   180, 191 (2005), the California Supreme Court decided that, under California law, trial court

                                  19   proceedings on the merits are stayed following an appeal from the denial of an anti-SLAPP

                                  20   motion.

                                  21          Plaintiffs’ cases were slightly more helpful. For example, in U.S. ex rel. Newsham v.

                                  22   Lockheed Missiles & Space Co., Inc., 190 F.3d 963, 972 (9th Cir. 1999), the Ninth Circuit

                                  23   concluded that there was no “direct collision” between the anti-SLAPP statute’s special motion

                                  24   and fees provisions and Federal Rules 8, 12, and 56 because “if successful, the litigant may be

                                  25   entitled to fees pursuant to § 425.16(c). If unsuccessful, the litigant remains free to bring a Rule

                                  26
                                  27   125
                                          See Planned Parenthood Fedn. of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 833 (9th
                                  28   Cir. 2018), amended, 897 F.3d 1224 (9th Cir. 2018), and cert. denied sub nom. Ctr. for Med.
                                       Progress v. Planned Parenthood Fedn. of Am., 139 S. Ct. 1446 (2019).
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                                   1   12 motion to dismiss, or a Rule 56 motion for summary judgment.” Id. at 972. The court,

                                   2   therefore, failed “to see how the prior application of the anti-SLAPP provisions will directly

                                   3   interfere with the operation of Rule 8, 12, or 56. In summary, there is no ‘direct collision”

                                   4   here.’”126

                                   5          Here, however, I am addressing an anti-SLAPP motion to strike that not only is fully co-

                                   6   extensive with Rule 56 summary judgment motions but was also filed on the eve of trial, much

                                   7   later than the California legislature believed anti-SLAPP motions should be heard. See Cal. Code

                                   8   Civ. Proc. § 425.15(f) (“The special motion may be filed within 60 days of the service of the

                                   9   complaint or, in the court's discretion, at any later time upon terms it deems proper.”); see also

                                  10   Equilon Enterprises v. Consumer Cause, Inc., 29 Cal. 4th 53, 65 (2002) (recognizing that “early

                                  11   resolution is consistent with the statutory design ‘to prevent SLAPPs by ending them early and

                                  12   without great cost to the SLAPP target’. . . a purpose reflected in the statute’s short time frame for
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                                  13   anti-SLAPP filings and hearings.”).127

                                  14          This case is set for trial on October 2, 2019. It appears that at least one of reasons

                                  15   defendants filed this successive motion is their desire to delay trial. I do not intend to delay this

                                  16   case any further. I can decide any appropriate motions for attorneys’ fees after the trial.

                                  17   Defendants’ special motion to strike is DENIED. None of the state law claims are stayed. All

                                  18   claims that survive this Order will proceed to trial as scheduled.

                                  19   III.   DEFENDANTS’ MOTION TO EXCLUDE COHEN
                                  20          Defendants move to strike and exclude the testimony of plaintiffs’ expert, Professor David

                                  21   S. Cohen. Dkt. No. 641. Cohen has been designated by plaintiffs to testify on the following

                                  22   opinions: “Because of the Center for Medical Progress Videos Created by Defendants, Plaintiffs

                                  23

                                  24   126
                                          Plaintiffs also cited Fid. Natl. Title Ins. Co. v. Cothran, B258692, 2016 WL 1162192, at *1
                                  25   (Cal. App. 2d Dist. Mar. 23, 2016) (unpublished), where the California Court of Appeal held that a
                                       party “may not use a second anti-SLAPP motion to challenge the same allegations” that were
                                  26   challenged in the first anti-SLAPP motion.
                                       127
                                  27       I recognize that the Ninth Circuit has held that the strict timeframe under section 425.16(f) for
                                       filing a special motion to strike does not apply in the Ninth Circuit. See Sarver v. Chartier, 813
                                  28   F.3d 891, 900 (9th Cir. 2016). I cite this as a recognition of the California legislature’s common-
                                       sense concern that these motions be brought and resolved early in the life of the case.
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                                   1   and Other Abortion Providers Around the County Faced Increased Targeted Harassment.” His

                                   2   report discusses the “History of Violence and Harassment of Abortion Providers and its Impact on

                                   3   Medical Providers and Staff in this Field.” Cohen Expert Report [Dkt. No. 641-4]. He opines that

                                   4   “splashing recordings of abortion providers across the internet in deceptive and inflammatory

                                   5   videos had uniquely devastating impact on abortion providers everywhere, including plaintiffs”

                                   6   and the CMP videos “do not exist in a vacuum” but within the context of a history of violence

                                   7   against providers, and “no one with any familiarity with the word of abortion, including

                                   8   Defendants, could have possible been unaware of this context and what impact the videos would

                                   9   have on abortion providers, including the possibility of violence, a possibility realized here.” Id.

                                  10          Cohen has taught constitutional and gender law at Drexel University for 13 years and in

                                  11   addition to his academic work, he “represents and counsels” clinics and individuals in cases

                                  12   arising out of harassment including violations of the Federal Access to Clinic Entries (FACE) law.
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                                  13   His area of expertise is the history of anti-abortion violence and its current effect on abortion

                                  14   providers. In particular, he opines that “targeted harassment” of individual abortion providers and

                                  15   the making of “egregious claims” against them “with the implicit message that something must be

                                  16   done” are the tactics “that in the past have triggered those on the fringes of the anti-abortion

                                  17   movement to engage in violence.” Id.

                                  18          A.      Advocate-Witness Rule
                                  19          Defendants initially argue that Cohen’s testimony must be excluded under the “advocate-

                                  20   witness” rule because he has served as “counsel” in capacities related to this case. The advocate-

                                  21   witness rule “prohibits an attorney from appearing as both a witness and an advocate in the same

                                  22   litigation. See United States v. Prantil, 764 F.2d 548, 552–53 (9th Cir.1985). The policies

                                  23   underlying this rule “are related to the concern that jurors will be unduly influenced by the prestige

                                  24   and prominence of the prosecutor’s office and will base their credibility determinations on

                                  25   improper factors.” United States v. Edwards, 154 F.3d 915, 921 (9th Cir.1998); see also U.S. v.

                                  26   Sayakhom, 186 F.3d 928, 943 (9th Cir. 1999), amended, 197 F.3d 959 (9th Cir. 1999).

                                  27          Defendants contend Cohen crosses that line because, first, he has been counsel to three

                                  28   East Coast Planned Parenthood affiliates for over 20 years. Those affiliates are not plaintiffs in
                                                                                        120
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                                   1   this case. Second, he has engaged in public and private advocacy against the defendants in this

                                   2   case, including publishing an “open letter” to Planned Parenthood affiliates less than one week

                                   3   after the HCP videos were first released advocating that the Planned Parenthood affiliates sue

                                   4   CMP. He also sent a letter to then California Attorney General Kamala Harris urging her to

                                   5   investigate CMP and suggesting legal reasoning for the AG to consider. One or both of these

                                   6   letters were sent through colleagues of Cohen to three of the individuals recorded: Nucatola,

                                   7   Gatter, and Ginde. Cohen responded to this “group” and kept them informed of his efforts to get

                                   8   YouTube to take down the CMP videos.128

                                   9          Third, Cohen was retained by Nucatola and other individuals recorded in the videos for

                                  10   legal advice. He asserted the attorney-client privilege in his deposition in response to questions

                                  11   regarding his conversations with people recorded in the videos and refused to identify some of the

                                  12   people to whom he provided counsel. Fourth and finally, defendants point out that Cohen has
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                                  13   filed three amicus briefs, including in the related NAF case (on behalf of the Southern Poverty

                                  14   Law Center and Feminist Majority) in support of the preliminary injunction issued in the NAF

                                  15   case as well as in the unrelated University of Washington FOIA case brought by CMP. Those

                                  16   briefs, according to defendants, “bear a striking resemblance” to his expert report in this case.

                                  17   Defendants contend that Cohen’s status as amicus counsel means that he has a fiduciary duty to

                                  18   ensure that defendants lose, which crosses the line from expert to advocate.

                                  19          Plaintiffs respond that because Cohen has not sought to be both a witness and advocate in

                                  20   the same litigation – e.g., this case – the advocate-witness rule does not apply. Each of the cases

                                  21   relied on by defendants and plaintiffs that discuss the rule involved an attorney who was counsel

                                  22   and then who was or likely could have been a witness in the same case. Here, Cohen’s amicus

                                  23   briefs were filed in other cases. He has not represented any of the plaintiffs (which are all entities)

                                  24   in this case or any clinic in a similar case. Plaintiffs also argue that Cohen did not actually assert

                                  25   the attorney-client privilege during his deposition, but merely indicated that he would assert the

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                                       128
                                          Defendants characterize Cohen’s statements in these communications as “baseless,” relying on
                                       deposition testimony from Cohen where he admitted to having no information about any of
                                  28   Planned Parenthood or its affiliates’ dealings with fetal tissue procurement companies or whether
                                       the CMP videos had been deceptively edited.
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                                   1   privilege if defense counsel pursued and demanded answers to specific questions.129

                                   2          Finally, plaintiffs argue that even though Cohen’s politics are clearly pro-choice and he

                                   3   advocates for legal protection for abortion and clinics, that does not undermine his ability to give

                                   4   “valid, historically grounded and empirically researched testimony” here. See Planned

                                   5   Parenthood Southeast v. Strange, 33 F. Supp. 3d 1381 (M.D. Ala. 2014) (admitting testimony

                                   6   from sociologist who had personal opposition to abortion restrictions, which were at issue).130

                                   7          The facts of this case do not fit squarely into the confines of the advocate-witness rule and

                                   8   I will not bar Cohen’s expert testimony on that basis. That said, as discussed below, defendants’

                                   9   motion to exclude will be granted in part under Federal Rule of Evidence 702.

                                  10          B.      FRE 702
                                  11          Defendants also move to exclude Cohen’s testimony under Federal Rule of Evidence 702

                                  12   because Cohen did not use a reliable methodology, did not have sufficient data, did not reliably
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                                  13   apply his theory to the data, will confuse and not help the jury, and will be extremely prejudicial to

                                  14   defendants.

                                  15                          Methodology
                                  16          Defendants assert that Cohen does not have any methodology, theory, or technique to

                                  17   support his statement that “anyone with any familiarity with the world of abortion” would have

                                  18   known the CMP videos could lead to violence and did. Defendants contend that his methodology,

                                  19   or lack thereof, cannot be tested, was not peer reviewed, and cannot be assessed for known rates of

                                  20

                                  21
                                       129
                                          I note that whether or not Cohen formally invoked the attorney-client privilege and whether
                                  22   defense counsel should have pushed him or his counsel to more clearly invoke that privilege, it is
                                       undisputed that Cohen did not answer questions about the advice he gave to Nucatola or others
                                  23
                                       who had been recorded by the defendants in this case.
                                  24   130
                                           In that case, the court explained that the “sociologist and epidemiologist” had for “the last 35
                                  25   years, [] been affiliated in some manner with the Guttmacher Institute, an organization that
                                       advocates for abortion rights and access to contraception. At trial, he presented a number of
                                  26   studies of the effects of distance and cost on women's likelihood of obtaining an abortion and on
                                       delays in obtaining abortion. Henshaw has a bias against abortion restrictions and regulations.
                                  27   Nonetheless, having viewed the witness and listened to his testimony, the court found that he
                                       testified credibly and helpfully about the nature of the various studies and their strengths and
                                  28   limitations.” Planned Parenthood S.E., Inc. v. Strange, 33 F. Supp. 3d 1381, 1395 (M.D. Ala.
                                       2014).
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                                   1   error or under accepted standards, making it excludable under Daubert.

                                   2          More specifically, defendants point out that during his deposition Cohen could not define

                                   3   “world of abortion” and argue that his foreseeability arguments – that release of the videos would

                                   4   encourage third parties to acts of violence and threats – would encompass subsequent reports on

                                   5   the HCP videos by the New York Times as well as Cohen’s own articles covering the CMP videos.

                                   6   Defendants argue, under Cohen’s own logic, that anyone discussing or republishing the HCP

                                   7   videos would be responsible for “foreseeable” damage caused by third parties. Defendants also

                                   8   contend that his assertion tying the supposed increase in violence to the HCP videos is unreliable

                                   9   because he fails to account for alternative explanations for violence following the release of the

                                  10   HCP videos – explanations including the presidential campaign, Supreme Court abortion cases,

                                  11   and states passing restrictive abortion laws.

                                  12          As to methodology, plaintiffs point out that in Cohen’s deposition he explained he did
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                                  13   consider alternate causes of the increase in violence/threats following the release of the HCP

                                  14   videos (even if he did not address them in his short report) and that he provided reasons to tie the

                                  15   foreseeability to defendants’ conduct and not subsequent reports on that conduct (which typically

                                  16   did not include or link to the full content of the HCP videos). Defendants’ points on methodology

                                  17   are, in the end, the sorts of issues that are appropriately used to discredit or undermine an expert

                                  18   on cross-examination. I will not exclude Cohen on this basis.

                                  19                          Sufficient Data
                                  20          Defendants contend that Cohen’s opinions do not rest on sufficient data because the data

                                  21   Cohen relies on is itself unreliable. Cohen’s first source is his 2015 book “Living in the

                                  22   Crosshairs,” released prior to the HCP videos. The book discussed the impact of targeted

                                  23   harassment on the lives of abortion providers and was based on interviews with 87 abortion

                                  24   providers. Defendants argue that because the interviewees were not chosen randomly or

                                  25   methodically and the “surveys” were not designed in accordance with any standards, the result is

                                  26   inadmissible self-reported data infected with self-interest bias.

                                  27          However, Cohen testified in his deposition to his use of several widely-accepted methods

                                  28   to validate his research (comparative method, triangulation, member/respondent validation, and
                                                                                        123
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                                   1   transparency), which are common in the field of qualitative research. He also noted that he relied

                                   2   on secondary sources and statistics and that his book was “peer-reviewed” by its publisher, the

                                   3   Oxford University Press. Considering this, defendants’ criticisms of Cohen’s methodology in his

                                   4   book is not a basis to exclude him. The cases defendants rely on are largely inapposite (for

                                   5   example, addressing deficient surveys in antitrust and consumer protection cases), and do not

                                   6   readily apply to the sort of qualitative research Cohen undertook.

                                   7          Defendants also challenge Cohen’s reliance on “violence” data as collected and reported

                                   8   by NAF and Feminist Majority Foundation, pointing out that Cohen knows very little about that

                                   9   data collection and that he did not test or validate that data in any way before relying on it in to

                                  10   draw his opinions in this case. In particular, defendants criticize Cohen for failing to analyze or

                                  11   address any of PPFA’s own security reporting data following the release of the HCP videos.

                                  12   Finally, defendants argue – without citation to any apposite case law – that Cohen’s reliance on
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                                  13   reports of bad acts by third parties is the same as excludable “prior bad acts” evidence under the

                                  14   Federal Rules of Evidence.

                                  15          Plaintiffs respond, simply, that experts like Cohen are permitted to rely on data (like the

                                  16   NAF and Feminist Majority Foundation data) that they have not collected or validated themselves.

                                  17   At most, this provides a basis for defendants to attempt to undermine Cohen on cross-examination.

                                  18   I agree. The failure to verify the underlying threat data is not a basis to exclude, but is a basis for

                                  19   cross-examination.

                                  20                          Application of Theory to Data
                                  21          Defendants then challenge Cohen’s application of theory to data, basically rehashing their

                                  22   prior two arguments as to Cohen’s methodology and data. This argument is rejected for the same

                                  23   reasons.

                                  24                          Confusing and Prejudicial
                                  25          Finally, defendants argue that Cohen’s testimony should be excluded as it will be

                                  26   extremely confusing to the jury and prejudicial to defendants because Cohen identifies them as

                                  27   extremists, his testimony is entirely unobjective, and it is tinged with bias and stereotyping. They

                                  28   point out that Cohen did not review any of plaintiffs’ actual claims of damage in this case and
                                                                                         124
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                                   1   argue that his testimony goes to “publication” damages which are irrelevant and protected by the

                                   2   First Amendment. They further contend that Cohen’s opinions on foreseeability and causation are

                                   3   excludable legal conclusions. Finally, they assert that Cohen’s testimony – at deposition and in

                                   4   his report – that the HCP videos caused the Colorado Springs clinic shooting is allegedly

                                   5   contradicted by testimony from plaintiffs PPFA and PPRM in separate lawsuits in Colorado that

                                   6   “no one could have foreseen” that isolated violent event.

                                   7           In response, plaintiffs point to cases where experts have been allowed to provide “history”

                                   8   evidence regarding cults, police abuse, and historical discrimination, and assert that Cohen’s

                                   9   testimony describing the history of violence against abortion clinics and providers over the last 40

                                  10   years is no different. Plaintiffs rely on Scott v. Ross, 140 F.3d 1275, 1286 (9th Cir. 1998), where

                                  11   the Ninth Circuit held that a sociologist’s opinions on “the history and general practice of

                                  12   deprogramming and the origin and practices of the ‘anti-cult movement’” including “as to the
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                                  13   entrepreneurial nature of deprogramming and its origins in religious intolerance” were not

                                  14   inappropriately admitted because those topics were beyond general knowledge of jury and were

                                  15   based on a “generally accepted explanatory theory.” Plaintiffs characterize Cohen’s testimony

                                  16   likewise, asserting that the history opinions will be helpful to the jury as well as relevant to

                                  17   “whether the increase and threats and harassment of abortion providers was a foreseeable and

                                  18   natural consequence of the CMP videos.” Pls. Oppo. Cohen [Dkt. No. 674] at 8.

                                  19           Plaintiffs also point out that bias goes to weight, not admissibility. U.S. v. Abonce-

                                  20   Barrera, 257 F.3d 959, 965 (9th Cir. 2001) (“Generally, evidence of bias goes toward the

                                  21   credibility of a witness, not his competency to testify, and credibility is an issue for the jury.”).

                                  22   And as to legal conclusions, plaintiffs say first that Cohen will not testify as to “causation” but

                                  23   only on “Defendants’ awareness of the harassment and violence that would likely result from the

                                  24   release of the CMP videos.” Pls. Oppo. Cohen at 14. But they also say on page 8 that Cohen’s

                                  25   testimony is relevant as to foreseeability and “natural consequences.” Id. at 8. As to confusion

                                  26   and contradiction, plaintiffs explain that there is none because in the Colorado case (which was

                                  27   brought by victims of the Colorado Springs shooting against PPFA and PPRM), Planned

                                  28   Parenthood’s position was simply that the specific event was unforeseeable at that location, not
                                                                                         125
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                                   1   that violence or threats in general were not unforeseeable.

                                   2          Both sides have good points. I will not exclude Cohen in full because of bias or prejudice.

                                   3   Cohen may testify as to the background and history of anti-abortion activists targeting abortion

                                   4   providers. He may also testify concerning his understanding of whether there was an increase in

                                   5   the number or types of threats to abortion providers following the release of the HCP videos. This

                                   6   information is relevant to whether plaintiffs’ incurred damages (in the categories allowed) were

                                   7   reasonably incurred, or speculative or voluntary. However, Cohen will not be allowed to testify

                                   8   about the causation of plaintiffs’ damages in this case, or the intent of these defendants, or the

                                   9   foreseeability of acts of violence perpetrated by third parties following the release of the HCP

                                  10   videos. These are beyond his area of expertise, verge on legal conclusions, and his testimony

                                  11   would likely venture into areas in which he advised third party witnesses in this case and shut

                                  12   down questioning at his deposition on the basis of privilege.
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                                  13          Defendants’ motion to exclude is, accordingly, GRANTED in part and DENIED in part.

                                  14   IV.    MOTION TO STRIKE
                                  15          Defendants move to strike and preclude plaintiffs from relying on late-identified segments

                                  16   of defendants’ recordings in support of plaintiffs’ illegal or tortious recording claims. Defs. MTS

                                  17   [Dkt. No. 601]. Through an interrogatory, defendants asked plaintiffs to identify each video file

                                  18   that plaintiffs contended showed an illegal or tortious recording. Plaintiffs eventually identified

                                  19   119 video segments in amended responses in November 2018. But on April 27, 2019, plaintiffs

                                  20   served amended interrogatory responses identifying 147 video segments.131 For the 25 “newly

                                  21   identified” segments at issue, they contain 17 distinct conversations or interactions 11 of which

                                  22   were recorded at NAF conferences.

                                  23          Defendants object and move to exclude the additionally identified segments because they

                                  24   came almost four months after the written fact discovery cutoff (December 31, 2018) and two

                                  25   weeks after the full fact discovery cutoff (April 15, 2019, not including the depositions which

                                  26
                                  27   131
                                          The parties agree that one amended designation was in error and one is a duplicate, so there are
                                  28   only 25 newly identified segments at issue. Pls. Oppo. MTS [Dkt. No. 655] at 1 n.1; Defs. Reply
                                       MTS [Dkt. No. 691] at 3 n.1.
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                                   1   were allowed to take place thereafter by stipulation and Order). Defendants also note that the

                                   2   parties entered into a stipulation providing that the parties had until January 18, 2019, to provide

                                   3   “amended initial disclosures, additional documents on which either party intends to rely (of which

                                   4   the party is currently aware).” Trissell Decl., Ex. 30.

                                   5          Defendants argue that under Federal Rule of Evidence 37(c)(1) the amendments should be

                                   6   struck because they have been prejudiced by the late identification. They were unable to ask

                                   7   plaintiffs’ witnesses questions about the circumstances surrounding the added recordings because

                                   8   the only depositions occurring after April 27, 2019 were of fact-witnesses who were not alleged to

                                   9   have been unlawfully recorded. The circumstances surrounding each of the recordings – whether

                                  10   the witness believed the conversation could be overheard, whether there was private content – is

                                  11   “core” evidence. That prejudice cannot be cured given the cutoff, the pending motions for

                                  12   summary judgment, and the approaching trial.
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                                  13          Plaintiffs respond that they learned of their inadvertent omission at the March 2019 PPFA

                                  14   deposition and promptly moved to identify the missing segments and serve the amended

                                  15   responses. Therefore, under Rule 26(e), which requires prompt corrections to an incomplete or

                                  16   incorrect discovery response, their response was appropriate and timely.132

                                  17          Plaintiffs also contend that if, instead, Rule 37(c)(1) applies, there is no prejudice or harm

                                  18   under Rule37(c)(1) because on October 22, 2018 (two months before the discovery cutoff), in

                                  19   response to discovery requests from defendant Daleiden, plaintiffs identified by name (or Doe

                                  20   identifier) all persons illegally recorded, including the event/location of the illegal recordings and

                                  21   the recording dates. Those responses covered 18 of the 25 segments at issue in this motion. What

                                  22   was missing from those responses, and only requested in Rhomberg’s requests, were the video file

                                  23   names or start/end times. When plaintiffs served their November 2, 2018 responses to Rhomberg

                                  24   providing that additional information, they inadvertently omitted the file names of 18 segments

                                  25

                                  26
                                       132
                                          Plaintiffs also point out that the email confirming the stipulation covered only “amended initial
                                       disclosures” and documents. Plaintiffs argue that it did not cover other amended or corrected
                                  27   written responses, while defendants assert that it did and the confirmatory email was “poorly
                                       drafted.” Defs. Reply MTS [Dkt. No. 691] at 2. If the confirmatory email was poorly drafted,
                                  28   defendants should have objected to it and clarified their understanding. There is no evidence they
                                       did so.
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                                   1   where six of the individuals identified in the October 22, 2018 discovery responses were

                                   2   recorded.133

                                   3          With respect to the other 7 segments at issue on this motion, plaintiffs admit that in neither

                                   4   the October 22, 2018 or November 2, 2018 responses were those 7 segments identified by file

                                   5   name much less by person/location. However, plaintiffs state that in response to one of Daleiden’s

                                   6   requests, in their October 22, 2018 responses, plaintiffs identified each of the employees in those

                                   7   segments by name or Doe identifier as having been illegally recorded at “some point in time.”

                                   8          Plaintiffs assert, therefore, that they had identified each employee they considered illegally

                                   9   recorded and were not trying to hide the ball. Their failure to identify the specific file names for

                                  10   some of the recordings was inadvertent and promptly corrected. They also contend that there is no

                                  11   prejudice to defendants because defendants made the recordings and know all the facts regarding

                                  12   the circumstances of each. Defendants, according to plaintiffs, also had ample opportunity to
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                                  13   depose both fact and corporate witnesses about the circumstances of the recordings and have not,

                                  14   in their motion, identified any particular “newly identified” segment that shows something

                                  15   materially different from the segments they did explore with plaintiffs’ witnesses.

                                  16          In Reply, defendants provide a new explanation for their prejudice – they contend that they

                                  17   in fact could not identify, even roughly, which conversations plaintiffs contend were illegally

                                  18   recorded because plaintiffs’ court-sanctioned use of the Doe identifiers made it uniquely complex

                                  19   for defendants to puzzle out which specific individuals were allegedly illegally recorded and

                                  20   when. Also in Reply, defendants attempt to explain the prejudice to them by discussing with

                                  21   specificity some of the newly added segments. Reply ISO MTS [Dkt. No. 691] at 5-6. They point

                                  22   out that for some of the newly added segments new Does have been identified (e.g., Doe9002 who

                                  23   was recorded by Daleiden at PPCG’s offices in Houston) but admit that other segments of the

                                  24   recordings had been previously identified by plaintiffs with respect to other Does and named

                                  25   employees.

                                  26
                                  27   133
                                          Plaintiffs admit they omitted one employee DOE4001 from the October 22, 2018 responses but
                                  28   included some specific recording of DOE4001 in the November 2, 2018 responses. Plaintiffs just
                                       did not include all of the segments including DOE4001 in their November responses.
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                                   1          What defendants did not do in either their Motion or the Reply is show or explain why the

                                   2   circumstances surrounding the newly added segments, for example of Doe9002, differed

                                   3   materially from the circumstances surrounding the other segments identified by plaintiffs prior to

                                   4   the discovery cutoff dates. Defendants did not, for example with the Doe9002 segment, identify

                                   5   what questions they would have asked PPGC’s Rule 30(b)(6) witness that differed from the

                                   6   questions they asked that witness regarding the other staff recorded in the same video.

                                   7          Given defendants’ arguments raised in Reply and their failure to specifically show

                                   8   prejudice or harm from the late disclosures, in my Tentative Rulings and Procedure Order I

                                   9   directed the parties to file supplemental brief of ten pages or less explaining “why late

                                  10   identification of each of the approximately 25 late-disclosed video segments is [or is not]

                                  11   prejudicial, focusing on the existence of unique circumstances in each of those segments that

                                  12   differentiates them from the other, prior-disclosed video segments on which defendants had the
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                                  13   opportunity depose plaintiffs’ witnesses.” Dkt. No. 718. Considering those supplemental briefs, I

                                  14   rule on each as follows.

                                  15          NAF Conference Recordings: As clarified by the supplemental briefs, the majority of the

                                  16   late-disclosed recordings still at issue were taken at either the NAF 2014 San Francisco conference

                                  17   or the 2015 NAF Baltimore conference. Prior to the late disclosure, defendants argue that only

                                  18   one NAF conference video had been specifically identified as actionable by plaintiffs; a recording

                                  19   of Doe1023 at the 2014 conference taken at the NAF exhibit table.

                                  20          Plaintiffs argue that there can be no prejudice because in their October 22, 2018 corrected

                                  21   responses to Daleiden’s Interrogatory responses, they specifically identified each name/Doe

                                  22   identifier of each staff member recorded at the NAF 2015 conference in Maryland, as well as its

                                  23   staff who were illegally recorded in California (which could have only been at the 2014 NAF

                                  24   conference or at the Gatter and Nucatola lunch meetings). Dkt. No. 662-7 at ECF pgs. 70-72.

                                  25   Plaintiffs, however, accidentally omitted these recordings (as well as the requested timestamps)

                                  26   from plaintiffs’ November 2018 responses to Rhomberg’s requests. Plaintiffs argue that

                                  27   defendants’ reliance on plaintiffs’ accidental omission – defendants contend they believed

                                  28   plaintiffs might have intentionally omitted those recordings – was not reasonable, plaintiffs’
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                                   1   responses to Daleiden remained valid, and defendants’ should have sought clarification from

                                   2   plaintiffs before assuming those prior disclosed videos were no longer at issue. Plaintiffs also

                                   3   argue that because Daleiden and Lopez, and now counsel, were and are intimately familiar with

                                   4   the contents of the records (for the initial transcribing and production of the HCP videos as well as

                                   5   for submission of relevant recordings to me), it is unreasonable for defendants to claim ignorance

                                   6   or prejudice about which of plaintiffs’ employees were recorded and the circumstances

                                   7   surrounding those recordings.

                                   8          Turning to each video at issue:

                                   9          Recordings #14-15/25-26 (taken by Merritt at NAF 2015 Baltimore conference of

                                  10   Doe1001 and VanDerhei (Doe1003) in the lobby area of the hotel). Defendants argue prejudice

                                  11   on these videos because Merritt was not on notice that any of her videos from the NAF 2015

                                  12   conference were at issue and so she did not have the opportunity to question PPFA’s Rule 30(b)(6)
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                                  13   witness or VanDerhei about the confidential nature of the conversations or VanDerhei’s concern

                                  14   that conference participants might be secretly recorded. These two individuals, however, were

                                  15   disclosed as having been illegally recorded at that specific conference in plaintiffs’ October 22,

                                  16   2018 responses, although time stamps were not provided. As to the VanDerhei comment about

                                  17   possible secret recordings, defendants obviously had notice of it as it was relied upon by

                                  18   defendants in their motions for summary judgment and defendants – had they wanted to – could

                                  19   have asked VanDerhei about it in her deposition. Defendants had adequate notice that recordings

                                  20   of these individuals were at issue. Claims related to these recordings remain.

                                  21          Recording #72 (taken by Merritt at NAF 2015 Baltimore conference of Nucatola).

                                  22   Defendants assert that no other recording of this conversation has been disclosed, so none of the

                                  23   defendants had the opportunity to ask Nucatola about the circumstances surrounding this

                                  24   encounter. However, defendants do not identify what “circumstances” in this particular

                                  25   conversation were different than other, timely disclosed conference tapings that would have

                                  26   altered the information sought or possibly the answers given. Nucatola, a central figure in this

                                  27   case, was deposed extensively and defendants had adequate opportunity to probe the

                                  28   circumstances surrounding the recordings of Nucatola in the various contexts where she was
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                                   1   recorded. The claims regarding this recording remain.

                                   2          Recording #69 (duplicate of #87) (taken by stationary camera at NAF 2014 San Francisco

                                   3   conference of Nucatola conversing with Merritt and Baxter at the exhibit table). Defendants argue

                                   4   that their prejudice on this recording is significant because they did not get to ask PPFA’s Rule

                                   5   30(b)(6) witness which defendant PPFA believes is responsible for the “stationary camera” or why

                                   6   this conversation was confidential. However, defendants deposed Nucatola about various NAF

                                   7   2014 recordings and have identified no particular circumstances in this video that differentiate it

                                   8   from those Nucatola was asked about. As to which defendant was responsible for the stationary

                                   9   camera, that can be readily probed at trial and there is no prejudice from defendants not being able

                                  10   to ask that discrete question to PPFA’s deposition witness. Claims related to this recording

                                  11   remain.

                                  12          Recordings #19-21 (recordings of a panel presentation by Doe1002 at NAF 2015
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                                  13   Baltimore conference). This is the only recording of a panel presentation, as opposed to individual

                                  14   or small group conversations, identified by plaintiffs as actionable. Doe1002 was disclosed as

                                  15   having been illegally recorded at this conference in plaintiffs’ October 22, 2018 responses. More

                                  16   significantly, the circumstances surrounding this video obviously differ materially from the other

                                  17   timely-disclosed videos. However, defendants asked VanDerhei about a portion of this very

                                  18   recording, exploring the expectation of privacy of those involved. Defendants have not shown

                                  19   prejudice. Claims related to this recording remain.

                                  20          Recording #24 (taken by Daleiden at NAF 2015 Baltimore conference of Doe1003).

                                  21   Defendants claim prejudice because this is the only recording of Doe1003 at this meeting, so no

                                  22   defendant had an opportunity to question PPFA about it. However, Doe1003 was specifically

                                  23   identified in plaintiffs’ October 22, 2018 responses as having been illegally recorded at this

                                  24   conference. If this is the only video of that Doe from that conference, defendants necessarily had

                                  25   adequate notice. Moreover, defendants identify no circumstances regarding this particular video

                                  26   that set it apart from the other recorded conference conversations that were timely disclosed.

                                  27   Claims related to this recording remain.

                                  28          Recording #71 (taken by Daleiden at NAF 2015 Baltimore conference of Nucatola).
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                                   1   Defendants argue prejudice because this video is the only one of Nucatola from the Maryland

                                   2   conference identified. However, Nucatola was disclosed in plaintiffs’ October 22, 2018 responses

                                   3   as having been illegally recorded in Maryland; therefore, defendants were on notice of this

                                   4   recording. Further, defendants do not identify any specifics regarding this conference or this video

                                   5   that set it apart from the other recorded conference conversations that were timely disclosed.

                                   6   Claims related to this recording remain.

                                   7           Recording #68 (duplicate of #88) (taken by Daleiden at NAF 2014 San Francisco

                                   8   conference of Nucatola). Defendants argue that they were not on notice to ask questions about the

                                   9   NAF 2014 conference with Nucatola, but plaintiffs point out that defendants asked Nucatola

                                  10   questions about this very recording during her deposition (as it was part of one of the HCP

                                  11   videos). There is no prejudice to defendants and claims related to this recording remain.

                                  12           Recording #70 (taken by non-party Bettisworth at 2015 NAF Baltimore conference of
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                                  13   Nucatola). The result here is the same with respect to prejudice because Nucatola was specifically

                                  14   identified as having been illegally taped at the 2015 NAF conference and defendants identify no

                                  15   circumstances surrounding this video that would have altered the questions asked or possible

                                  16   answers with respect to privacy at conferences in general. Plaintiffs, however, seem to admit they

                                  17   mistakenly listed this video (by non-party Bettisworth) instead of the video of the same

                                  18   conversation recorded on Daleiden’s device. See Dkt. No. 730 at 5. Assuming that there are no

                                  19   circumstances surrounding Daleiden’s recording that differentiate it from the one taken by

                                  20   Bettisworth, the recording taken by Daleiden may be late-identified and claims related to it may

                                  21   presented at trial.

                                  22           PPFA Conference. Recordings #27-28 (taken by Daleiden at the PPFA Washington, DC

                                  23   conference of VanDerhei (Doe1003)). Defendants argue that they were prejudiced because no

                                  24   other recordings of VanDerhei in this jurisdiction or setting were disclosed, and defendants did not

                                  25   question her about her expectation of privacy at this conference in this “one-party consent”

                                  26   jurisdiction. Plaintiffs respond that there can be no prejudice because this very recording was used

                                  27   in the HCP videos, so defendants clearly knew about it. In addition, defendants do not identify

                                  28   any particular circumstances from this recording that differed from the other timely-disclosed
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                                   1   Washington DC conference recordings that were identified. That VanDerhei was not asked about

                                   2   her particular expectations is not significantly prejudicial. Defendants had ample opportunities to

                                   3   question others about their expectations at this conference. Claims related to these recordings

                                   4   remain.

                                   5          PPCG Facility. Recording #3 (taken by Daleiden at PPCG’s Houston offices of

                                   6   Doe9002). Defendants acknowledge that similar recordings of other PPCG staff were timely

                                   7   disclosed, and admit that there is no prejudice if PPCG seeks only one statutory damage award for

                                   8   taping of all staff. But if plaintiffs seek statutory damages for each person recorded during the

                                   9   visit, defendants object because they were prejudiced by not being able to specific questions

                                  10   PPCG’s Rule 30(b)(6) witness about (1) PPCG’s standing, because Doe9002 is neither a PPCG or

                                  11   PPCFC employee, and (2) the confidential nature of the conversation where the only thing

                                  12   Doe9002 said was “OK.” However, Doe9002 was specifically identified as having been illegally
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                                  13   recorded in PPGC’s responses and identified as a PPCFC employee in PPCG’s November 2, 2018

                                  14   amended responses, and plaintiffs simply used an incorrect filename for the video itself. Sterk

                                  15   Decl. [Dkt. No. 730-1], Ex. 1 at 5. That error was corrected in the amended Rhomberg responses.

                                  16   Defendants have not shown prejudice. The claims over recording #3 remain.

                                  17          For the foregoing reasons, defendants’ motion to strike is DENIED.

                                  18   V.     MOTIONS TO SEAL
                                  19          There are numerous administrative motions to file under seal pending. The ruling on those

                                  20   motions is deferred. Within twenty (20) days of the date of this Order, the parties shall file one,

                                  21   consolidated chart identifying:

                                  22          Each document (by ECF docket number and sub-docket number) containing information a

                                  23   party contends should remain under seal, and identifying the information they wish to keep sealed

                                  24   by paragraph or page/line number.

                                  25          For each such document or part of a document identified, the party seeking to keep the

                                  26   information under seal shall provide:

                                  27              •   a description of the information they seek to keep under seal;

                                  28              •   a justification for sealing, with a citation to a declaration from a party
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                                   1                  representative establishing a compelling justification and/or a citation to a prior

                                   2                  Court order allowing that exact information to remain under seal under the

                                   3                  compelling justification standard.

                                   4          For each document that is conditionally sealed in the Court’s docket that the parties agree

                                   5   may be unsealed, the parties shall identify them by ECF docket number, including each sub-

                                   6   docket number.

                                   7          When submitting the joint chart, the parties should not e-file revised redacted versions of

                                   8   documents, assuming the parties agree during this process that some currently sealed information

                                   9   may be unsealed. After I rule on the sealing motions, I will instruct the parties at that juncture to

                                  10   e-file revised redacted versions, redacting only the information I allow them to continue to seal.

                                  11          In compiling the joint chart, the parties shall consider the following: this case is

                                  12   approaching trial and I will not seal information that is highly material to the issues to be resolved
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                                  13   at trial, the discussion of which would not justify closure of the courtroom during trial. I will not

                                  14   seal information that has already been discussed in open court or in my prior Orders.

                                  15          With respect to the continued use of Doe identifiers, the parties shall meet and confer

                                  16   on a proposal (or competing proposals) as to how persons currently identified as Does should

                                  17   be treated at trial and submit the proposal(s) prior to the pretrial conference.

                                  18                                             CONCLUSION
                                       Motions for Summary Judgment
                                  19

                                  20   Count 1: RICO

                                  21          Partial summary judgment is GRANTED to plaintiffs on the interstate commerce nexus for

                                  22   the false identification predicate acts. Motions are otherwise DENIED.
                                  23
                                       Count 2: Federal Wiretapping
                                  24
                                              Defendants’ motions for summary judgment are DENIED.
                                  25
                                       Count 3: Civil Conspiracy
                                  26
                                              Defendants’ motions for summary judgment are DENIED.
                                  27

                                  28   Count 4: Breach of PPFA Contracts

                                                                                        134
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                                              Partial summary judgment is GRANTED to plaintiffs on Daleiden and BioMax’s breach of
                                   1

                                   2   the PPFA EAs. Summary judgment is GRANTED to Merritt and Lopez, and the Court clarifies

                                   3   that Rhomberg and Newman cannot be liable for this claim directly or indirectly (through Count

                                   4   3). The motions for summary judgment are otherwise DENIED.
                                   5
                                       Count 5: Breach of NAF Contracts
                                   6
                                              Defendants’ motions for summary judgment are DENIED.
                                   7
                                       Count 6: Trespass
                                   8
                                              Plaintiffs’ motion for partial summary judgment against BioMax, Daleiden, and Lopez is
                                   9

                                  10   GRANTED as to the PPFA conferences in Florida and Washington, DC. Plaintiffs’ motion for

                                  11   partial summary judgment against as to BioMax, Daleiden, and Merritt for the trespasses to
                                  12   PPGC/PPCFC and PPRM is GRANTED. The only issues for trial on those trespass claims are
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                                  13
                                       whether CMP is directly liable and actual damages. Whether PPRM is entitled to injunctive relief
                                  14
                                       for its claim will be determined post-trial.
                                  15
                                              Summary judgment is GRANTED to Merritt with respect to the PPFA conferences, but not
                                  16

                                  17   otherwise. The Court clarifies that Rhomberg and Newman may not be held directly liable for this

                                  18   claim, but may be liable under Count 3 (Conspiracy). Defendants’ motions are otherwise

                                  19   DENIED.
                                  20   Count 7: California UCL
                                  21
                                              The motions for summary judgment are DENIED.
                                  22
                                       Count 8: Fraudulent Misrepresentation
                                  23
                                              The motions for summary judgment are DENIED.
                                  24

                                  25   Counts 9 & 10: California Penal Code Recording Claims

                                  26          Summary judgment is GRANTED to defendants as to claims dropped by PPPSW, PPGC,

                                  27   PPRM, PPOSBC, and PPMM. Defendants’ motions are otherwise DENIED.
                                  28
                                              Plaintiffs’ motion for partial summary judgment on the Penal Code section 633.5 defense
                                                                                       135
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                                       is DENIED.
                                   1

                                   2   Count 11: Florida Recording Claim

                                   3          Summary judgment is GRANTED as to Merritt for direct liability. Summary judgement is

                                   4   GRANTED to defendants as to claims dropped by PPNorCal, PPMM, and PPLA. Defendants’
                                   5
                                       motions for summary judgment are otherwise DENIED.
                                   6
                                       Count 12: Maryland Recording Claim
                                   7
                                              Summary judgment is GRANTED as to claims dropped by PPNorCal, PPPSW, PPMM,
                                   8
                                       and PPOSBC. Defendants’ motions for summary judgment are otherwise DENIED.
                                   9

                                  10   Count 13: Invasion of Privacy: Intrusion Upon A Private Place

                                  11          Summary judgment as to the intrusion claims of PPRM and PPGC/PPCFC is GRANTED
                                  12   to defendants and GRANTED to defendants as to the claims based on intrusions at conferences,
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                                  13
                                       but DENIED as to the claims based on the Nucatola and Gatter lunch meetings under California
                                  14
                                       law.
                                  15
                                       Count 14: Invasion of Privacy: California Constitution Art. I § I
                                  16

                                  17          Summary judgment as to the intrusion claims is GRANTED to defendants as to all

                                  18   plaintiffs except PPPSGV and PPFA based on the Nucatola and Gatter lunch meetings. As to

                                  19   those limited claims, defendants’ motions are DENIED.
                                  20   Count 15: Breach of Non-Disclosure and Confidentiality Agreement by PPGC/PPCFC
                                  21
                                              Summary judgment is GRANTED as to Merritt and as to PPCFC’s lack of standing. The
                                  22
                                       motions are otherwise DENIED.
                                  23
                                       Public Policy Defense
                                  24

                                  25          Plaintiffs’ motion for summary judgment is GRANTED. The public policy defense is not

                                  26   applicable as a matter of law.

                                  27   Unclean Hands
                                  28
                                              Plaintiffs’ motion for summary judgment is GRANTED. The unclean hands defense is not
                                                                                    136
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                                       applicable as a matter of law.
                                   1

                                   2   Other Motions

                                   3          The special motion to strike under the anti-SLAPP law is DENIED. The motion to

                                   4   exclude Cohen is GRANTED in part and DENIED in part. The motion to strike late-disclosed
                                   5
                                       recordings is DENIED. The administrative motions to seal are DEFERRED for meet and confer
                                   6
                                       and submission of a joint chart.
                                   7

                                   8          IT IS SO ORDERED.

                                   9   Dated: August 23, 2019

                                  10

                                  11
                                                                                               William H. Orrick
                                  12                                                           United States District Judge
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 United States District Court




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